   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 1 of 114




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                    BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                            §
                                                   §
                     Plaintiffs,                   §
                                                   §
           v.                                      §
                                                          Case No. 1:14-CV-254
                                                   §
UNITED STATES OF AMERICA, et al.,                  §
                                                   §
                                                   §
                     Defendants,
                                                   §
and                                                §
                                                   §
JANE DOE #1, JANE DOE #2, and JANE                 §
DOE #3,                                            §
                                                   §
                     Proposed Defendant–           §
                     Intervenors                   §
                                                   §


                                    APPENDIX OF AUTHORITIES

           Pursuant to the Court’s Civil Procedures, rule 7(a), the Proposed Defendant-Intervenors

Jane Doe #1, Jane Doe #2, and Jane Doe #3 hereby provide the Court with copies of the

following authorities cited in support of the Proposed Defendant-Intervenors’ (1) Motion to

Intervene and Memorandum of Law in Support, (2) [Proposed] Joinder in Defendants’

Memorandum of Points and Authorities in Opposition to Plaintiffs’ Motion for Preliminary

Injunction, and (3) Motion for Leave to Proceed Under Pseudonyms and Memorandum of Law

in Support.


 NO.                                           AUTHORITY

      1.        Arpaio v. Obama, No. 14-cv-1966-BAH, at ECF No. 23 (D.D.C. Dec. 23, 2014)

      2.        Friendly House v. Whiting, No. 2:10-cv-1061-SRB, at ECF No. 212 (D. Ariz.
                June 21, 2010)
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 2 of 114




   3.   Georgia Latino Alliance for Human Rights v. Deal, No. 1:11-CV-1804-TWT, at
        ECF No. 101 (N.D. Ga. July 8, 2011)

   4.   Keller v. City of Fremont, No. 8:10-cv-0270-LSC-FG3, 2011 WL 41902, (D.
        Neb. Jan. 5, 2011)

   5.   Sierra Club v. Fed. Emergency Mgmt. Agency, No. H-07-0608, 2008 U.S. Dist.
        LEXIS 47405 (S.D. Tex. June 11, 2008)

   6.   DHS Appropriations Act, Pub. L. No. 111-83, 123 Stat 2142, 2149 (2009)

   7.   8 C.F.R. §274.a12(c)(14)



Dated: January 14, 2015                       Respectfully submitted,

LAW OFFICE OF FRANK COSTILLA, L.P.            MEXICAN AMERICAN LEGAL DEFENSE
Frank Costilla (Tex. Bar. No. 04856500)       AND EDUCATIONAL FUND
5 E. Elizabeth Street                         By__/s/ Nina Perales________________
Brownsville, Texas 78520                      Nina Perales (Tex. Bar No. 24005046;
Phone: 956-541-4982                           Southern District of Tex. Bar No. 21127)
Facsimile: 956-544-3152                       Attorney-in-Charge
                                              David Hinojosa (Tex. Bar No. 24010689)
                                              110 Broadway, Suite 300
                                              San Antonio, Texas 78205
                                              Phone: (210) 224-5476 (telephone)
                                              Facsimile: (210) 224-5382 (facsimile)


                                              O’MELVENY & MYERS LLP
                                              Linda Smith (Cal. Bar No. 78238)
                                              Adam P. KohSweeney (Cal. Bar No. 229983)
                                              J. Jorge deNeve (Cal. Bar No. 198855)
                                              1999 Avenue of the Stars, 7th Floor
                                              Los Angeles, CA 90067-6035
                                              Phone: 310-246-6801
                                              Facsimile: 310-246-6779

                                              (Requests for pro hac vice admission to be
                                              filed)


    Attorneys for the Proposed Defendant-Intervenors JANE DOE #1, JANE DOE #2, and
                                      JANE DOE #3




                                           -2-
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 3 of 114




                                 CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on the 14th day of January 2015, I electronically
filed the above and foregoing document using the CM/ECF system, which automatically sends
notice and a copy of the filing to all counsel of record.

                                                       /s/ Nina Perales
                                                       Nina Perales (Tex. Bar No. 24005046)
                                                       Attorney for Proposed Defendant-
                                                       Intervenors




                                                -3-
Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 4 of 114




                                  1
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page 1 of533
                                                                           of 114




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

JOSEPH ARPAIO,

                         Plaintiff,
                                                             Civil Action No. 14-01966 (BAH)
                         v.
                                                             Judge Beryl A. Howell
BARACK H. OBAMA, President, United
States in his official capacity, et al.,

                         Defendant.


                                      MEMORANDUM OPINION

          The plaintiff, the elected Sheriff of Maricopa County, brings suit against the President of

the United States, and other Federal officials, alleging that certain immigration policies

announced by the President in a nationwide address on November 20, 2014 are unconstitutional,

otherwise illegal, and should be stopped from going into effect. See Pl.’s Mot. Prelim. Inj.

(“Pl.’s Mot.”), ECF No. 7. The plaintiff’s suit raises important questions regarding the nation’s

immigration policies, which affect the lives of millions of individuals and their families. The

wisdom and legality of these policies deserve careful and reasoned consideration. As the

Supreme Court recently explained: “[T]he sound exercise of national power over immigration

depends on the [Nation] meeting its responsibility to base its law on a political will informed by

searching, thoughtful, rational civic discourse.” Arizona v. United States, 132 S.Ct. 2492, 2510

(2012).

          The key question in this case, however, concerns the appropriate forum for where this

national conversation should occur. The doctrine of standing, in both its constitutional and

prudential formulations, concerns itself with “‘the proper—and properly limited—role of the

courts in a democratic society.’” Bennett v. Spear, 520 U.S. 154, 162 (1997) (quoting Warth v.
                                                   1
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page 2 of633
                                                                           of 114




Seldin, 422 U.S. 490, 498 (1975)). Standing “ensures that [courts] act as judges, and do not

engage in policymaking properly left to elected representatives.” Hollingsworth v. Perry, 133 S.

Ct. 2652, 2659 (2013).

        The refusal to adjudicate a claim should not be confused with abdicating the

responsibility of judicial review. “Proper regard for the complex nature of our constitutional

structure requires neither that the Judicial Branch shrink from a confrontation with the other two

coequal branches of the Federal Government, nor that it hospitably accept for adjudication

claims of constitutional violation by other branches of government where the claimant has not

suffered cognizable injury.” Valley Forge Christian College v. Americans United for Separation

of Church & State, 454 U.S. 464, 474 (1982). A court must refrain “‘from passing upon the

constitutionality of an act [of the representative branches], unless obliged to do so in the proper

performance of our judicial function, when the question is raised by a party whose interests

entitle him to raise it.’” Id. (quoting Blair v. United States, 250 U.S. 273, 279 (1919)) (alteration

in original). Ultimately, “[i]t is the role of courts to provide relief to claimants . . . who have

suffered, or will imminently suffer, actual harm; it is not the role of courts, but that of the

political branches, to shape the institutions of government in such fashion as to comply with the

laws and the Constitution.” Lewis v. Casey, 518 U.S. 343, 349 (1996).

        Concerns over the judicial role are heightened when the issue before the court involves,

as here, enforcement of the immigration laws. This subject raises the stakes of, among other

factors, “immediate human concerns” and “policy choices that bear on this Nation’s international

relations.” Arizona v. United States, 132 S.Ct. at 2499. “[O]ur Constitution places such

sensitive immigration and economic judgments squarely in the hands of the Political Branches,

not the courts.” Fogo de Chao (Holdings) Inc. v. U.S. Dep’t of Homeland Sec., 769 F.3d 1127,



                                                   2
     CaseCase
          1:14-cv-00254   Document Document
               1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                  01/14/15  in TXSD
                                                        12/23/14     Page
                                                                  Page 3 of733
                                                                             of 114




1151 n.10 (D.C. Cir. 2014); see also United States v. Valenzuela-Bernal, 458 U.S. 858, 864

(1982) (“The power to regulate immigration—an attribute of sovereignty essential to the

preservation of any nation—has been entrusted by the Constitution to the political branches of

the Federal Government.”).

         The role of the Judiciary is to resolve cases and controversies properly brought by parties

with a concrete and particularized injury— not to engage in policymaking better left to the

political branches. The plaintiff’s case raises important questions regarding the impact of illegal

immigration on this Nation, but the questions amount to generalized grievances which are not

proper for the Judiciary to address. For the reasons explained in more detail below, the plaintiff

lacks standing to bring this challenge to the constitutionality and legality of the immigration

policies at issue. Accordingly, the plaintiff’s motion for a preliminary injunction, ECF No. 7, is

denied and the defendants’ motion to dismiss for lack of subject matter jurisdiction, ECF Nos.

13, 15, is granted.1

I.       BACKGROUND

         A.       Executive Enforcement of Immigration Laws

         The Immigration and Nationality Act (“INA”), codified as amended at 8 U.S.C. § 1101 et

seq., establishes a comprehensive statutory scheme that governs immigration and naturalization.

The INA establishes categories of immigrants who are inadmissible to the United States in the

first instance, see 8 U.S.C. § 1182, and immigrants who are subject to removal from the United

States once here, see 8 U.S.C. § 1227. Under the INA, “[a]liens may be removed if they were




1
   The plaintiff filed a motion for preliminary injunction at ECF No. 6 and an amended, corrected motion for
preliminary injunction at ECF No. 7. Plaintiff’s counsel clarified at the motions hearing that the latter filed motion
is the operative motion. See Rough Transcript of Preliminary Injunction Hearing (Dec. 22, 2014) (“Hrg. Tr.”) at 3–
4. Consequently, the plaintiff’s motion for preliminary injunction docketed at ECF No. 6 is denied as moot.

                                                          3
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page 4 of833
                                                                           of 114




inadmissible at the time of entry, have been convicted of certain crimes, or meet other criteria set

by federal law.” Arizona, 132 S.Ct. at 2499 (citing 8 U.S.C. § 1227).

        The Secretary of the Department of Homeland Security (“DHS”) is “charged with the

administration and enforcement of [the INA] and all other laws relating to the immigration and

naturalization of aliens.” 8 U.S.C. § 1103(a)(1). Although charged with enforcement of the

statutory scheme, “[a]n agency generally cannot act against each technical violation of the statute

it is charged with enforcing,” Heckler v. Chaney, 470 U.S. 821, 831–32 (1985), and indeed “[a]

principal feature of the removal system is the broad discretion exercised by immigration

officials.” Arizona, 132 S.Ct. at 2499. Thus, to enable the “proper ordering of its priorities,”

Heckler, 470 U.S. at 832, and the marshalling of extant resources to address those priorities, the

INA provides the Secretary of DHS with the authority to “establish such regulations; . . . issue

such instructions; and perform such other acts as he deems necessary for carrying out his

authority under [the INA].” 8 U.S.C. § 1103(a)(3). Further, the Secretary of DHS is specifically

charged with “establishing national immigration enforcement policies and priorities,” 6 U.S.C. §

202(5), to ensure that DHS’s limited resources are expended in pursuit of its highest priorities in

national security, border security, and public safety.

         The context in which the immigration laws are enforced bears out the need for such

prioritization. DHS estimates that approximately 11.3 million undocumented immigrants

residing in the United States are potentially eligible for removal. Pl.’s Mot., Ex. B (Karl

Thompson, Memorandum Opinion for the Sec’y of Homeland Security and the Counsel to the

President: DHS’s Authority to Prioritize Removal of Certain Aliens Unlawfully Present in the

United States and to Defer Removal of Others at 1, (Nov. 19, 2014) (“OLC Opinion”)) at 1, ECF

No. 7-2. Of those, DHS estimates that the agency has the resources to remove fewer than



                                                  4
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page 5 of933
                                                                           of 114




400,000 undocumented immigrants. Id. In addition, DHS faces additional challenges including:

demographic shifts resulting in increased costs for managing and deterring unauthorized border

crossings; increased complexity in removing aliens; congressional directives to prioritize recent

border crossers and serious criminals; and the humanitarian and social consequences of

separating families. See OLC Opinion at 11; Defs.’ Mem. Opp. Pl.’s Mot. Prelim. Inj. (“Defs.’

Mem.”), Ex. 21 (Challenges at the Border: Examining the Causes, Consequences, and

Responses to the Rise in Apprehensions at the Southern Border: Hearing Before the S. Comm.

on Homeland Security and Governmental Affairs, 113th Cong. (2014) (statement of Craig Fugate,

Administrator, Federal Emergency Management Agency, et al.)), ECF No. 13-21; see also Defs.’

Mem. at 1.

       To confront these challenges, the executive branch has long used an enforcement tool

known as “deferred action” to implement enforcement policies and priorities, as authorized by

statute. See 6 U.S.C. § 202(5). Deferred action is simply a decision by an enforcement agency

not to seek enforcement of a given statutory or regulatory violation for a limited period of time.

In the context of the immigration laws, deferred action represents a decision by DHS not to seek

the removal of an alien for a set period of time. In this sense, eligibility for deferred action

represents an acknowledgment that those qualifying individuals are the lowest priority for

enforcement. Under long-existing regulations, undocumented immigrants granted deferred

action may apply for authorization to work in the United States. See 8 C.F.R. § 274a.12(c)(14).

These regulations were promulgated pursuant to the Immigration Reform and Control Act of

1986 and have been in effect, as amended, since 1987. See Control of Employment of Aliens, 52

Fed. Reg. 16216 (1987). Deferred action does not confer any immigration or citizenship status

or establish any enforceable legal right to remain in the United States and, consequently, may be



                                                  5
    Case Case
         1:14-cv-00254  Document 91-3
              1:14-cv-01966-BAH       Filed23
                                 Document   on 01/14/15 in TXSD
                                               Filed 12/23/14   Page
                                                              Page 6 of10
                                                                        33of 114



canceled at any time. See Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 483

(1999) (“At each stage, the Executive has discretion to abandon the endeavor . . . .”).

          For almost twenty years, the use of deferred action programs has been a staple of

immigration enforcement. The executive branch has previously implemented deferred action

programs for certain limited categories of aliens, including: certain victims of domestic abuse

committed by United States citizens and Lawful Permanent Residents;2 victims of human

trafficking and certain other crimes;3 students affected by Hurricane Katrina;4 widows and

widowers of U.S. citizens;5 and certain aliens brought to the United States as children.6

Programs similar to deferred action have been used extensively by the executive branch for an

even longer period of time.7




2
  Defs.’ Mem., Ex. 7 (Memorandum for Regional Directors et al., from Paul W. Virtue, Acting Executive Associate
Commissioner, INS, Supplemental Guidance on Battered Alien Self-Petitioning Process and Related Issues at 3
(May 6, 1997)), ECF No. 13-7.
3
  Defs.’ Mem., Ex. 8 (Memorandum for Michael A. Pearson, Executive Associate Commissioner, INS, from
Michael D. Cronin, Acting Executive Associate Commissioner, INS, Victims of Trafficking and Violence Protection
Act of 2000 (VTVPA) Policy Memorandum #2—“T” and “U” Nonimmigrant Visas at 2 (Aug. 30, 2001)), ECF No.
13-8.
4
  Defs.’ Mem., Ex. 9 (USCIS, Interim Relief for Certain Foreign Academic Students Adversely Affected by
Hurricane Katrina: Frequently Asked Questions (FAQ), at 1 (Nov. 25, 2005)), ECF No. 13-9 (“Since the Notice
does not cover Katrina-impacted foreign academic students who have failed to maintain their F-1 status, such
persons, and their F-2 dependents, may request a grant of deferred action and short term employment authorization
based on economic necessity.”).
5
  Defs.’ Mem., Ex. 10 (Memorandum for Field Leadership, USCIS, from Donald Neufeld, Acting Associate
Director, USCIS, Guidance Regarding Surviving Spouses of Deceased U.S. Citizens and Their Children at 1 (Sept.
4, 2009)), ECF No. 13-10.
6
  This is the DACA program challenged by the plaintiff. See Pl.’s Mot., Ex. A (Memorandum for David Aguilar,
Acting Commissioner, CBP, et al., from Janet Napolitano, Secretary, DHS, Re: Exercising Prosecutorial Discretion
with Respect to Individuals Who Came to the United States as Children at 1–2 (June 15, 2012)), ECF No. 6-1.
7
  In the 1970’s through the 1990’s, programs similar to deferred action were used to defer enforcement against
undocumented immigrants who were awaiting approval of certain professional visas, see United States ex rel. Parco
v. Morris, 426 F. Supp. 976, 979–81 (E.D. Pa. 1977), certain nurses eligible for H-1 visas, see Voluntary Departure
for Out-of-Status Nonimmigrant H-1 Nurses, 43 Fed. Reg. 2776, 2776 (Jan 19, 1978); nationals of certain
designated foreign states, see Defs.’ Mem., Ex. 5 (Moore, Charlotte J., Cong. Research Serv., Review of U.S.
Refugee Resettlement Programs and Policies at 12-14 (1980)), ECF No. 13-5; and spouses and children of aliens
who had been granted legal status under the Immigration Reform and Control Act of 1986, see Defs.’ Mem., Ex. 6
(Memorandum for Regional Commissioners, INS, from Gene McNary, Commissioner, INS, Family Fairness:
Guidelines for Voluntary Departure under 8 CFR 242.5 for the Ineligible Spouses and Children of Legalized Aliens
(Feb. 2, 1990)), ECF No. 13-6.

                                                         6
  Case Case
       1:14-cv-00254  Document 91-3
            1:14-cv-01966-BAH       Filed23
                               Document   on 01/14/15 in TXSD
                                             Filed 12/23/14   Page
                                                            Page 7 of11
                                                                      33of 114



       Congress has acquiesced to, and even endorsed the use of, deferred action on removal of

undocumented immigrants by the executive branch on multiple occasions. For example, in 2000,

Congress expanded the deferred action program for certain victims of domestic abuse, permitting

children over the age of twenty-one to be “eligible for deferred action and work authorization.”

8 U.S.C. § 1154(a)(1)(D)(i)(II), (IV). Similarly, in 2008, Congress authorized the DHS to “grant

. . . an administrative stay of a final order of removal” to individuals who could make an initial

showing that they were eligible for a visa as victims of human trafficking and certain other

crimes. See 8 U.S.C. § 1227(d)(1). Congress specifically noted that “[t]he denial of a request for

an administrative stay of removal . . . shall not preclude the alien from applying for . . . deferred

action.” See 8 U.S.C. § 1227(d)(2). In Division B to the Emergency Supplemental

Appropriations Act for Defense, the Global War on Terror, and Tsunami Relief, 2005, known by

its short title of the REAL ID Act of 2005, Congress provided that state-issued driver’s licenses

were acceptable for federal purposes only if the state verifies that an applicant maintains

evidence of lawful status, which includes evidence of “approved deferred action status.” See

Pub. L. No. 109-13, div. B, 119 Stat. 231, 302 (2005) (codified at 49 U.S.C. § 30301 note).

       B.      Challenged Immigration Programs

       Against this lengthy historical record of the use of deferred action as a tool to carry out

“national immigration enforcement policies and priorities,” 6 U.S.C. § 202(5), the executive

branch has more recently employed this tool in three programs, which the plaintiff challenges as

unconstitutional or otherwise in violation of the Administrative Procedure Act. Specifically, the

plaintiff challenges a June 15, 2012 program—known as Deferred Action for Childhood Arrivals

(“DACA”)—whose guidance is outlined in a memorandum by the former DHS Secretary entitled

“Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the United States



                                                  7
  Case Case
       1:14-cv-00254  Document 91-3
            1:14-cv-01966-BAH       Filed23
                               Document   on 01/14/15 in TXSD
                                             Filed 12/23/14   Page
                                                            Page 8 of12
                                                                      33of 114



as Children.” DACA permits, on a case-by-case basis, deferred action on removal for a period of

two years for undocumented immigrants that: (1) are under the age of 31 as of June 15, 2012; (2)

were under the age of 16 at the time of arrival in the United States; (3) have continuously resided

in the United States for at least five years immediately preceding June 15, 2012; (4) were present

in the United States on June 15, 2012; (5) are in school, have graduated from high school, have

obtained a general education development certificate, or have been honorably discharged from

the Coast Guard or the Armed Forces of the United States; and (6) have not been convicted of a

felony offense, a significant misdemeanor offense, multiple misdemeanor offenses, or otherwise

pose no threat to the national security or public safety. See Pl.’s Mot., Ex. A (Memorandum

from Janet Napolitano, Secretary, Department of Homeland Security, to David V. Aguilar,

Acting Commissioner, U.S. Customs and Border Protection, et al., Exercising Prosecutorial

Discretion with Respect to Individuals Who Came to the United States as Children (June 15,

2012)), at 1–2 , ECF No. 7-1.

       The other two programs challenged by the plaintiff are outlined in a memorandum by the

current DHS Secretary entitled “Exercising Prosecutorial Discretion with Respect to Individuals

Who Came to the United States as Children and with Respect to Certain Individuals Who Are the

Parents of U.S. Citizens or Permanent Residents.” The memorandum revised the DACA

program (“2014 DACA Revisions”) and also created a new program that established guidelines

for the request of deferred action by the parents of U.S. Citizens or Lawful Permanent Residents

(“DAPA”). See Pl.’s Mot., Ex. D (Memorandum from Jeh Charles Johnson, Secretary,

Department of Homeland Security, to Leon Rodriguez, Director, U.S. Citizenship and

Immigration Services, et al., Exercising Prosecutorial Discretion with Respect to Individuals

Who Came to the United States as Children and with Respect to Certain Individuals Who Are the



                                                 8
    Case Case
         1:14-cv-00254  Document 91-3
              1:14-cv-01966-BAH       Filed23
                                 Document   on 01/14/15 in TXSD
                                               Filed 12/23/14   Page
                                                              Page 9 of13
                                                                        33of 114



Parents of U.S. Citizens or Permanent Residents (November 20, 2014) (“2014 Guidance

Memorandum”)), ECF No. 7-4.

         The principal features of the 2014 DACA Revisions include: (1) removal of the age cap

of 31 so that individuals may request deferred action under DACA regardless of their current

age, as long as they entered the United States before the age of 16; (2) extension of the period of

deferred action from two years to three years; and (3) adjustment of the relevant date by which

an individual must have been in the United States from June 15, 2007 to January 1, 2010. See

2014 Guidance Memorandum at 3–4.

         DAPA permits, on a case-by-case basis, deferred action on removal for a period of three

years for illegal aliens who are parents of U.S. citizens and Lawful Permanent Residents. To be

considered for deferred action under DAPA, an individual must meet the following guidelines:

(1) have, as of November 20, 2014, a son or daughter who is a U.S. citizen or Lawful Permanent

Resident; (2) have continuously resided in the United States since before January 1, 2010; (3)

have been physically present in the United States on November 20, 2014 and at the time of

making a request for deferred action with U.S. Citizenship and Immigration Services; (4) have

no lawful status as of November 20, 2014; (5) not fall within one of the categories of

enforcement priorities set forth in additional agency guidelines;8 and (6) present no other factors

that, in the exercise of discretion, make the grant of deferred action inappropriate. Id.



8
 In a November 20, 2014 Memorandum entitled “Policies for the Apprehension, Detention and Removal of
Undocumented Immigrants,” the Secretary of DHS set forth three categories of undocumented immigrants who are
considered to be priorities for removal. The first category, representing the highest priority for civil immigration
authorities, concerns undocumented immigrants who are threats to national security, border security, and public
safety. The second category, representing the second-highest priority for civil immigration authorities, concerns
undocumented immigrants who have committed certain misdemeanors or recently committed certain immigration
violations. The third category, representing the third-highest priority for civil immigration authorities, concerns
undocumented immigrants who have been issued a final order of removal on or after January 1, 2014. See Pl.’s
Mot., Ex. F (Memorandum from Jeh Charles Johnson, Secretary, Department of Homeland Security, to Thomas S.
Winkowski, Acting Director, U.S. Immigration and Customs Enforcement, et al., Policies for the Apprehension,

                                                          9
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page     1433
                                                                     10 of  of 114




         C.     Procedural Background

         On November 20, 2014, in a televised address, President Barack Obama announced the

principal features of the most recent deferred action programs, namely, the 2014 DACA

Revisions and DAPA. On the same day, the plaintiff filed this action seeking invalidation of

these two programs as well as DACA, which had been announced over two years earlier.

Although the plaintiff’s Complaint references a preliminary injunction, the plaintiff did not

formally or separately move for a preliminary injunction, as required by the Local Civil Rules of

this Court, until December 4, 2014. See Pl.’s Mot.; Local Civ. R. 65.1; Minute Order (Nov. 24,

2014).

         In accordance with the Local Rules governing preliminary injunctions—which permit a

defendant seven days to respond to a motion for preliminary injunction once served—the Court

ordered the defendants to respond to the plaintiff’s motion for preliminary injunction by

December 15, 2014. Ordinarily, the Local Rules make no provision for a reply brief in a motion

for preliminary injunction and the Court did not initially permit a reply brief in this case. See

Local Civ. R. 65.1. In opposition to the motion for preliminary injunction, the defendants argued

that the plaintiff lacked standing to bring this suit and requested dismissal of the suit. See Defs.’

Mem. at 14. The defendants subsequently asked this Court to construe this opposition as a

motion to dismiss for lack of subject matter jurisdiction. See Notice, ECF No. 15. Due to the

dispositive nature of the defendants’ objection, and to ensure fairness to all the parties, the Court

afforded the plaintiff the opportunity to submit a response to the defendants’ objections. In

addition, the Court permitted the plaintiff to file a supplemental declaration in support of his

standing to bring suit. The Court heard argument from both parties on December 22, 2014.


Detention and Removal of Undocumented Immigrants (November 20, 2014)) at 3–4 , ECF No. 7-6. The plaintiff
does not challenge the guidelines set forth in this memorandum. See Hrg. Tr. at 11.

                                                    10
      CaseCase
           1:14-cv-00254   Document Document
                1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                   01/14/15  in TXSD
                                                         12/23/14     Page
                                                                   Page     1533
                                                                        11 of  of 114




          Now pending before the Court is the plaintiff’s motion for a preliminary injunction and

the defendants’ motion to dismiss for lack of subject matter jurisdiction, pursuant to Federal Rule

of Civil Procedure 12(b)(1).

II.       LEGAL STANDARD

          A.     Preliminary Injunction

          “A plaintiff seeking a preliminary injunction must establish [1] that he is likely to

succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of

preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in

the public interest.” Abdullah v. Obama, 753 F.3d 193, 197 (D.C. Cir. 2014) (quoting Aamer v.

Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014) (quoting Sherley v. Sebelius, 644 F.3d 388, 392

(D.C. Cir. 2011))). A preliminary injunction “is an extraordinary and drastic remedy, one that

should not be granted unless the movant, by a clear showing, carries the burden of persuasion.”

Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (quoting 11A C. Wright, A. Miller, & M.

Kane, Federal Practice and Procedure § 2948 (2d ed. 1995)) (emphasis in original). The Supreme

Court repeated this caution in Winter v. Natural Resources Defense Council, 555 U.S. 7 (2008),

stating that “[a] preliminary injunction is an extraordinary remedy never awarded as of right,” id.

at 24, and, again, that “injunctive relief as an extraordinary remedy that may only be awarded

upon a clear showing that the plaintiff is entitled to such relief,” id. at 22.

          Authority can be found in this Circuit for the so-called “sliding scale” approach to

evaluating the four preliminary injunction factors, such that “a strong showing on one factor

could make up for a weaker showing on another.” Sherley, 644 F.3d at 392. In particular, even

if the plaintiff only “raise[s] a serious legal question on the merits,” rather than a likelihood of

success on the merits, a strong showing on all three of the other factors may warrant entry of



                                                   11
    CaseCase
         1:14-cv-00254   Document Document
              1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                 01/14/15  in TXSD
                                                       12/23/14     Page
                                                                 Page     1633
                                                                      12 of  of 114




injunctive relief. Id. at 398; see also Davis v. Pension Ben. Guar. Corp., 571 F.3d 1288, 1292

(D.C. Cir. 2009) (“[I]f the movant makes a very strong showing of irreparable harm and there is

no substantial harm to the non-movant, then a correspondingly lower standard can be applied for

likelihood of success.”); Wash. Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d

841, 843 (D.C. Cir. 1977) (“[A] court, when confronted with a case in which the other three

factors strongly favor interim relief may exercise its discretion to grant a stay if the movant has

made a substantial case on the merits.”).

         At the same time, the D.C. Circuit has acknowledged that the Supreme Court’s decision

in Winter “could be read to create a more demanding burden than the sliding-scale analysis

requires.” Sherley, 644 F.3d at 392 (internal quotations omitted).9 Indeed, in Winter, the

majority of the Supreme Court reversed a grant of injunctive relief, finding that the standard

applied by the Ninth Circuit was “too lenient” in allowing injunctive relief on the “possibility” of

irreparable injury, rather than its likelihood. Winter, 555 U.S. at 22; see also Perry v. Perez, 132

S. Ct. 934, 942 (2012) (“Plaintiffs seeking a preliminary injunction of a statute must normally

demonstrate that they are likely to succeed on the merits of their challenge to that law.”).

         In Aamer v. Obama, the D.C. Circuit declined to opine about the continued viability of

the “sliding scale” analysis of the four preliminary injunction factors, stating that it “remains an

open question whether the ‘likelihood of success’ factor is ‘an independent, free-standing

requirement,’ or whether, in cases where the other three factors strongly favor issuing an

injunction, a plaintiff need only raise a ‘serious legal question’ on the merits.” 742 F.3d at 1043;

see also Am. Meat Inst. v. U.S. Dep't of Agric., 746 F.3d 1065, 1074 (D.C. Cir. 2014) (“This

circuit has repeatedly declined to take sides in a circuit split on the question of whether


9
  The plaintiff, in his briefing, notes only the sliding-scale analysis and ignores the voluminous case law describing
the uncertainty regarding the continued viability of the sliding-scale analysis in this Circuit. See Pl.’s Mot. at 11.

                                                          12
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     1733
                                                                    13 of  of 114




likelihood of success on the merits is a freestanding threshold requirement to issuance of a

preliminary injunction. . . . We need not take sides today.”).

       Under either approach, a court may not issue “a preliminary injunction based only on a

possibility of irreparable harm . . . [since] injunctive relief [i]s an extraordinary remedy that may

only be awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter, 555

U.S. at 22; see also In re Navy Chaplaincy, 738 F.3d 425, 428 (D.C. Cir. 2013) (requiring proof

that all four prongs of preliminary injunction standard be met before injunctive relief can be

issued). Thus, the plaintiff bears the burden of persuasion on all four preliminary injunction

factors in order to secure such an “extraordinary remedy.”

       B.      Motion to Dismiss for Lack of Subject Matter Jurisdiction

       “‘Federal courts are courts of limited jurisdiction,’ possessing ‘only that power

authorized by Constitution and statute.’” Gunn v. Minton, 133 S. Ct. 1059, 1064 (2013) (quoting

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)). Indeed, federal courts are

“forbidden . . . from acting beyond our authority,” NetworkIP, LLC v. FCC, 548 F.3d 116, 120

(D.C. Cir. 2008), and, therefore, have “an affirmative obligation ‘to consider whether the

constitutional and statutory authority exist for us to hear each dispute.’” James Madison Ltd. by

Hecht v. Ludwig, 82 F.3d 1085, 1092 (D.C. Cir. 1996) (quoting Herbert v. National Academy of

Sciences, 974 F.2d 192, 196 (D.C. Cir. 1992)). Absent subject matter jurisdiction over a case,

the court must dismiss it. Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006); FED. R. CIV. P.

12(h)(3).

       When considering a motion to dismiss under Rule 12(b)(1), the court must accept as true

all uncontroverted material factual allegations contained in the complaint and “‘construe the

complaint liberally, granting plaintiff the benefit of all inferences that can be derived from the



                                                 13
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page     1833
                                                                     14 of  of 114




facts alleged’ and upon such facts determine jurisdictional questions.” Am. Nat’l Ins. Co. v.

FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011) (quoting Thomas v. Principi, 394 F.3d 970, 972

(D.C. Cir. 2005) (quoting Barr v. Clinton, 370 F.3d 1196, 1199 (D.C. Cir. 2004))). The court

need not accept inferences drawn by the plaintiff, however, if those inferences are unsupported

by facts alleged in the complaint or amount merely to legal conclusions. See Browning v.

Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). Moreover, in evaluating subject matter jurisdiction,

the court, when necessary, may “‘undertake an independent investigation to assure itself of its

own subject matter jurisdiction,’” Settles v. United States Parole Comm'n, 429 F.3d 1098, 1107-

1108 (D.C. Cir. 2005) (quoting Haase v. Sessions, 835 F.2d 902, 908 (D.C. Cir. 1987), and

consider facts developed in the record beyond the complaint, id. See also Herbert v. National

Academy of Sciences, 974 F.2d 192, 197 (D.C. Cir. 1992) (in disposing of motion to dismiss for

lack of subject matter jurisdiction, “where necessary, the court may consider the complaint

supplemented by undisputed facts evidenced in the record, or the complaint supplemented by

undisputed facts plus the court's resolution of disputed facts.”); Alliance for Democracy v. FEC,

362 F. Supp. 2d 138, 142 (D.D.C. 2005).

       The burden of establishing any jurisdictional facts to support the exercise of the subject

matter jurisdiction rests on the plaintiff. See Hertz Corp. v. Friend, 559 U.S. 77, 96-97 (2010);

Thomson v. Gaskill, 315 U.S. 442, 446 (1942); Moms Against Mercury v. FDA, 483 F.3d 824,

828 (D.C. Cir. 2007).

III.   DISCUSSION

       The plaintiff concedes, as he must, that “he and other similarly situated state law

enforcement and other officials have no authority” to enforce the immigration laws of the United

States. Compl. at 19; see also Arizona, 132 S. Ct. at 2507. Nonetheless, the plaintiff seeks to



                                                14
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     1933
                                                                    15 of  of 114




alter federal enforcement policy by asking the Court to halt three federal immigration programs

that have the over-arching purpose of prioritizing federal enforcement efforts. See Arizona, 132

S. Ct. at 2499 (noting that “[a]principal feature of the removal system is the broad discretion

exercised by immigration officials,” who “as an initial matter, must decide whether it makes

sense to pursue removal at all.”). The plaintiff’s inability to enforce federal immigration law is

integrally related to the central question in this case: Whether the plaintiff has standing to

demand changes to the “broad discretion” granted federal officials regarding removal. Despite

the consequences of unlawful immigration in Maricopa County, the plaintiff cannot meet the

requirements for standing to bring this suit.

       A.      The Plaintiff Lacks Standing

       Article III of the Constitution restricts the power of federal courts to hear only “Cases”

and “Controversies.” “The doctrine of standing gives meaning to these constitutional limits by

‘identify[ing] those disputes which are appropriately resolved through the judicial process.’”

Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014) (alterations in original)

(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). Indeed, “‘[n]o principle is

more fundamental to the judiciary’s proper role in our system of government than the

constitutional limitation on federal-court jurisdiction to actual cases or controversies.’”

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006) (alterations in original) (internal

quotations omitted).

       The Supreme Court has explained, “the irreducible constitutional minimum of standing

contains three elements.” Defenders of Wildlife, 504 U.S. at 560. First, the plaintiff must have

suffered an “injury in fact,” i.e., “an invasion of a legally protected interest which is (a) concrete

and particularized, and (b) actual or imminent, not conjectural or hypothetical.” Id. (citations



                                                  15
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     2033
                                                                    16 of  of 114




and internal quotation marks omitted). Second, there must be “a causal connection between the

injury and the conduct complained of,” i.e., the injury alleged must be fairly traceable to the

challenged action of the defendant. Id. Finally, it must be “likely” that the complained-of injury

will be “redressed by a favorable decision” of the court. Id. at 561. In short, “[t]he plaintiff must

have suffered or be imminently threatened with a concrete and particularized ‘injury in fact’ that

is fairly traceable to the challenged action of the defendant and likely to be redressed by a

favorable judicial decision.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct.

1377, 1386 (2014). Likewise, when declaratory or injunctive relief is sought—relief the plaintiff

seeks here—a plaintiff “must show he is suffering an ongoing injury or faces an immediate threat

of [future] injury.” Dearth v. Holder, 641 F.3d 499, 501 (D.C. Cir. 2011) (citing City of Los

Angeles v. Lyons, 461 U.S. 95, 105 (1983)).

       The plaintiff fails to meet any of the three elements of constitutional standing. Each of

these requirements is addressed seriatim below.

               1.      Injury in Fact

       At the outset, the plaintiff’s Complaint and motion for preliminary injunction fail to

identify whether the plaintiff is bringing suit in his individual capacity or in his official capacity

as the elected Sheriff of Maricopa County. Compare Compl. ¶ 3 (noting only that “[t]he Plaintiff

Joe Arpaio is the elected Sheriff of Maricopa County, State of Arizona”), with ¶ 8 (detailing that

each defendant was being sued “in their individual and official capacities”). The Court clarified

during oral argument that the plaintiff is bringing suit in both his personal and official capacities.

Hrg. Tr. at 5. Regardless of whether the plaintiff is suing in his individual or official capacity, or

both, the plaintiff cannot demonstrate a cognizable injury from the challenged deferred action

programs.



                                                  16
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     2133
                                                                    17 of  of 114




                       a)      Personal Capacity

       The law is well-settled that ordinarily, “private persons . . . have no judicially cognizable

interest in procuring enforcement of the immigration laws . . . .” Sure-Tan, Inc. v. N.L.R.B., 467

U.S. 883, 897 (1984) (citing Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973)). This is merely

the application of the long-standing principle that a plaintiff “raising only a generally available

grievance about government—claiming only harm to his and every citizen’s interest in proper

application of the Constitution and laws, and seeking relief that no more directly and tangibly

benefits him than it does the public at large—does not state an Article III case or controversy.”

Hollingsworth v. Perry, 133 S. Ct. 2652, 2662 (2013) (quoting Defenders of Wildlife, 504 U.S. at

573–74). As a result, a plaintiff who seeks to vindicate only the general interest in the proper

application of the Constitution and laws does not suffer the type of direct, concrete and tangible

harm that confers standing and warrants the exercise of jurisdiction. Yet, this is the type of suit

the plaintiff attempts to bring in his personal capacity. See Supp. Decl. of Sheriff Joe Arpaio ¶ 3

(“Pl.’s Supp. Decl.”), ECF No. 20-1 (“By this lawsuit, I am seeking to have the President and the

other Defendants obey the U.S. Constitution and the immigration laws . . . .”).

          The plaintiff does offer one additional theory, however, in support of his claim of

injury in his individual capacity. The plaintiff cites press reports and press releases from his own

office that undocumented immigrants have targeted him for assassination as a result of the

plaintiff’s “widely known stance on illegal immigration.” See Press Release, Bomb Threats

against Sheriff Arpaio and Office on Upsurge as Another Suspect is Indicted, Maricopa County

Sheriff’s Office (August 21, 2013) (“Threats Press Release”), ECF No. 21-1. Such threats are

deplorable and offensive to the entire justice system. Nevertheless, these allegations cannot

confer standing on the plaintiff in his individual capacity in this case. In requesting injunctive



                                                 17
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     2233
                                                                    18 of  of 114




relief, the plaintiff “must show he is suffering an ongoing injury or faces an immediate threat of

[future] injury.” Dearth, 641 F.3d at 501. The plaintiff has presented no evidence that these

threats are ongoing. “‘Past exposure to illegal conduct does not in itself show a present case or

controversy regarding injunctive relief . . . if unaccompanied by any continuing, present adverse

effects.’” Defenders of Wildlife, 504 U.S. at 564 (quoting Los Angeles v. Lyons, 461 U.S. 95,

102 (1983) (quoting O’Shea v. Littleton, 414 U.S. 488, 495–96 (1974))).

       Moreover, as will be discussed in detail below, even an ongoing threat to the plaintiff by

undocumented immigrants would not provide the plaintiff with standing to challenge the

deferred action programs at issue. The plaintiff must not only show that he is injured, but that

the plaintiff’s injury is fairly traceable to the challenged deferred action programs and that the

injury is capable of redress by this Court in this action. The plaintiff cannot meet this showing.

The challenge deferred action programs did not cause the threats to the plaintiff’s life. Rather,

criminal action by third-parties not before the court caused the threats to the plaintiff. Moreover,

according to the plaintiff’s press release, the alleged assassins were motivated by the plaintiff’s

“widely known stance on illegal immigration,” a stance pre-existing this case and these

challenged programs. See Threats Press Release. Furthermore, an injunction in this case would

do nothing either to alter the plaintiff’s views on “illegal immigration” or to redress the targeting

of the plaintiff resulting from his “widely known stance on illegal immigration.” This dooms the

plaintiff’s standing to bring this suit in his personal capacity as an ordinary citizen.

                       b)      Official Capacity

       Even if the plaintiff can circumvent these limitations by bringing suit in his official

capacity as Sheriff of Maricopa County, the plaintiff still lacks standing.




                                                   18
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     2333
                                                                    19 of  of 114




       The plaintiff claims that the challenged deferred action programs, which provide

guidance to Federal law enforcement regarding the removal or non-removal of undocumented

immigrants, inhibit his ability to perform his official functions as the Sheriff of Maricopa

County. The plaintiff alleges that he is “adversely affected and harmed in his office’s finances,

workload, and interference with the conduct of his duties” as a result of the “increases in the

influx of illegal aliens motivated by [these] policies of offering amnesty.” Compl. ¶ 27. As

support for this allegation, he alleges that “experience has proven as an empirical fact that

millions more illegal aliens will be attracted into the border states of the United States, regardless

of the specific details” of the challenged policies. Compl. ¶ 30. The plaintiff further alleges that,

“the experiences and records of the Sheriff’s office show that many illegal aliens . . . are repeat

offenders, such that Plaintiff Arpaio’s deputies and other law enforcement officials have arrested

the same illegal aliens for various different crimes.” Compl. ¶ 31. According to the plaintiff, the

“financial impact of illegal aliens in Maricopa County, Arizona was at least $9,293,619.96 in the

costs of holding illegal aliens in the Sheriff’s jails from February 1, 2014, through December 17,

2014, for those inmates flagged with INS ‘detainers.’” Pl.’s Reply Defs.’ Opp. Pl.’s Mot.

Prelim. Inj. at 7 (“Pl.’s Reply”), ECF No. 19.

       The plaintiff is correct that the regulation and impairment of a state officer’s official

functions may be sufficient to confer standing, but only in certain limited circumstances. See,

e.g., Lomont v. O’Neil, 285 F.3d 9, 13–14 (D.C. Cir. 2002) (holding that a state Sheriff and

Police Chief had standing to challenge federal law permitting state police officials to provide

certifications relating to the transfer of certain firearms); Fraternal Order of the Police v. United

States, 152 F.3d 998, 1001–02 (D.C. Cir. 1998). Yet, neither Lomont nor Fraternal Order of the

Police support the plaintiff’s argument here, as both cases concerned the direct regulation of a



                                                 19
     CaseCase
          1:14-cv-00254   Document Document
               1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                  01/14/15  in TXSD
                                                        12/23/14     Page
                                                                  Page     2433
                                                                       20 of  of 114




state officer’s official duties. In contrast, the challenged deferred action programs do not

regulate the official conduct of the plaintiff but merely regulate the conduct of federal

immigration officials in the exercise of their official duties. Thus, even if the plaintiff’s official

functions could be viewed as a “legally protected interest,” the challenged deferred action

programs do not amount to “an invasion” of that interest in a manner that is “concrete and

particularized.” Defenders of Wildlife, 504 U.S. at 560. Indeed, it is not apparent exactly what

cognizable interest and injury the plaintiff can assert since, as the plaintiff’s Complaint

recognizes, the plaintiff has no legal authority to enforce the immigration laws of the United

States. See Compl. at 19.

         Ultimately, the plaintiff’s standing argument reduces to a simple generalized grievance:

A Federal policy causes his office to expend resources in a manner that he deems suboptimal.10

To accept such a broad interpretation of the injury requirement would permit nearly all state

officials to challenge a host of Federal laws simply because they disagree with how many—or

how few—Federal resources are brought to bear on local interests. Fortunately, the standing

doctrine is not so limp. As the Supreme Court has repeatedly emphasized: “‘a plaintiff raising

only a generally available grievance about government—claiming only harm to his and every

citizen’s interest in [the] proper application of the Constitution and laws, and seeking relief that

no more directly [or] tangibly benefits him than it does the public at large—does not state an

10
   Although prior case law has occasionally suggested that “generalized grievances” should be analyzed as part of
prudential standing, the Supreme Court recently suggested that such concerns should be considered as part of Article
III standing. See Lexmark Int’l, 134 S. Ct. at 1387 n.3 (“While we have at times grounded our reluctance to
entertain [suits concerning generalized grievances] in the ‘counsels of prudence’ (albeit counsels ‘close[ly] relat[ed]
to the policies reflected in’ Article III), we have since held that such suits do not present constitutional ‘cases’ or
‘controversies.’” (internal citations omitted) (quoting Valley Forge Christian College v. Americans United for
Separation of Church and State, Inc., 454 U.S. 464, 475 (1982))). Although there is some dispute within this Circuit
as to whether prudential standing should be considered jurisdictional, there is no dispute that where the plaintiff
cannot meet the irreducible constitutional minimum of Article III standing, the court need not address whether the
plaintiff has prudential standing. See generally Grocery Mfrs. Ass’n v. EPA, 693 F.3d 169 (D.C. Cir. 2012).
Accordingly, the Court does not address whether prudential concerns prevent the plaintiff from establishing
standing.

                                                         20
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     2533
                                                                    21 of  of 114




Article III case or controversy.’” Lance v. Coffman, 549 U.S. 437, 439 (2007) (quoting Lujan,

504 U.S. at 573); see also Pl.’s Supp. Decl. ¶ 3 (“By this lawsuit, I am seeking to have the

President and other Defendants obey the U.S. Constitution and the immigration laws . . . .”).

Simply put, a state official has not suffered an injury in fact to a legally cognizable interest

because a federal government program is anticipated to produce an increase in that state’s

population and a concomitant increase in the need for the state’s resources. Cf. Massachusetts v.

EPA, 549 U.S. 497, 520-521 (2007) (finding standing for Massachusetts because of state’s

“quasi-sovereign interests” relating to its “desire to preserve its sovereign territory” not because

of the increase in state expenditures resulting from federal policy concerning global warming).

       Moreover, the plaintiff’s alleged injury is largely speculative. The plaintiff argues that

the challenged deferred action programs will create a “magnet” by attracting new undocumented

immigrants into Maricopa County, some of whom may commit crimes under Arizona law. Pl.’s

Mot. at 16–17; see also Pl.’s Mot., Ex. G, Decl. of Sheriff Joe Arpaio ¶¶ 7, 11–14, ECF No. 7-7.

Yet, the decision for any individual to migrate is a complex decision with multiple factors,

including factors entirely outside the United States’ control, such as social, economic and

political strife in a foreign country. The plaintiff reduces this complex process to a single factor:

the challenged deferred action programs.

       Even drawing all inferences in favor of the plaintiff, the terms of the challenged deferred

action programs do not support the plaintiff’s theory. The challenged deferred action programs

would have no impact on new immigrants, as the guidance defining the programs makes clear

that these programs only apply to undocumented immigrants residing in the United States prior

to January 1, 2010. 2014 Guidance Memorandum at 4. Thus, it is speculative that a program,




                                                  21
     CaseCase
          1:14-cv-00254   Document Document
               1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                  01/14/15  in TXSD
                                                        12/23/14     Page
                                                                  Page     2633
                                                                       22 of  of 114




which does not apply to future immigrants, will nonetheless result in immigrants crossing the

border illegally into Maricopa County (and other borders of this country).

         The plaintiff has been unable to show that the challenged deferred action programs have

interfered with his official duties as Sheriff in a manner that “is (a) concrete and particularized,

and (b) actual or imminent, not conjectural or hypothetical” and has therefore failed in his burden

to establish an injury in fact. Defenders of Wildlife, 504 U.S. at 560.

                  2.       Causation and Redressability

         The plaintiff’s speculative injury is not the only infirmity in the plaintiff’s standing

theory. A plaintiff must not only show an “injury in fact,” but must also show that the injury is

fairly traceable to the allegedly harmful conduct and that the relief sought by the plaintiff will

likely redress the injury. Defenders of Wildlife, 504 U.S. at 560. Two overarching principles

apply to the causation and redressability inquiry in this case.

         First, this case involves the purported “standing to challenge [an executive action] where

the direct cause of injury is the independent action of . . . third part[ies].” Renal Physicians

Ass’n v. U.S. Dep’t of Health & Human Servs., 489 F.3d 1267, 1269 (D.C. Cir. 2007). Indeed, it

is the actions taken by undocumented immigrants—migrating to Maricopa County and

committing crimes once there—that are purportedly the direct cause of the plaintiff’s injury. As

will be discussed, however, “courts [only] occasionally find the elements of standing to be

satisfied in cases challenging government action on the basis of third-party conduct.” Nat’l

Wrestling Coaches Ass’n v. Dep’t of Educ., 366 F.3d 930, 940 (D.C. Cir. 2004).11


11
   The plaintiff attempts to rely upon the doctrine of competitor standing to avoid the strict limitations imposed on
cases where the source of the plaintiff’s harm is the independent actions of third parties. Yet, the cases on which the
plaintiff relies, see Mendoza v. Perez, 754 F.3d 1002, 1012–14 (D.C. Cir. 2014); Honeywell Int’l Inc. v. EPA, 374
F.3d 1363, 1369 (D.C. Cir. 2004); and Washington Alliance of Tech. Workers v. U.S. Dep’t of Homeland Sec., No.
14-cv-529, 2014 WL 6537464, at *4 (D.D.C. Nov. 21, 2014), do not support the plaintiff’s standing argument in this
case. Standing was found in those cases because a plaintiff suffered an injury in fact “when an agency lift[ed]
regulatory restrictions on their competitors or otherwise allow[ed] increased competition.” Mendoza, 754 F.3d at

                                                          22
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page     2733
                                                                     23 of  of 114




         Second, and relatedly, the programs challenged by the plaintiff do not regulate the

plaintiff directly; rather, they regulate federal immigration officials. As the Supreme Court has

made clear, “[w]hen . . . a plaintiff’s asserted injury arises from the government’s allegedly

unlawful regulation (or lack of regulation) of someone else, much more is needed” to confer

standing. Defenders of Wildlife, 504 U.S. at 562 (emphasis in original). When standing

“depends on the unfettered choices made by independent actors not before the courts and whose

exercise of broad and legitimate discretion the courts cannot presume either to control or to

predict . . . it becomes the burden of the plaintiff to adduce facts showing that those choices have

been or will be made in such manner as to produce causation and permit redressability of injury.”

Id. (internal quotations and citations omitted); see also id. (“[W]hen the plaintiff is not himself

the object of the government action or inaction he challenges, standing is not precluded, but it is

ordinarily ‘substantially more difficult’ to establish.” (internal quotation marks omitted)).

         The Court first addresses the plaintiff’s failure to show causation before discussing the

plaintiff’s failure to demonstrate redressability.

                            a)       Causation

         The D.C. Circuit has identified “two categories of cases where standing exists to

challenge government action though the direct cause of injury is the action of a third party.”

Renal Physicians, 489 F.3d at 1275. “First, a federal court may find that a party has standing to

challenge government action that permits or authorizes third-party conduct that would otherwise

be illegal in the absence of the Government’s action.” National Wrestling Coaches, 366 F.3d at

1011 (quoting La. Energy and Power Auth. v. FERC, 141 F.3d 364, 367 (D.C. Cir. 1998)). The doctrine of
competitor standing is not implicated in this case, as the plaintiff’s resources are not strained because he is forced to
compete with undocumented immigrants in a limited market. Moreover, the plaintiff cannot rely on a supposed
“procedural injury” because, since the plaintiff has no authority to enforce the Federal immigration laws, the
plaintiff cannot demonstrate the challenged deferred action programs “threaten[] [a] concrete interest” of the
plaintiff as opposed to an injury common to all members of the public. Mendoza, 754 F.3d at 1010.



                                                           23
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     2833
                                                                    24 of  of 114




940. Importantly, in this category of cases, the challenged government conduct must authorize

the specific third-party conduct that causes the injury to the plaintiff. See Animal Legal Def.

Fund, Inc. v. Glickman, 154 F.3d 426, 440 (D.C. Cir. 1998) (“Supreme Court precedent

establishes that the causation requirement for constitutional standing is met when a plaintiff

demonstrates that the challenged agency action authorizes the conduct that allegedly caused the

plaintiff’s injuries . . . .”). In the present case, the challenged agency action—the ability to

exercise enforcement discretion to permit deferred action relating to certain undocumented

immigrants—does not authorize the conduct about which the plaintiff complains. The

challenged deferred action programs authorize immigration officials to exercise discretion on

removal; they do not authorize new immigration into the United States (let alone Maricopa

County); they do not authorize undocumented immigrants to commit crimes; and they do not

provide permanent status to any undocumented immigrants eligible to apply for deferred action

under any of the challenged programs. Contrary to the plaintiff’s assertion that a consequence of

the challenged programs will be an increase in illegal conduct by undocumented immigrants and

an increase in costs to the Maricopa County Sheriff’s office, these programs may have the

opposite effect. The deferred action programs are designed to incorporate DHS’s enforcement

priorities and better focus federal enforcement on removing undocumented immigrants

committing felonies and serious misdemeanor crimes. Since the undocumented immigrants

engaging in criminal activity are the cause of the injuries complained about by the plaintiff, the

more focused federal effort to remove these individuals may end up helping, rather than

exacerbating the harm to, the plaintiff.

       Second, standing has been found “where the record present[s] substantial evidence of a

causal relationship between the government policy and the third-party conduct, leaving little



                                                  24
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     2933
                                                                    25 of  of 114




doubt as to causation and the likelihood of redress.” National Wrestling Coaches, 366 F.3d at

941. This record is sparse regarding a link between the challenged deferred action programs and

the third-party conduct. Although the plaintiff has submitted numerous press releases and letters

to officials documenting Maricopa County’s struggle with illegal immigration along the southern

border, the plaintiff has submitted no evidence showing that the challenged deferred action

programs are, or will be, the cause of the crime harming the plaintiff or the increase in

immigration, much less “substantial evidence.” Indeed, the plaintiff severely undermines his

own argument by stating that “millions more illegal aliens will be attracted into the border states

of the United States, regardless of the specific details” of current executive branch immigration

policies. Compl. ¶ 30 (emphasis added). If the details of the challenged deferred action

programs do not matter as to whether or not the plaintiff will suffer an injury, then the plaintiff’s

injuries cannot be fairly traceable to these programs. Similarly, the plaintiff observes that “the

Executive Branch is not deporting illegal aliens in any significant numbers” and that regardless

of the provision of deferred action programs “illegal aliens are very unlikely to be deported.”

Pl.’s Mot. at 12. Implicit in this observation is the plaintiff’s admission that regardless of the

challenged deferred action programs, the plaintiff is likely to continue to suffer the claimed

injury.

          In sum, the plaintiff has failed to demonstrate that the challenged deferred action

programs are the cause of his alleged injury.

                         b)      Redressability

          Similar to the causation requirement, “it is ‘substantially more difficult’ for a petitioner to

establish redressability where the alleged injury arises from the government’s regulation of a

third party not before the court.” Spectrum Five LLC v. Fed. Commc’ns Comm’n, 758 F.3d 254,



                                                    25
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     3033
                                                                    26 of  of 114




261 (D.C. Cir. 2014) (quoting Nat’l Wrestling Coaches, 366 F.3d at 933); see also Defenders of

Wildlife, 504 U.S. at 562. The plaintiff must allege facts that are “sufficient to demonstrate a

substantial likelihood that the third party directly injuring the plaintiff would cease doing so as a

result of the relief the plaintiff sought.” Renal Physicians, 489 F.3d at 1275. In other words, the

plaintiff must allege facts sufficient to demonstrate a substantial likelihood that, as a result of

injunctive relief in this case, there would not be an increase in undocumented immigrants in

Maricopa County and there would not be an increase in crimes committed by undocumented

immigrants in Maricopa County. This is a “substantially more difficult” task. Spectrum Five

LLC, 758 F.3d at 261.

       On this point, the D.C. Circuit’s decision in National Wrestling Coaches is instructive.

There, plaintiffs challenged an interpretive rule promulgated by the Department of Education,

which laid out three ways in which the Department would assess whether educational institutions

had complied with Department regulations that required such institutions to select sports and

levels of competition to “effectively accommodate the interests and abilities of members of both

sexes.’” 366 F.3d at 934–35 (quoting 45 C.F.R. § 86.41(c)(1) and 34 C.F.R. § 106.41(c)(1)).

That regulation had been promulgated pursuant to Title IX of the Education Amendments of

1972, which prohibited discrimination on the basis of sex in federally funded educational

programs and activities. See id. at 934. The plaintiffs were “membership organizations

representing the interests of collegiate men’s wrestling coaches, athletes, and alumni,” and their

asserted injuries arose “from decisions by educational institutions to eliminate or reduce the size

of men’s wrestling programs to comply with the Department’s interpretive rules implementing

Title IX.” Id. at 935.




                                                  26
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     3133
                                                                    27 of  of 114




       Thus, in National Wrestling Coaches, like in the instant case, “the necessary elements of

causation and redressability . . . hinge[d] on the independent choices of . . . regulated third

part[ies].” Id. at 938. The D.C. Circuit found redressability lacking in National Wrestling

Coaches because “nothing but speculation suggests that schools would act any differently than

they do with the [challenged interpretive rule] in place” since “[s]chools would remain free to

eliminate or cap men’s wrestling teams and may in some circumstances feel compelled to do so

to comply with the statute and the [previous Department] Regulations.” Id. at 940. Further, the

court found that “other reasons unrelated to the challenged legal requirements [e.g., moral

considerations, budget constraints] may continue to motivate schools to take such actions.” Id.

From this analysis, and a comprehensive review of the case law, the National Wrestling Coaches

court concluded that “it is purely speculative whether a decision in appellants’ favor would alter

the process by which schools determine whether to field certain sports teams.” Id. at 944.

       The same concerns animating the outcome in National Wrestling Coaches drive the result

in this case. Many “other reasons unrelated to the challenged legal requirements” may motivate

the conduct allegedly causing harm to the plaintiff. Indeed, the motivation for any individual to

come to the United States (or, once present here, to commit a crime in Maricopa County), does

not rest solely upon the challenged deferred action programs. Such decisions are complicated

and multi-faceted, involving both national and international factors. A ruling by this Court

enjoining the challenged deferred action programs will likely not change the complex and

individualized decision making of undocumented immigrants allegedly causing harm to the

plaintiff. As noted, the plaintiff’s briefing admits as much: “millions more illegal aliens will be

attracted into the border states of the United States, regardless of the specific details” of the

challenged deferred action programs. Compl. ¶ 30.



                                                  27
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     3233
                                                                    28 of  of 114




       Moreover, the plaintiff acknowledges that the defendants only have limited resources to

facilitate removal, see Hrg. Tr. at 14. Relief from this Court will not grant additional resources

to the executive branch allowing it to remove additional undocumented immigrants or to prevent

undocumented immigrants from arriving. Thus, the plaintiff’s complaint regarding the large

number of undocumented immigrants and the limited number of removals will not change as a

result of any order by the Court in this litigation. Consequently, the plaintiff’s alleged harm

stemming from the expenditure of resources to deal with the large number of undocumented

immigrants in Maricopa County will remain. In other words, regardless of the outcome of this

case, the Court can afford no relief to the plaintiff’s injury. Cf. Bauer v. Marmara, No. 13-ap-

7081, 2014 WL 7234818, at *6 (D.C. Cir. December 19, 2014) (holding that plaintiff was

“unable to satisfy the redressability prong of Article III standing because the court cannot compel

the Government to pursue action to seek forfeiture of the disputed vessels”).

       “When redress depends on the cooperation of a third party, ‘it becomes the burden of the

[party asserting standing] to adduce facts showing that those choices have been or will be made

in such manner as to produce causation and permit redressability of injury.’” U.S. Ecology v.

U.S. Dep’t of Interior, 231 F.3d 20, 24–25 (D.C. Cir. 2000) (emphasis added) (quoting

Defenders of Wildlife, 504 U.S. at 562); see also Klamath Water v. Fed. Energy Reg. Comm’n,

534 F.3d 735, 739 (D.C. Cir. 2008) (“In a case like this, in which relief for the petitioner depends

on actions by a third party not before the court, the petitioner must demonstrate that a favorable

decision would create ‘a significant increase in the likelihood that the plaintiff would obtain

relief that directly redresses the injury suffered.’” (quoting Utah v. Evans, 536 U.S. 452, 464

(2002))). The plaintiff has been unable to meet this burden.

                                          *     *      *



                                                 28
  CaseCase
       1:14-cv-00254   Document Document
            1:14-cv-01966-BAH   91-3 Filed23on Filed
                                               01/14/15  in TXSD
                                                     12/23/14     Page
                                                               Page     3333
                                                                    29 of  of 114




       Taken together, the Court finds that the plaintiff has not and cannot show that: (1) he

suffers a concrete and particularized injury (as opposed to a speculative and generalized

grievance); (2) the cause of the plaintiff’s injury can be fairly traced to the challenged deferred

action programs; and (3) a favorable ruling by this Court would redress the plaintiff’s alleged

injury. A plaintiff “may be disappointed if the Government declines to pursue [enforcement],

but disappointment of this sort is a far cry from the injury and redressability required to prove

Article III Standing.” Bauer, 2014 WL 7234818, at *6. As a result, the plaintiff lacks standing

to bring this challenge, requiring dismissal of this lawsuit for lack of subject matter jurisdiction.

       B.      Preliminary Injunction

       The plaintiff’s motion for preliminary injunction likewise fails as the plaintiff can show

neither a likelihood of success on the merits nor irreparable harm due to his lack of standing. As

an initial matter, because “standing is a necessary predicate to any exercise of [the Court’s]

jurisdiction, the [plaintiff] and [his] claims have no likelihood of success on the merits,” if the

plaintiff lacks standing. Smith v. Henderson, 944 F. Supp. 2d 89, 99 (D.D.C. 2013) (internal

quotations and citations omitted); see also Kingman Park Civic Ass’n v. Gray, 956 F. Supp. 2d

230, 241 (D.D.C. 2013) (“The first component of the likelihood of success on the merits prong

usually examines whether the plaintiffs have standing in a given case.” (internal quotations

omitted)).

       Moreover, the same problem that confronts the plaintiff’s standing argument—the

inability to obtain redress from an order by this Court—likewise dooms the plaintiff’s ability to

show irreparable harm. Indeed, “it would make little sense for a court to conclude that a plaintiff

has shown irreparable harm when the relief sought would not actually remedy that harm.” Sierra

Club v. U.S. Dep’t of Energy, 825 F. Supp. 2d 142, 153 (D.D.C. 2011); see also Navistar, Inc. v.



                                                  29
     CaseCase
          1:14-cv-00254   Document Document
               1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                  01/14/15  in TXSD
                                                        12/23/14     Page
                                                                  Page     3433
                                                                       30 of  of 114




Environmental Protection Agency, No. 11-cv-449, 2011 WL 3743732, at *3 (D.D.C. Aug. 25,

2011) (Wilkins, J.) (“Because an injunction will not redress its alleged injuries, [the plaintiff’s]

claim that it will suffer irreparable harm in the absence of a preliminary injunction is tenuous at

best.”).

           Nevertheless, even if the plaintiff were able to establish standing, the plaintiff would face

a number of legal obstacles to prevail and, therefore, could not demonstrate a likelihood of

success on the merits nor any of the other preliminary injunction factors.12 While not necessary



12
   The plaintiff has highlighted a recently out-of-Circuit opinion from the Western District of Pennsylvania
(“Pennsylvania court”) to buttress his claims regarding his likelihood of success on the merits. See Pl.’s Notice of
Suppl. Auth., ECF No. 14 (citing United States v. Juarez-Escobar, 2014 U.S. Dist. LEXIS 173350 (W.D. Pa. Dec.
16, 2014)). In that case, the court considered the applicability of the DAPA program to a criminal defendant (who
had been arrested locally for driving under the influence with a minor present in the vehicle) in connection with the
defendant’s sentencing, upon his plea of guilty to illegal reentry in violation of 8 U.S.C. § 1326. Id. at *1–*4.
Throughout the opinion, the court expresses an over-arching concern with the fairness of the prosecution in light of
the uneven enforcement of the immigration laws. See, e.g., id. at *5 (“Defendant appears before this Court, in part,
because of arguably unequal and arbitrary immigration enforcement in the United States.”); id. at *6–*7 (observing
that “[h]ad Defendant been arrested in a ‘sanctuary state’ or a ‘sanctuary city,’ local law enforcement likely would
not have reported him to Homeland Security” and “he would likely not have been indicted” and “would not be
facing sentencing and/or deportation”); id. at *39–*40 (noting “an arbitrariness to Defendant’s arrest and criminal
prosecution” given existence of “‘sanctuary cities’ [where] . . . if an undocumented immigrant was arrested for a
minor offense, local law enforcement would not automatically notify ICE”); id. at *41 (describing “Defendant’s
current criminal prosecution and the civil deportation hearing that will undoubtedly follow as a result of this
criminal proceeding” as “arguably . . . arbitrary and random”). Consistent with this theme, the court reviewed the
DAPA program to evaluate “whether it would unjustly and unequally impact this Defendant in light of this Court's
obligation to avoid sentencing disparities among defendants with similar records who have been found guilty of
similar conduct,” citing 18 U.S.C. § 3553(a)(6). Id. at *24; see also id. at *12–*13 (expressing “concern[] that the
Executive Action might have an impact on this matter, including any subsequent removal or deportation”). In other
words, under the rubric of a sentencing factor that sentencing courts are required to consider under 18 U.S.C. §
3553(a), the Pennsylvania court set out to evaluate whether the DAPA program was applicable to the defendant and,
if so, whether the consequences of his conviction, including deportation, would amount to an unwarranted
sentencing disparity because similarly situated defendants could obtain deferred removal. See 18 U.S.C. §
3553(a)(6)(requiring sentencing court, “in determining the particular sentence to be imposed,” to consider “the need
to avoid unwarranted sentence disparities among defendants with similar records who have been found guilty of
similar conduct”).
          The Pennsylvania court ultimately determined that the DAPA program was not applicable to the defendant
for two reasons: first, the court opined that the DAPA program “is unconstitutional,” id. at *33, *58; and, second,
even if the DAPA program were constitutional, the court made critical factual findings that the defendant did not
meet the eligibility criteria for DAPA’s deferred action, id. at *45 (“The bottom line for this Defendant is that . . . he
does not fall into any newly created or expanded deferment category . . . .”); id. at *57 (“this Defendant is possibly
not entitled to the deferred action status that would enable him to defer deportation”). Despite the defendant’s lack
(or “possible[]” lack) of eligibility for the DAPA program, the court viewed the defendant as “more ‘family’ than
‘felon,’” id. at *45, *58, due to his “close bond with his brother,” who resided in the United States, id. at *57–*58,
prompting the court to give the defendant the opportunity to withdraw his guilty plea or proceed to sentencing, id. at
*59.

                                                           30
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page     3533
                                                                     31 of  of 114




to resolve this case, the Court outlines several of these obstacles. First, with respect to the

plaintiff’s likelihood of success on the merits, the challenged deferred action programs continue

a longstanding practice of enforcement discretion regarding the Nation’s immigration laws.

Such discretion is conferred by statute, see 6 U.S.C. § 202(5); 8 U.S.C. § 1103(a)(3), and the

manner of its exercise through deferred action on removal has been endorsed by Congress, see,

e.g., 8 U.S.C. § 1227(d)(2). Thus, the deferred action programs are consistent with, rather than

contrary to, congressional policy. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

635 (1952) (Jackson, J. concurring).

         In addition, although the challenged deferred action programs represent a large class-

based program, such breadth does not push the programs over the line from the faithful execution

of the law to the unconstitutional rewriting of the law for the following reason: The programs



          While fully respectful of the concern animating this decision, which focused on the fairness of the
prosecution and guilty plea of the defendant for the crime of illegal reentry, this Court does not find the reasoning
persuasive for at least three reasons. First, most notably, the Pennsylvania court’s consideration of the
constitutionality of the DAPA program flies in the face of the “‘well-established principle governing the prudent
exercise of [a] [c]ourt’s jurisdiction that normally [a] [c]ourt will not decide a constitutional question if there is some
other ground upon which to dispose of the case.’” Northwest Austin Mun. Util. Dist. No. One v. Holder, 557 U.S.
193, 206 (2009) (quoting Escambia County v. McMillan, 466 U.S. 48, 51 (1984) (per curiam)); see also United
States v. Thomas, 572 F.3d 945, 952 (D.C. Cir. 2009) (Ginsburg J., concurring). Thus, the Pennsylvania court
appears to have put the proverbial “cart before the horse” since finding the defendant likely ineligible for the DAPA
program made consideration of the program’s constitutionality unnecessary. Second, the purported basis for the
Pennsylvania court’s consideration of the DAPA program was to avoid unwarranted sentencing disparities, as
required by 18 U.S.C. § 3553(a)(6). Yet, the DAPA program has no bearing on the sentence imposed by the
Pennsylvania court since, as the Supreme Court has made clear, “[r]emoval is a civil, not criminal, matter.” Arizona,
132 S. Ct. at 2499. To the extent that the Pennsylvania court was focused on the defendant’s likely deportation
following the imposition of the sentence, this collateral consequence could not result in an unwarranted disparity
since the defendant’s likely ineligibility for DAPA means that the defendant was not similarly situated to persons
who are eligible. Finally, even if the Pennsylvania court’s concern were correct that the defendant was subject to
potentially unequal enforcement of a criminal statute and faced prosecution in the Western District of Pennsylvania
when he was unlikely to face prosecution in other districts, such enforcement disparities are inherent in prosecutorial
discretion and have no bearing on the analysis under § 3553(a)(6), which requires consideration of sentence
disparities among similarly situated defendants convicted of the same offense in federal court, not enforcement
disparities. Accord United States v. Washington, 670 F.3d 1321, 1327 (D.C. Cir. 2012) (“U.S. Attorney's lawful
exercise of discretion in bringing a federal prosecution” rather than local prosecution, which may result in different
sentences, does not support a departure under § 3553(a)(6)); United States v. Clark, 8 F.3d 839, 842-843 (D.C. Cir.
1993)(“reject[ing] the claim that the [U.S.] government’s ‘arbitrary use’ of its discretion to indict defendants under
either federal or D.C. law could be a mitigating circumstance within the meaning of § 3553(b)” or was appropriate
to consider in exercise of district court’s authority to avoid unwarranted sentencing disparities under § 3553(a)(6)).

                                                           31
     CaseCase
          1:14-cv-00254   Document Document
               1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                  01/14/15  in TXSD
                                                        12/23/14     Page
                                                                  Page     3633
                                                                       32 of  of 114




still retain provisions for meaningful case-by-case review.13 See 2014 Guidance Memorandum at

4 (requiring that a DAPA applicant present “no other factors that, in the exercise of discretion,

make[] the grant of deferred action inappropriate”). This case-by-case decisionmaking

reinforces the conclusion that the challenged programs amount only to the valid exercise of

prosecutorial discretion and reflect the reality that “an agency decision not to enforce often

involves a complicated balancing of a number of factors which are peculiarly within its

expertise.” Heckler v. Chaney, 470 U.S. 821, 831 (1985).

         Finally, the challenged deferred action programs merely provide guidance to immigration

officials in the exercise of their official duties. This helps to ensure that the exercise of deferred

action is not arbitrary and capricious, as might be the case if the executive branch offered no

guidance to enforcement officials. It would make little sense for a Court to strike down as

arbitrary and capricious guidelines that help ensure that the Nation’s immigration enforcement is

not arbitrary but rather reflective of congressionally-directed priorities.14


13
   Statistics provided by the defendants reflect that such case-by-case review is in operation. As of December 5,
2014, 36,860 requests for deferred action under DACA were denied and another 42,632 applicants were rejected as
not eligible. Defs.’ Mem., Ex. 22 (USCIS, Current Statistics: Deferred Action for Childhood Arrivals: Pending,
Receipts, Rejected, Approvals, and Denials (2014)), ECF No. 13-22.
14
   The plaintiff makes three arguments in support of his motion for preliminary injunction based on the
constitutional principles underlying the separation of powers. First, the plaintiff argues that the implementation of
the challenged programs would use significantly all of the funds appropriated by Congress for immigration
enforcement thereby frustrating the will of Congress. See Hrg. Tr. at 16–17; Pl.’s Mot. at 20. This is not so. “[T]he
costs of administering the proposed program would be borne almost entirely by USCIS through the collection of
application fees.” OLC Opinion at 27; 2014 Guidance Memorandum at 5 (“Applicants will pay the work
authorization and biometrics fees, which currently amount to $465.”). Should Congress disagree with the
enforcement priorities set out by DHS in the challenged policies, Congress has the ability to appropriate funds solely
for removal and the President cannot refuse to expend funds appropriated by Congress. See Train v. City of New
York, 420 U.S. 35 (1975). Second, the plaintiff argues that the challenged deferred action programs violate INS v.
Chadha, 462 U.S. 919 (1983), because the programs amount to unlawful legislation and/or rulemaking. Pl.’s Mot.
at 20. This argument also misses the mark. Congress has delegated authority to DHS to establish priorities for the
enforcement of the nation’s immigration laws, see 6 U.S.C. 202(5), and, as Chadha recognizes, DHS is acting in an
Article II enforcement capacity when determining issues of deportation. See Chadha, 462 U.S. at 953 n.16. Third,
the plaintiff contends that the challenged deferred action programs violate the non-delegation doctrine. Pl.’s Mot. at
17. Yet, a finding of excessive delegation of authority is extremely rare, given the low threshold that legislation
must meet to overcome a non-delegation doctrine claim. See United States v. Ross, 778 F. Supp. 2d 13, 26 (D.D.C.
2011) (“[o]nly twice in [the Supreme Court’s] history, and not since 1935, has [it] invalidated a statute on the
ground of excessive delegation of legislative authority”) (citations and quotations omitted). The Supreme Court has

                                                         32
   CaseCase
        1:14-cv-00254   Document Document
             1:14-cv-01966-BAH   91-3 Filed23on Filed
                                                01/14/15  in TXSD
                                                      12/23/14     Page
                                                                Page     3733
                                                                     33 of  of 114




        Second, the plaintiff cannot demonstrate irreparable harm since the plaintiff waited two

years to challenge the DACA program and because any harm to the plaintiff is likely to occur

regardless of the challenged policies.

        Finally, both the public interest and the balance of the equities do not support a

preliminary injunction. Halting these deferred action programs would inhibit the ability of DHS

to focus on its statutorily proscribed enforcement priorities (national security, border security,

and public safety) and would upset the expectations of the DACA program’s participants and the

potentially eligible participants in the other challenged programs when none of those participants

are currently before this Court.

IV.     CONCLUSION

        For the foregoing reasons, the plaintiff’s motion for preliminary injunction is denied and

the defendant’s motion to dismiss for lack of subject matter jurisdiction is granted.

        An appropriate Order accompanies this Memorandum Opinion.


                                                                                  Digitally signed by Hon. Beryl A. Howell
                                                                                  DN: cn=Hon. Beryl A. Howell, o=U.S.

        Date: December 23, 2014                                                   District Court for the District of
                                                                                  Columbia, ou=United States District
                                                                                  Court Judge,
                                                                                  email=Howell_Chambers@dcd.uscourt
                                                                                  s.gov, c=US
                                                                                  Date: 2014.12.23 20:30:27 -05'00'
                                                              __________________________
                                                              BERYL A. HOWELL
                                                              United States District Judge




“‘almost never felt qualified to second-guess Congress regarding the permissible degree of policy judgment that can
be left to those executing or applying the law.’” Mich. Gambling Opposition v. Kempthorne, 525 F.3d 23, 30 (D.C.
Cir. 2008) (quoting Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 474-75 (2001)).

                                                        33
Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 38 of 114




                                   2
  Case Case
       1:14-cv-00254  Document 91-3
            2:10-cv-01061-SRB       Filed212
                               Document   on 01/14/15 in TXSDPage
                                              Filed 06/21/10  Page  392of 114
                                                                  1 of



                MINUTES OF THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ARIZONA

                         Friendly House, et al. v. Whiting, et al.

THE HONORABLE JOHN W. SEDWICK                            2:10-cv-1061 JWS

PROCEEDINGS:                ORDER FROM CHAMBERS                         June 21, 2010


       At docket 3, plaintiffs John Doe #1, Jane Doe #1 and Jane Doe #2 ask to
proceed under pseudonyms. No response has been filed, but not all defendants have
been served, and there are motions to intervene not yet decided. Nevertheless, given
the number of parties, the number of motions already filed, the potential for a torrent of
motions in the future, the nature of the motion, and the context of this litigation, the
court deems it desirable to address the motion now.
       John Doe #1 received political asylum as a result of persecution for opposing the
policies of the Chinese government. This is disclosed in the complaint. He works in a
Chinese restaurant and associates closely with others of Chinese ancestry. He fears
that if his identity is disclosed, his opposition to the policies would become known
resulting in loss of his job and exposure to harassment by other members of his
community who support the policies of the Chinese government. Jane Doe #1 is from
South Asia and is currently seeking asylum on grounds of religious persecution, facts
set out in the complaint. She was subjected to degrading treatment in South Asia and
fears disclosure of her identity would result in disclosure of her experiences in South
Asia to her detriment including abuse from her husband who has abused her in the
past. Jane Doe #2 is a family abuse victim living in transitional housing who fears,
among other things, that disclosure of her identity in this lawsuit would result in physical
abuse by persons who have abused her in the past.
       According to the Ninth Circuit a trial court evaluating whether a party may
proceed anonymously should consider five factors: (1) severity of threatened harm;
(2) reasonableness of fearing harm; (3) vulnerability to retaliation; (4) prejudice to
opposing parties; and (5) the public interest. Doe v. Kamehameha Schools/Bernice
Pauahi Bishop Estate, 596 F.3d 1036, 1042 (9th Cir. 2010). Here the threatened harm
  Case Case
       1:14-cv-00254  Document 91-3
            2:10-cv-01061-SRB       Filed212
                               Document   on 01/14/15 in TXSDPage
                                              Filed 06/21/10  Page  402of 114
                                                                  2 of



includes loss of employment and physical abuse; both are serious. The circumstances
disclosed in the supporting declarations show it is reasonable to fear the harm
threatened. Each of the Doe plaintiffs is in a vulnerable position. In a case involving a
score of named plaintiffs as well as three unnamed plaintiffs which does not seek
damages for specific plaintiffs but only common declaratory and injunctive relief, the
prejudice to defendants of allowing three individuals to proceed anonymously appears
insignificant, at least until such point as it might be determined that none of the named
parties has standing. Finally, while the public interest always weighs in favor of public
disclosure of litigant identities, it weighs less heavily here than in many cases because
of the large number of named plaintiffs and the fact that the nature of the unnamed
plaintiffs’ interest in the litigation is discernible without knowing their identities.
       The Ninth Circuit has said that striking an appropriate balance between a party’s
need to proceed anonymously and the strong interest in completely open judicial
proceedings may change during the course of litigation. Does I Thru XXIII v. Advanced
Textile Corp., 214 F.3d 1058, 1069 (9th Cir. 2000). At this very early stage, the court
finds the balance of relevant factors favors allowing the Doe plaintiffs to proceed
anonymously. If circumstances change any party may seek disclosure of the identities,
at which time the court might require the Doe plaintiffs to choose between continued
participation in the lawsuit and disclosure of their identities.
       The motion at docket 3 is GRANTED as follows: Pending any further order which
might require choosing between proceeding as an identified party and being dismissed,
John Doe #1, Jane Doe #1, and Jane Doe #2 may proceed anonymously.
                                       ________________
Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 41 of 114




                                   3
  Case Case
       1:14-cv-00254  Document 91-3
            1:11-cv-01804-TWT       Filed101
                               Document   on 01/14/15 in TXSD Page
                                              Filed 07/08/11   Page1 42
                                                                     of 1of 114




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 GEORGIA LATINO ALLIANCE
 FOR HUMAN RIGHTS, et al.,
    Plaintiffs,
       v.                                  CIVIL ACTION FILE
                                           NO. 1:11-CV-1804-TWT
 NATHAN DEAL
 Governor of the State of Georgia, in
 his official capacity, et al.,
    Defendants.


                                        ORDER


      This is a constitutional challenge to Georgia’s new immigration law. It is

before the Court on the Plaintiffs’ Motion for Leave to Proceed Under Pseudonyms

[Doc. 3]. No response to the motion has been filed and it is treated as unopposed

pursuant to Local Rule 7.1. The Plaintiffs’ Motion for Leave to Proceed Under

Pseudonyms [Doc. 3] is GRANTED.

      SO ORDERED, this 8 day of July, 2011.



                               /s/Thomas W. Thrash
                               THOMAS W. THRASH, JR.
                               United States District Judge
Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 43 of 114




                                   4
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 44 of 114

                                                                                                        Page 1
Not Reported in F.Supp.2d, 2011 WL 41902 (D.Neb.)
(Cite as: 2011 WL 41902 (D.Neb.))



                                                                   FN1
                                                          tiative       and adopted June 21, 2010 by the
Only the Westlaw citation is currently available.         voters of the City of Fremont. The city ordinance,
                                                          No. 5165, makes it unlawful for any person or busi-
            United States District Court,                 ness entity in Fremont to knowingly or recklessly
                    D. Nebraska.                          lease or rent property to an illegal alien unless ex-
  Fred H. KELLER, Jr., Juan Armenta, Juan Doe,            pressly permitted by federal law; requires tenants
      Juana Doe and Juana Doe # 2, Plaintiffs,            and occupants to obtain an occupancy license from
                         v.                               the Fremont Police Department prior to occupying
         CITY OF FREMONT, Defendant.                      any leased or rented dwelling unit; requires the Fre-
 Mario Martinez, Jr., Paula Mercado, Martin Mer-          mont Police Department to contact the federal gov-
 cado, Jane Doe, Maria Roe, Steven Dahl, ACLU             ernment to determine whether each potential occu-
 Nebraska Foundation, and United Food and Com-            pant is lawfully present in the country; and requires
   mercial Workers Union, Local 22, Plaintiffs,           all businesses in Fremont to register with the
                         v.                                                      FN2
                                                          “E–Verify Program.”           On July 27, 2010, the
 City Of Fremont; Dean F. Skokan, Jr., in his offi-       Fremont City Council passed a resolution suspend-
    cial capacity as Fremont City Attorney; and           ing the implementation and enforcement of Ordin-
Timothy Mullen, in his official capacity as Fremont       ance No. 5165 until 14 days after final decision is
            Chief of Police, Defendants.                  entered in these consolidated cases.

          Nos. 8:10–cv–0270–LSC–FG3,                              FN1. See Neb. Const. art. III, § 2, and
            4:10–cv–3140–LSC–FG3.                                 Neb.Rev.Stat. §§ 18–2501 through
                   Jan. 5, 2011.                                  18–2538.

Cynthia V. Dixon, Nicholas D. Espiritu, Mexican                   FN2. The content of the ordinance was dis-
American Legal Defense & Educational Fund, Los                    cussed in City of Fremont v. Kotas, 279
Angeles, CA, Shirley A. Mora James, Mora James                    Neb. 720, 781 N.W.2d 456 (2010) (holding
Law, Alan E. Peterson, Amy A. Miller, American                    that the city's substantive constitutional
Civil Liberties Union Foundation of Nebraska,                     challenges to the initiative were not justi-
Michelle L. Sitorius, Terry R. Wittler, Cline, Willi-             ciable before the initiative was approved
ams Law Firm, Lincoln, NE, Jennifer Chang                         by the voters).
Newell, Lucas E. Guttentag, American Civil Liber-
ties Union Foundation, San Francisco, CA, Michael              Plaintiffs Juan Doe, Juana Doe, Juana Doe # 2,
A. Nelsen, Marks, Clare Law Firm, Omaha, NE,              Jane Doe and Maria Roe challenge the constitution-
Tanaz Moghadam, American Civil Liberties Union            ality of the Fremont ordinance and seek leave of the
Foundation, New York, NY, for Plaintiffs.                 court to proceed under pseudonym in these cases.
                                                          The evidentiary materials necessary to support the
Garrett R. Roe, Washington, DC, Kris W. Kobach,           plaintiffs' motions, i.e., the movants' declarations
Kansas City, KS, for Defendant.                           and documents reflecting the language of the ordin-
                                                          ance, were filed in conjunction with their motions
                      ORDER                               for a preliminary injunction and temporary restrain-
                                                                      FN3
F.A. GOSSETT, III, United States Magistrate               ing order .
Judge.
                                                                  FN3. The court located the declarations of
    *1 At issue in these consolidated cases is the
                                                                  Juan Doe, Juana Doe and Juana Doe # 2 at-
legality of an ordinance placed on the ballot by ini-




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 45 of 114
                                                                          Page 2
Not Reported in F.Supp.2d, 2011 WL 41902 (D.Neb.)
(Cite as: 2011 WL 41902 (D.Neb.))




         tached as Exhibits D, E, and F to the             binding precedent on this issue, other federal courts
         “Plaintiffs' Memorandum of Law in Sup-            have identified several relevant factors. In essence,
         port of Their Motion for a Preliminary In-        “the court must ascertain whether the plaintiff, ‘has
         junction,” Filing # 8 in Case No.                 a substantial privacy right which outweighs the cus-
         8:10–cv–270. The declarations of Jane Doe         tomary constitutionally-embedded presumption of
         and Maria Roe were filed as Exhibits 5 and        openness in judicial proceedings.’ ” Roe v. St. Louis
         6 to the plaintiffs' Evidence Index, Filing #     University, 2009 WL 910738 at *3 (quoting Doe v.
         15, in Case No. 4:10–cv3140. The legisla-         Frank, 951 F.2d 320, 323 (11th Cir.1992)); Doe v.
         tion at issue appears in “Proposed Ordin-         Hartz, 52 F.Supp.2d 1027, 1047 (N.D.Iowa 1999).
         ance No. 5165,” which was attached as Ex-
         hibit A to the “Plaintiffs' Memorandum of              *2 In Lozano v. City of Hazleton, 496
         Law in Support of Their Motion for a Pre-         F.Supp.2d 477 (M.D.Pa.2007), vacated in part on
         liminary Injunction,” Filing # 8 in Case          other grounds, 620 F.3d 170 (3d Cir.2010), petition
         No. 8:10–cv–270, and filed as Exhibit A to        for cert. filed Dec. 8, 2010, the district court al-
         the “Declaration of Charlotte Silver Au-          lowed several plaintiffs to proceed anonymously in
         thenticating Government Records Regard-           a lawsuit challenging the validity of municipal or-
         ing Fremont Immigration Ordinance,” Fil-          dinances regulating the rental housing and employ-
         ing # 15–2 in Case No. 4: 10–cv–3140.             ment of undocumented aliens. The anonymous
                                                           plaintiffs in Lozano had “an uncertain immigration
     In general, the title of a civil complaint “must      status.” Lozano v. City of Hazleton, 496 F.Supp.2d
name all the parties,” Fed.R.Civ.P. 10(a), and there       at 505. In a thorough discussion of the case law, the
is a “strong presumption against allowing parties to       district court noted that other courts had articulated
use a pseudonym.” W.G.A. v. Priority Pharmacy,             factors weighing in favor and against the use of
Inc., 184 F.R.D. 616, 617 (E.D.Mo.1999) (citations         pseudonyms, including
omitted). This presumption reflects a First Amend-
ment interest in public proceedings, which is                “(1) the extent to which the identity of the litigant
furthered by identifying the parties to a lawsuit. See       has been kept confidential; (2) the bases upon
id.; see also Roe v. St. Louis University, 2009 WL           which disclosure is feared or sought to be
910738, Case No. 08–1474 (E.D.Mo. Apr. 2, 2009).             avoided, and the substantiality of these bases; (3)
                                                             the magnitude of the public interest in maintain-
     In summary, the movants wish to proceed un-             ing the confidentiality of the litigant's identity;
der fictitious names because they or members of              (4) whether, because of the purely legal nature of
their families cannot demonstrate their lawful pres-         the issues presented or otherwise, there is an
ence in the United States or are currently in immig-         atypically weak public interest in knowing the lit-
ration proceedings. The movants state that compli-           igant's identities; (5) the undesirability of an out-
ance with the ordinance would cause them to be               come adverse to the pseudonymous party and at-
evicted from their apartments and prevented from             tributable to his refusal to pursue the case at the
obtaining other housing in Fremont, deported from            price of being publicly identified; and (6) wheth-
the United States, and subjected to racial slurs, har-       er the party seeking to sue pseudonymously has
assment, and hate crimes.                                    illegitimate ulterior motives.” ... Factors against
                                                             use of pseudonyms are: “(1) the universal level of
     The decision whether to permit a plaintiff to           public interest in access to the identities of the lit-
proceed anonymously is within the court's discre-            igants; (2) whether, because of the subject matter
tion. W.G.A. v. Priority Pharmacy, Inc., 184 F.R.D.          of the litigation, the status of the litigant as a pub-
at 617; Heather K. v. City of Mallard, 887 F.Supp.           lic figure, or otherwise, there is a particularly
1249, 1255 (N.D.Iowa 1995). Although there is no




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 46 of 114
                                                                          Page 3
Not Reported in F.Supp.2d, 2011 WL 41902 (D.Neb.)
(Cite as: 2011 WL 41902 (D.Neb.))




  strong interest in knowing the litigant's identities,      at 511–12. Finally, the court explained that be-
  beyond the public's interest which is normally ob-         cause the Doe Plaintiffs' identity information was
  tained; and (3) whether the opposition to pseud-           not central to their claims, restricting Hazleton's
  onym by counsel, the public, or the press is ille-         access to that information would not be prejudi-
  gitimately motivated.”                                     cial. See id. at 513. We agree with each of these
                                                             conclusions, and think it clear that given the en-
      Lozano v. City of Hazleton, 496 F.Supp.2d at           vironment in Hazleton following enactment of
506 (citations omitted). The court also noted that           these ordinances, the court did not abuse its dis-
“federal courts have recognized that inquiries into          cretion in permitting the Doe Plaintiffs to proceed
immigration status can have an in terrorem, effect,          using pseudonyms.
limiting the willingness of plaintiffs to pursue their
rights out of fears of the consequences of an expos-           *3 The very same factors are present in these
ure of their position.” Id. at 513–14 (citing Topo v.      cases, and no party responded or objected to
Dhir, 210 F.R.D. 76, 78 (S.D.N.Y.2002); Zeng Liu           plaintiffs' motions for permission to proceed pseud-
v. Donna Karan International, Inc., 207 F.Supp.2d          onymously. In the absence of any objection, and
191, 193 (S.D.N.Y.2002)). The court's determina-           considering the factors discussed in Lozano v. City
tion that the plaintiffs should be permitted to pro-       of Hazleton, together with the movants' evidentiary
ceed pseudonymously was affirmed by the Third              submissions, I find that the plaintiffs' motions to
Circuit:                                                   proceed pseudonymously should be granted.
      In deciding whether to permit those Plaintiffs
   with concerns about the legality of their immigra-          IT IS ORDERED:
   tion status to proceed anonymously, the district
                                                               1. The motion of Juan Doe, Juana Doe and
   court ... identified nine separate factors courts
                                                           Juana Doe # 2 for leave to proceed under fictitious
   have used to decide whether anonymity is appro-
                                                           names (Doc. 6 in 8:10–cv–270) is granted, and the
   priate. See Lozano [v. City of Hazleton, 496
                                                           movants may proceed under fictitious names or an-
   F.Supp.2d 477, 506 (M.D.Pa.2007) ]. The court
                                                           onymously.
   then engaged in a thorough analysis of each of
   these factors, and concluded that the factors fa-           2. The motion of Jane Doe and Maria Roe for
   voring anonymity outweighed those favoring dis-         leave to proceed under pseudonym (Doc. 10 in
   closure. Specifically, the court found that ethnic      4:10–cv–3140) is granted, and the movants may
   tensions had escalated in Hazleton since enact-         proceed under fictitious names or anonymously.
   ment of the ordinances, and that the named
   Plaintiffs had been harassed and intimidated for             3. To the extent that any of the movants request
   their involvement in this litigation. See id. at        the entry of a protective order governing discovery,
   508–10. The court concluded that the Doe                the issue must be raised by separate motion.
   Plaintiffs, because of their unlawful status, would
   face an “exponentially greater” risk of harass-         D.Neb.,2011.
   ment, and even physical danger, if their identities     Keller v. City of Fremont
   were revealed. Id. at 510. The court also noted         Not Reported in F.Supp.2d, 2011 WL 41902
   that the litigation was in the public interest, and     (D.Neb.)
   reasoned that the Doe Plaintiffs, as well as pro-
                                                           END OF DOCUMENT
   spective litigants lacking lawful status, would be
   deterred from bringing cases clarifying constitu-
   tional rights, if doing so required alerting federal
   immigration authorities to their presence. See id.




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 47 of 114




                                   5
    Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 48 of 114
                                                                                                              Page 1




Positive
As of: Jan 14, 2015

                      SIERRA CLUB, Plaintiff, VS. FEDERAL EMERGENCY MANAGEMENT
                                          AGENCY, et al., Defendants.

                                         CIVIL ACTION NO. H-07-0608

                 UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                   TEXAS, HOUSTON DIVISION

                         2008 U.S. Dist. LEXIS 47405; 70 Fed. R. Serv. 3d (Callaghan) 1291


                                              June 11, 2008, Decided
                                               June 11, 2008, Filed

PRIOR HISTORY: Sierra Club v. FEMA, 2007 U.S.              alleging technical deficiencies in FEMA's analysis of
Dist. LEXIS 84230 (S.D. Tex., Nov. 14, 2007)               potential flooding in the affected watershed. FEMA
                                                           proceeded with its map with the knowledge that parts of
CASE SUMMARY:                                              it would likely be changed after the fact to correct
                                                           inaccuracies. The club sued, and the developer sought
                                                           intervention as of right. FEMA sought a stay until the
PROCEDURAL POSTURE: Plaintiff, a national                  county flood control district submitted a letter of map
nonprofit environmental club, filed suit under the         revision (LOMR). The court held that (1) the developer's
National Flood Insurance Act, 42 U.S.C.S. § 4104(g),       motion to intervene as of right was timely under Fed. R.
appealing a final flood elevation determination by         Civ. P. 24(a)(2), and (2) the developer's interests would
defendant Federal Emergency Management Agency              not be represented by either the club or by FEMA
(FEMA) for Harris County, Texas, and incorporated          because changes in the flood plain elevations would
areas. A landowner/private developer moved to intervene    require the developer to add fill to the affected areas at
under Fed. R. Civ. P. 24(a)(2), (b). FEMA moved to stay    great cost. The court deferred ruling on FEMA's motion
proceedings.                                               to stay because the county's LOMR had not been filed on
                                                           the promised date.
OVERVIEW: In 2004, FEMA published a preliminary
flood insurance study (FIS) proposing base flood           OUTCOME: The court granted the developer's motion
elevations for a watershed in northwest Harris County.     to intervene as a matter of right and deferred deciding
FEMA later raised the flood elevations on thousands of     FEMA's motion to stay pending further information as to
acres targeted for a community planned by the developer,   the status and content of the expected revised LOMR.
who had appealed the preliminary FIS pursuant to 42        The court ordered the parties to file by a date certain
U.S.C.S. § 4104(b). The environmental club protested,
     Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 49 of 114
                                                                                                                     Page 2
                          2008 U.S. Dist. LEXIS 47405, *; 70 Fed. R. Serv. 3d (Callaghan) 1291



written submissions stating whether the LOMR had been            Civil Procedure > Parties > Intervention > Permissive
submitted, the extent of its changes, and the impact of          Interventions
any filing on FEMA's motion to stay.                             [HN4] See Fed. R. Civ. P. 24(b)(1).

LexisNexis(R) Headnotes
                                                                 Civil Procedure > Parties > Intervention > Permissive
                                                                 Interventions
                                                                 [HN5] Permissive intervention under Fed. R. Civ. P.
                                                                 24(b)(1) is appropriate when (1) timely application is
Administrative Law > Agency Adjudication > Review of             made by an intervenor, (2) the intervenor's claim or
Initial Decisions                                                defense and the main action have a question of law or
Administrative Law > Judicial Review > Reviewability >           fact in common, and (3) intervention will not unduly
General Overview                                                 delay or prejudice the adjudication of the rights of the
Insurance Law > Property Insurance > Flood                       original parties. District courts should also consider
Insurance                                                        whether the existing parties adequately represent the
[HN1] Under the National Flood Insurance Act, any                proposed intervenor's interests and whether the
owner or lessee of real property within the community            intervenor's presence is likely to contribute significantly
who believes his property rights to be adversely affected        to the development of underlying factual issues.
by the Federal Emergency Management Agency's
(FEMA's) determination of projected flood elevations
may appeal the determination through an administrative           Civil Procedure > Parties > Intervention > Right to
review process. 42 U.S.C.S. § 4104(b). The application           Intervene
for administrative review must be filed within 90 days           [HN6] To determine timeliness under Fed. R. Civ. P.
after FEMA publishes the proposed flood elevation                24(a)(2), courts consider (1) the length of time during
determination. The application must challenge the                which a would-be intervenor actually knew or reasonably
scientific or technical basis for the determination. The         should have known of its interest in the case before it
Act provides for judicial review of final agency                 petitioned for leave to intervene; (2) the extent of the
determinations in the administrative review. Any                 prejudice that the existing parties to the litigation may
appellant aggrieved by any final determination of the            suffer as a result of the would-be intervenor's failure to
director upon administrative appeal, as provided by §            apply for intervention as soon as it knew or reasonably
4104(b), may appeal such determination to the United             should have known of its interest in the case; (3) the
States district court for the district within which the          extent of the prejudice that the would-be intervenor may
community is located not more than 60 days after receipt         suffer if intervention is denied; and (4) the existence of
of notice of such determination. § 4104(g).                      unusual circumstances militating either for or against a
                                                                 determination that the application is timely. The analysis
                                                                 is contextual; absolute measures of timeliness should be
Civil Procedure > Parties > Intervention > Right to              ignored. Courts have discretion to allow intervention
Intervene                                                        where no one would be hurt and greater justice could be
[HN2] See Fed. R. Civ. P. 24(a).                                 obtained.

Civil Procedure > Parties > Intervention > Right to              Civil Procedure > Parties > Intervention > Right to
Intervene                                                        Intervene
[HN3] Fed. R. Civ. P. 24(a)(2) has been interpreted to           [HN7] The U.S. Court of Appeals for the Fifth Circuit
require that (1) an intervention application be timely; (2)      has rejected the notion that the date on which a would-be
the applicant have an interest relating to the property that     intervenor became aware of the pendency of the action
is the subject of the action; (3) the applicant is so situated   should be used to determine whether it acted promptly
that the disposition may, as a practical matter, impair or       under Fed. R. Civ. P. 24(a)(2). A better gauge of
impede his ability to protect that interest; and (4) the         promptness is the speed with which the would-be
applicant's interest is inadequately represented by the          intervenor acted when it became aware that its interests
existing parties.                                                would no longer be protected by the original parties. The
     Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 50 of 114
                                                                                                                    Page 3
                         2008 U.S. Dist. LEXIS 47405, *; 70 Fed. R. Serv. 3d (Callaghan) 1291



first factor of the timeliness analysis focuses on the time     to stay. Generally, the moving party bears a heavy burden
lapse between the applicant's receipt of actual or              to show why a stay should be granted absent statutory
constructive knowledge of his interest in the litigation        authorization. To meet this burden, the moving party
and the filing of his motion for intervention. Filing a         should show that its motion is supported by genuine
motion to intervene before entry of judgment favors             necessity. A court should not decide a motion to stay
finding that the motion was timely.                             based on a party's speculative concerns.

                                                                COUNSEL: [*1] For Sierra Club, Plaintiff: James B
Civil Procedure > Parties > Intervention > Right to             Blackburn, Jr, LEAD ATTORNEY, Blackburn Carter
Intervene                                                       PC, Houston, TX; David Alfred Kahne, Attorney at Law,
[HN8] Timeliness for intervention under Fed. R. Civ. P.         Houston, TX.
24(a)(2) is not determined solely by the length of time
that passes before a motion to intervene is made. The           For Federal Emergency Management Agency, Director R
more important question is not the mere length of time          David Paulison, Regional Director William E. Peterson,
but the possibility of prejudice to existing parties that the   Defendants: Charmaine Michele Aarons Holder, LEAD
delay may cause. This consideration is to be evaluated          ATTORNEY, Office of the US Attorney, Houston, TX.
against the liberal treatment that is to be accorded
applications for intervention of right. Where there is no       For GGP Bridgeland L.P., Movant: Lewis Steven
prejudice to existing parties, courts have allowed              Wiener, LEAD ATTORNEY, Sutherland Asbill and
intervention after an applicant's extended delay in filing.     Brennan, Washington, DC; Craig Alan Olsen, Sutherland
                                                                Asbill & Brennan LLP, Houston, TX.

Civil Procedure > Parties > Intervention > Right to             R D Smith, President, CCFCC, Amicus, Pro se, Cypress,
Intervene                                                       Tx.
[HN9] Under Fed. R. Civ. P. 24(a)(2), the practical
impairment standard does not require a proposed                 JUDGES: Lee H. Rosenthal, United States District
intervenor to show that it will be bound by the disposition     Judge.
of the action. The ability of a party seeking intervention
to raise its concerns in future proceedings is not sufficient   OPINION BY: Lee H. Rosenthal
to ensure that the party is able to protect its interests
because the task of reestablishing the status quo in later      OPINION
proceedings can be difficult and burdensome.
Intervention is appropriate where a non-party faces
potential consequences in the interim period after entry of     MEMORANDUM AND ORDER
judgment. An intervenor's interest may also be practically
impaired by the stare decisis effect of the district court's         The Sierra Club, a national nonprofit environmental
judgment on subsequent proceedings.                             organization, filed this suit under Section 4104(g) of the
                                                                National Flood Insurance Act, 42 U.S.C. § 4104(g),
                                                                appealing a final flood elevation determination by the
Civil Procedure > Judicial Officers > Judges >                  Federal Emergency Management Agency (FEMA) for
Discretion                                                      Harris County, Texas and incorporated areas. (Docket
Evidence > Procedural Considerations > Burdens of               Entry No. 1). GGP Bridgleland L.P., a landowner and
Proof > General Overview                                        developer, has moved to intervene under Federal Rule of
Governments > Courts > Authority to Adjudicate                  Civil Procedure 24(a)(2) and (b). (Docket Entry No. 28).
[HN10] The power to stay proceedings is incidental to           The Sierra Club opposed the motion, (Docket [*2] Entry
the power inherent in every court to control the                No. 31), and GGP replied to the opposition, (Docket
disposition of the causes on its docket with economy of         Entry No. 37). FEMA filed a Statement of Qualified No
time and effort for itself, for counsel, and for litigants.     Opposition, (Docket Entry No. 36), in which it later
The power to stay calls for the exercise of judgment,           clarified to state that it opposed intervention as a matter
which must weigh competing interests and maintain an            of right but did not object to permissive intervention.
even balance. A court must not abuse its inherent power         (Docket Entry No. 38). GGP responded to FEMA's
     Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 51 of 114
                                                                                                                  Page 4
                        2008 U.S. Dist. LEXIS 47405, *2; 70 Fed. R. Serv. 3d (Callaghan) 1291



filings. (Docket Entry No. 39).                              appellant aggrieved by any final determination of the
                                                             Director upon administrative appeal, as provided by this
     FEMA has also moved to stay the proceedings,            section, may appeal such determination to the United
asserting that the Digital Flood Insurance Rate Map          States district court for the district within which the
("DFIRM") currently contested by the Sierra Club will        community is located not more than sixty days after
soon change when the Harris County Flood Control             receipt of notice of such determination." Id. at § 4104(g).
District ("HCFCD") submits a revised Letter of Map
Revision ("LOMR"). (Docket Entry No. 46). GGP                       1      The National Flood Insurance Act also
responded to the motion to stay. (Docket Entry Nos. 48,             authorizes suits against the government "upon the
52).                                                                disallowance by the Director of any [claims for
                                                                    the payment or adjustment of flood insurance
     Based on a careful review of the motions, responses,           claims]." 42 U.S.C. § 4072. This lawsuit does not
and replies, and the applicable law, this court grants              involve the denial of flood insurance claims.
GGP's motion to intervene as a matter of right and defers
deciding FEMA's motion to stay pending further                   GGP owns approximately 11,500 acres in the Upper
information as to the status and content of the expected     Cypress Creek area of northwest Harris County and is
revised LOMR. No later than July 10, 2008, the parties       developing a planned community to be known as
must file a written submission stating whether the LOMR      Bridgeland. (Docket Entry No. 28 at 2). GGP plans to
has been submitted, the extent of its changes, and the       develop Bridgeland over a twenty-year period. (Id.).
impact of any filing on the motion to stay.                  When completed, the development will include over
                                                             20,000 homes and have a population projected at more
    The reasons [*3] are explained in detail below.          than 65,000 residents. (Id.). Approximately 8,300 acres of
                                                             the Bridgeland development fall within [*5] the Upper
I. Background                                                Cypress Creek watershed area. (Id. at 2-3).
     On September 30, 2004, FEMA published a                      GGP appealed FEMA's preliminary DFIRM under
preliminary version of the Flood Insurance Study ("FIS")     the National Flood Insurance Act, 42. U.S.C. § 4104(b),
report, with the DFIRM, proposing base flood elevations      alleging that the map did not account for improvements
for Harris County. (Docket Entry No. 16 at 6; id., Ex. A     to Bridgeland that had raised the land elevation in certain
at 2). FEMA published the proposed base flood                areas. (Id. at 3). FEMA accepted the appeal and revised
elevations in the local general circulation daily            the flood plain to reflect elevation changes to GGP's
newspaper, the Houston Chronicle, on December 16,            property. (Id.). Although the final DFIRM increased the
2004 and December 23, 2004, and in the Federal Register      total area of Bridgeland falling within the flood plain,
on July 8, 2005. (Docket Entry No. 16 at 6; id., Ex. A at    GGP was satisfied with the revised map and was
2). The notices invited the public, including potentially    prepared to proceed with its development activities. (Id.).
affected landowners, to submit written comments on the
accuracy of the DFIRM. (Docket Entry No. 16 at 6; id.,            The Sierra Club and the Houston Voters Against
Ex. A at 2).                                                 Flooding ("HVAF") filed a formal administrative appeal
                                                             with FEMA on March 23, 2005, within the ninety-day
     [HN1] Under the National Flood Insurance Act, "any      period set by the Act. The Sierra Club and the HVAF
owner or lessee of real property within the community        protested the proposed base flood elevations in the part of
who believes his property rights to be adversely affected"   the map along the Cypress Creek watershed. (Docket
by FEMA's determination of projected flood elevations        Entry No. 1 at 8-10; Docket Entry No. 16 at 6-8; id., Ex.
"may appeal" the determination through an administrative     A at 3-4). In the application for administrative review, the
review process. 42 U.S.C. § 4104(b). 1 The application       Sierra Club and the HVAF asserted that there were
for administrative review must be filed within ninety days   technical deficiencies in FEMA's analysis and modeling
after FEMA publishes the proposed flood elevation            of the Cypress Creek watershed and that FEMA's base
determination. The application must challenge the            flood elevation [*6] determinations were premised on
scientific or technical [*4] basis for the determination.    flawed scientific and technical evidence. (Docket Entry
Id. The Act provides for judicial review of final agency     No. 1 at 8-10; Docket Entry No. 16 at 6-8; id., Ex. A at
determinations in the administrative review. "Any            2-4).
     Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 52 of 114
                                                                                                                        Page 5
                        2008 U.S. Dist. LEXIS 47405, *6; 70 Fed. R. Serv. 3d (Callaghan) 1291



     In the administrative appeal, FEMA found that the         parties; (2) its claims raise issues of law and fact identical
submitted data did not demonstrate that the proposed           to the issues currently pending before the court; and (3) it
flood elevations were scientifically or technically            is likely to contribute to the development of the factual
incorrect. (Docket Entry No. 16 at 8-9; id., Ex. A at 4-5).    issues. (Id.). The Sierra Club opposed GGP's motion to
FEMA also denied an appeal filed by the Cypress Creek          intervene. (Docket Entry No. 31).
Flood Control Coalition ("CCFCC"), which raised the
same objections. (Docket Entry No. 16 at 7; id., Ex. A at           On March 6, 2008, FEMA filed a Clarification and
3-5).                                                          Court Advisory objecting to the intervention and
                                                               suggesting that the court "hold all proceedings in this
     On January 3, 2006, the HCFCD sent a letter to            matter in abeyance pending final resolution of the
FEMA acknowledging a modeling problem with respect             LOMR, which would then be published in the Federal
to areas that were part of the DFIRM and stating that the      Register and would then be subject to administrative or
HCFCD would address the problem and provide new                judicial challenge by Sierra Club, GGP, or any other
data. (Docket Entry No. 16 at 10). Both the HCFCD and          eligible party." (Docket Entry No. 38 at 4). FEMA
the CCFCC agreed that even after the proposed FEMA             attached a letter from HCFCD dated February 11, 2008,
map and base flood elevation determinations became             stating that HCFCD was in the process of reevaluating
effective, changes could be made through an LOMR. An           the Upper Cypress Creek watershed and that its
LOMR could also change the determination that specific         "submittal should be ready by March 28, 2000." (Docket
pieces of property fell within the flood plain. (Docket        Entry No. 38, Ex. A). GGP's response stated that FEMA
Entry No. 16 at 4, 10).                                        had failed to meet the legal standards for a stay and had
                                                               improperly filed its request. (Docket [*9] Entry No. 39 at
     On December 18, 2006, FEMA issued a Letter of             5). On April 15, 2008, GGP notified the court that
Final Determination adopting the DFIRM issued for              HCFCD had not submitted its LOMR to FEMA as
Harris County, with an [*7] anticipated effective date of      anticipated on March 28, 2008. (Docket Entry No. 44).
June 18, 2007. (Docket Entry No. 16 at 11; id., Ex. A at
7). FEMA decided to proceed with the map with the                   FEMA now moves to stay this litigation pending
knowledge that parts of it would likely be changed after       final resolution of the HCFCD LOMR through its
the fact to correct inaccuracies. The HCFCD and CCFCC          administrative appeal process. (Docket Entry No. 46).
continued to work on the modeling problem, intending to        FEMA attached a letter from HCFCD dated April 18,
seek map revisions through an LOMR. (Docket Entry No.          2008, stating that the LOMR, "with any subsequent
16 at 10-11).                                                  changes, will be ready to submit to FEMA on or before
                                                               June 9, 2008." (Docket Entry No. 46, Ex. A). GGP
     The Sierra Club filed suit seeking judicial review of     argued that FEMA has not presented valid grounds for its
FEMA's final base flood elevations and DFIRM for the           motion, (Docket Entry No. 48), and that the original basis
Upper Cypress Creek watershed area. (Docket Entry No.          for the motion no longer exists because FEMA has filed
1). GGP moved to intervene under Federal Rule of Civil         an administrative record, (Docket Entry No. 52).
Procedure 24. (Docket Entry No. 28). GGP submitted the
affidavit of Joseph H. Necker, Jr., Vice President of              Both motions are analyzed below.
Development of Bridgeland GP, LLC, in support of its
intervention motion. (Docket Entry No. 28, Ex. A). GGP         II. The Motion to Intervene
asserted that it is entitled to intervention as a matter of
                                                               A. The Legal Standards
right because: (1) its application is timely; (2) it has a
significant property interest relating to the subject of the       Rule 24(a) provides:
action; (3) the action's disposition could impair or impede
GGP's ability to protect that interest; and (4) neither the               [HN2] On timely motion, the court must
Sierra Club nor FEMA adequately represent GGP's                        permit anyone to intervene who (1) is
interests. (Docket Entry No. 28 at 1). In the alternative,             given an unconditional right to intervene
[*8] GGP asserted that it satisfies the standard for                   by a federal statute; or (2) claims an
permissive intervention because: (1) its application is                interest relating to the property or
timely and will not result in prejudice to the existing                transaction that is the subject of the action,
     Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 53 of 114
                                                                                                                      Page 6
                         2008 U.S. Dist. LEXIS 47405, *9; 70 Fed. R. Serv. 3d (Callaghan) 1291



        and is so situated that disposing of the                 represent GGP's interests. (Docket Entry No. 28 at 1).
        action may as a practical matter impair or               The Sierra Club opposes intervention as a matter of right,
        impede the movant's ability to protect its               asserting that GGP's application is untimely and that
        interest, [*10] unless existing parties                  disposition of this action will not impair or impede GGP's
        adequately represent that interest.                      ability to protect its interests. (Docket Entry No. 31 at 7).
                                                                 Specifically, the Sierra Club argues that GGP had a
FED. R. CIV. P. 24(a). The courts have interpreted               two-year opportunity -- between January 2006 to January
[HN3] Rule 24(a)(2) to require that: (1) the intervention        2008 -- to participate in computer [*12] modeling work
application be timely; (2) the applicant have an interest        done by HCFCD, and that GGP will have the
relating to the property that is the subject of the action;      administrative option of appealing any changes to flood
(3) the applicant is so situated that the disposition may, as    elevation levels under 42 U.S.C. § 4104 and 44 C.F.R. §
a practical matter, impair or impede his ability to protect      67. (Docket Entry No. 31 at 5). FEMA opposes GGP's
that interest; and (4) the applicant's interest is               motion to intervene as a matter of right, agreeing with the
inadequately represented by the existing parties. See            Sierra Club that the result in this case will not impair or
Sierra Club v. City of San Antonio, 115 F.3d 311, 314            impede GGP's ability to protect its interest because it has
(5th Cir. 1997) (citing Sierra Club v. Glickman, 82 F.3d         these administrative review rights. (Docket Entry No. 38
106, 108 (5th Cir. 1996)).                                       at 1).

    Rule 24(b)(1) provides:                                           GGP argues that the timeliness analysis should focus
                                                                 on postcomplaint conduct. (Docket Entry No. 37 at 4-5).
          [HN4] On timely motion, the court may                  GGP also argues that the availability of posttrial
        permit anyone to intervene who: (A) is                   administrative options through which it could
        given a conditional right to intervene by a              theoretically challenge revised flood elevations is
        federal statute; or (B) has a claim or                   irrelevant in light of the practical impairment standard.
        defense that shares with the main action a               (Id.).
        common question of law or fact.
                                                                      [HN6] To determine timeliness under Rule 24(a)(2),
FED. R. CIV. P. 24(b). [HN5] Permissive intervention is          courts consider: "(1) [t]he length of time during which the
appropriate when: "(1) timely application is made by the         would-be intervenor actually knew or reasonably should
intervenor, (2) the intervenor's claim or defense and the        have known of its interest in the case before it petitioned
main action have a question of law or fact in common,            for leave to intervene; (2) the extent of the prejudice that
and (3) intervention will not unduly delay or prejudice          the existing parties to the litigation may suffer as a result
the adjudication of the rights [*11] of the original             of the would-be intervenor's failure to apply for
parties." League of United Latin Am. Citizens, Council           intervention as soon as [*13] it knew or reasonably
No. 4434 v. Clements, 884 F.2d 185, 189 n.2 (5th Cir.            should have known of its interest in the case; (3) the
1989). District courts should also consider whether the          extent of the prejudice that the would-be intervenor may
existing parties adequately represent the proposed               suffer if intervention is denied; and (4) the existence of
intervenor's interests and whether the intervenor's              unusual circumstances militating either for or against a
presence is likely to contribute significantly to the            determination that the application is timely." Sierra Club
development of underlying factual issues. Id. at 189.            v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994) (citing
                                                                 Stallworth v. Monsanto Co., 558 F.2d 257, 264-66 (5th
B. Analysis                                                      Cir. 1977)). "The analysis is contextual; absolute
                                                                 measures of timeliness should be ignored." Id. Courts
1. Intervention as a Matter of Right                             have discretion to allow intervention "where no one
                                                                 would be hurt and greater justice could be obtained." Id.
    GGP asserts that it is entitled to intervention as a         (quoting McDonald v. E.J. Lavino Co., 430 F.2d 1065,
matter of right because: (1) its application is timely; (2) it
                                                                 1074 (5th Cir. 1970)).
has a significant property interest relating to the subject
of the action; (3) the disposition of the action could                [HN7] The Fifth Circuit has "rejected the notion that
impair or impede its ability to protect that interest; and       the date on which the would-be intervenor became aware
(4) neither the Sierra Club nor FEMA adequately
     Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 54 of 114
                                                                                                                      Page 7
                        2008 U.S. Dist. LEXIS 47405, *13; 70 Fed. R. Serv. 3d (Callaghan) 1291



of the pendency of the action should be used to determine       neither knew nor should have known of its interest in this
whether it acted promptly." Espy, 18 F.3d at 1206;              litigation before the litigation was filed. GGP's motion to
Stallworth, 558 F.2d at 264. "A better gauge of                 intervene was timely, satisfying the first factor.
promptness is the speed with which the would-be
intervenor acted when it became aware that its interests             The parties do not dispute that GGP has significant
would no longer be protected by the original parties."          property interests relating to the subject of the action.
Espy, 18 F.3d at 1206. The first factor of the timeliness       (Docket Entry No. [*16] 31 at 5). The Sierra Club and
analysis "focuses [*14] on the time lapse between the           FEMA assert that this action's disposition will not impair
applicant's receipt of actual or constructive knowledge of      or impede GGP's ability to protect its interests because it
his interest in the litigation and the filing of his motion     may file an administrative appeal of any future flood
for intervention." Edwards v. City of Houston, 78 F.3d          plain elevation determinations under 42 U.S.C. § 4104
983, 1000 (5th Cir. 1996). Filing a motion to intervene         and 44 C.F.R. § 67. (Docket Entry No. 31 at 5; Docket
before entry of judgment favors finding that the motion         Entry No. 38 at 4). [HN9] The practical impairment
was timely. Id. at 1001 (citations omitted).                    standard does not require a proposed intervenor to show
                                                                that it will be bound by the disposition of the action.
     [HN8] "Timeliness is not determined solely by the          Edwards, 78 F.3d at 1004-05. The ability of a party
length of time that passes before a motion to intervene is      seeking intervention to raise its concerns in future
made." Ass'n of Prof'l Flght Attendants v. Gibbs, 804           proceedings is not sufficient to ensure that the party is
F.2d 318, 321 (5th Cir. 1986). "[T]he more important            able to protect its interests because "the task of
question is not the mere length of time but the possibility     reestablishing the status quo" in later proceedings can be
of prejudice to existing parties that the delay may cause.      "difficult and burdensome." Fund for Animals, Inc. v.
This consideration is to be evaluated against the liberal       Norton, 355 U.S. App. D.C. 268, 322 F.3d 728, 735 (D.C.
treatment that is to be accorded applications for               Cir. 2003) (finding that the ability to reverse an
intervention of right." Diaz v. S. Drilling Corp., 427 F.2d     unfavorable ruling by bringing a separate lawsuit did not
1118, 1126 (5th Cir. 1970). Where there is no prejudice         as a practical matter mean that a party seeking to
to existing parties, courts have allowed intervention after     intervene could protect its interests when its revenue
an applicant's extended delay in filing. See id. at 1125-26     losses during any interim period would be substantial and
(one-year delay not untimely where intervenor's timing          likely irreparable); see also Natural Res. Def. Council v.
caused no prejudice because "few legally significant            Costle, 183 U.S. App. D.C. 11, 561 F.2d 904, 910 (D.C.
events" had occurred).                                          Cir. 1977) [*17] ("[I]t is not enough to deny intervention
                                                                under 24(a)(2) because applicants may vindicate their
     The Sierra Club filed its complaint on [*15]               interests in some later, albeit more burdensome,
February 15, 2007. (Docket Entry No. 1). The court              litigation."). Courts have found intervention appropriate
denied FEMA's motion to dismiss and motion for                  where a nonparty faces potential consequences in the
summary judgment on October 29, 2007. (Docket Entry             interim period after entry of judgment. See, e.g., Fund for
No. 26). GGP moved to intervene on January 14, 2008.            Animals, Inc., 322 F.3d at 735 (holding that the
Although GGP waited eleven months to file its motion            possibility of substantial lost revenues during an interim
from the time it reasonably should have known of its            period warranted intervention). An intervenor's interest
interest in the case, its intervention at this stage will not   may also be practically "impaired by the stare decisis
cause prejudice to the Sierra Club or FEMA. See Diaz,           effect of the district court's judgment" on subsequent
427 F.2d at 1125-6. If denied intervention, GGP may             proceedings. Espy, 18 F.3d at 1207 (quoting Ceres Gulf
suffer prejudice because of its property interests relating     v. Cooper, 957 F.2d 1199, 1204 (5th Cir. 1992)).
to the subject of the action.
                                                                     Joseph Necker's affidavit states that the flood plain
     The Sierra Club asserts that the fact that GGP had a       elevation changes requested by the Sierra Club would
two-year opportunity to participate in HCFCD's computer         require GGP to locate and move more than 5.5 million
modeling is an unusual circumstance weighing against            cubic yards of fill to the affected areas, at a cost estimated
finding that the intervention motion was timely. (Docket        at $ 28 million. (Docket Entry No. 28, Ex. A, P11).
Entry No. 31 at 5). The period before the litigation is not     Regardless of the availability of an administrative appeal,
relevant to the timeliness of the motion to intervene; GGP      the results of this case may adversely GGP's interests in
     Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 55 of 114
                                                                                                                      Page 8
                         2008 U.S. Dist. LEXIS 47405, *17; 70 Fed. R. Serv. 3d (Callaghan) 1291



the interim. See Fund for Animals, Inc., 322 F.3d at 735.         party bears a heavy burden to show why a stay should be
The disposition of this case may also affect GGP's ability        granted absent statutory authorization." Id. To meet this
[*18] to protect its interests in subsequent administrative       burden, the moving party should show that its motion is
proceedings. See Espy, 18 F.3d at 1207. The potential for         supported by "genuine necessity." Id. A court should not
such effects on GGP's interests supports granting                 [*20] decide a motion to stay based on a party's
intervention as a matter of right.                                speculative concerns. See, e.g., Provencio v. Vazquez, No.
                                                                  07-CV-0069-AWI-TAG, 2007 U.S. Dist. LEXIS 40380,
     The Sierra Club and FEMA do not suggest that they            2007 WL 1614827, at *2-4 (E.D. Cal. June 4, 2007)
adequately represent GGP's interests in this action. The          (recommending that defendant's motion to stay be
Sierra Club's position is directly opposed to that of GGP,        granted where plaintiff raised only speculative concerns
while FEMA is a government agency representing the                in opposition); Crosetto v. Heffernan, No. 88-C-433,
public interest. (Docket Entry No. 28 at 13). GGP's               1990 U.S. Dist. LEXIS 3053, 1990 WL 32310, at *2 (N.D.
unique position as the owner and developer of Bridgeland          Ill. February 22, 1990) (granting defendant's motion to
satisfies the fourth prong of the intervention inquiry. All       stay where defendant raised issues based on "more than
four factors supporting intervention as a matter of right         mere speculation").
are satisfied; GGP is entitled to intervene.
                                                                  B. Analysis
     Even if GGP was not entitled to intervene as a matter
of right, permissive intervention would be warranted. As               FEMA moves for a stay of eight months after
discussed above, GGP's motion was timely. The Sierra              HCFCD's submission of a complete LOMR and/or until
Club and FEMA do not suggest that GGP's intervention              the LOMR issues are finally resolved. (Docket Entry No.
will prejudice the adjudication of their rights. Nor do the       46 at 8). FEMA points to HCFCD's February 1, 2008
Sierra Club or FEMA claim to represent GGP's interests.           letter to show that the not-yet-submitted LOMR will
Because GGP's property falls within the Upper Cypress             contain "a better calibration" of high water mark and flow
Creek watershed area, GGP will raise issues of law and            data for the Upper Cypress Creek watershed. (Docket
fact consistent with those presently before the court. As a       Entry No. 46 at 6; Docket Entry No. 38, Ex. A). FEMA
private land developer, [*19] GGP occupies a different            asserts that "[i]t would be a waste of resources for all
position and has different interests than the Sierra Club         parties to litigate Sierra Club's claim on the current
and FEMA. GGP is in a position to provide evidence of             DFIRM that will most likely be changed," particularly
the impact of modified flood elevation levels on private          because future issues can be resolved through its
land development in the area, evidence that neither the           administrative appeal process. (Docket Entry No. 46 at
Sierra Club nor FEMA have an incentive or even ability            5-6).
to develop or submit.
                                                                      GGP responds [*21] that FEMA has not
    GGP's intervention motion is granted.                         demonstrated a genuine necessity for a stay and that it is
                                                                  unnecessary because FEMA has already filed its
III. The Motion to Stay                                           administrative record. (Docket Entry No. 48 at 4-5;
                                                                  Docket Entry No. 52). GGP also argues that the motion
A. The Legal Standard                                             "is based purely on speculation" about the timing and
                                                                  results of HCFCD's pending LOMR. (Docket Entry No.
     [HN10] "[T]he power to stay proceedings is
                                                                  48 at 4-5). GGP objects to the length of the stay requested
incidental to the power inherent in every court to control
                                                                  and asserts that the results of any later possible
the disposition of the causes on its docket with economy
                                                                  administrative action are irrelevant to the issue of
of time and effort for itself, for counsel, and for litigants."
                                                                  whether the current action should be stayed. (Id. at 6).
Landis v. N. Am. Co., 299 U.S. 248, 254, 57 S. Ct. 163,
81 L. Ed. 153 (1936). The power to stay "calls for the                 HCFCD did not submit a revised LOMR to FEMA
exercise of judgment, which must weigh competing                  as anticipated on March 28, 2008. (Docket Entry No. 44).
interests and maintain an even balance." Id. at 254-55. A         HCFCD now expects to submit the LOMR near June 9,
court must not abuse its inherent power to stay. Coastal          2008. (Docket Entry No. 46, Ex. A). The results are
(Bermuda) Ltd. v. E.W. Saybolt & Co., Inc., 761 F.2d              unknown. Decision on the motion to stay is deferred. No
198, 204 n.6 (5th Cir. 1985). "Generally, the moving              later than July 10, 2008, the parties must file a written
    Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 56 of 114
                                                                                                         Page 9
                      2008 U.S. Dist. LEXIS 47405, *21; 70 Fed. R. Serv. 3d (Callaghan) 1291



submission stating whether the LOMR has been               LOMR.
submitted, the extent of its changes, and the impact of
any filing on the motion to stay.                              SIGNED on June 11, [*22] 2008, at Houston, Texas.

IV. Conclusion                                                 /s/ Lee H. Rosenthal

     GGP's motion to intervene as a matter of right is         Lee H. Rosenthal
granted. FEMA's motion to stay is deferred, subject to
                                                               United States District Judge
reviewing the parties' submissions on the expected
Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 57 of 114




                                   6
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 58 of 114

PL 111-83, October 28, 2009, 123 Stat 2142                                                                 Page 1




                                      UNITED STATES PUBLIC LAWS
                                        111th Congress - First Session
                                         Convening January 04, 2009

                           Additions and Deletions are not identified in this database.
                           Vetoed provisions within tabular material are not displayed
                                         Vetoes are indicated by Text ;
                                          stricken material by Text .

                                   PL 111–83 [HR 2892]
                                     October 28, 2009
                DEPARTMENT OF HOMELAND SECURITY APPROPRIATIONS ACT, 2010

An Act Making appropriations for the Department of Homeland Security for the fiscal year ending September
30, 2010, and for other purposes.

it enacted by the Senate and House of Representatives of the United States of America in Congress assembled
That the following sums are appropriated, out of any money in the Treasury not otherwise appropriated, for the
   Department of Homeland Security for the fiscal year ending September 30, 2010, and for other purposes,
                                                   namely:

                                                    TITLE I

                          DEPARTMENTAL MANAGEMENT AND OPERATIONS

                               Office of the Secretary and Executive Management

Necessary expenses of the Office of the Secretary of Homeland Security, as authorized by section 102 of the
Homeland Security Act of 2002 (6 U.S.C. 112), and executive management of the Department of Homeland Se-
curity, as authorized by law, $147,818,000: Provided, That not to exceed $60,000 shall be for official reception
and representation expenses, of which $20,000 shall be made available to the Office of Policy solely to host
Visa Waiver Program negotiations in Washington, DC: Provided further, That $15,000,000 shall not be avail-
able for obligation for the Office of Policy until the Secretary submits an expenditure plan for the Office of
Policy for fiscal year 2010: Provided further, That all official costs associated with the use of government air-
craft by Department of Homeland Security personnel to support official travel of the Secretary and the Deputy
Secretary shall be paid from amounts made available for the Immediate Office of the Secretary and the Immedi-
ate Office of the Deputy Secretary.

                                 Office of the Under Secretary for Management

For necessary expenses of the Office of the Under Secretary for Management, as authorized by sections 701
through 705 of the Homeland Security Act of 2002 (6 U.S.C. 341 through 345), $254,190,000, of which not less
than $1,000,000 shall be for logistics training; and of which not to exceed $3,000 shall be for official reception
and representation expenses: Provided, That of the total amount made available under this heading, $5,500,000




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 59 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                                Page 2




shall remain available until expended solely for the alteration and improvement of facilities, tenant improve-
ments, and relocation costs to consolidate Department headquarters operations at the Nebraska Avenue *2143
Complex; and $17,131,000 shall remain available until expended for the Human Resources Information Techno-
logy program.

                                      Office of the Chief Financial Officer

For necessary expenses of the Office of the Chief Financial Officer, as authorized by section 103 of the Home-
land Security Act of 2002 (6 U.S.C. 113), $60,530,000, of which $11,000,000 shall remain available until ex-
pended for financial systems consolidation efforts: Provided, That of the total amount made available under this
heading, $5,000,000 shall not be obligated until the Chief Financial Officer or an individual acting in such capa-
city submits a financial management improvement plan that addresses the recommendations outlined in the De-
partment of Homeland Security Office of Inspector General report OIG–09–72, including yearly measurable
milestones, to the Committees on Appropriations of the Senate and the House of Representatives: Provided fur-
ther, That the plan described in the preceding proviso shall be submitted not later than January 4, 2010.

                                     Office of the Chief Information Officer

For necessary expenses of the Office of the Chief Information Officer, as authorized by section 103 of the
Homeland Security Act of 2002 (6 U.S.C. 113), and Department-wide technology investments, $338,393,000; of
which $86,912,000 shall be available for salaries and expenses; and of which $251,481,000, to remain available
until expended, shall be available for development and acquisition of information technology equipment, soft-
ware, services, and related activities for the Department of Homeland Security: Provided, That of the total
amount appropriated, not less than $82,788,000 shall be available for data center development, of which not less
than $38,540,145 shall be available for power capabilities upgrades at Data Center One (National Center for
Critical Information Processing and Storage): Provided further, That the Chief Information Officer shall submit
to the Committees on Appropriations of the Senate and the House of Representatives, not more than 60 days
after the date of enactment of this Act, an expenditure plan for all information technology acquisition projects
that: (1) are funded under this heading; or (2) are funded by multiple components of the Department of Home-
land Security through reimbursable agreements: Provided further, That such expenditure plan shall include each
specific project funded, key milestones, all funding sources for each project, details of annual and lifecycle
costs, and projected cost savings or cost avoidance to be achieved by the project.

                                             Analysis and Operations

For necessary expenses for intelligence analysis and operations coordination activities, as authorized by title II
of the Homeland Security Act of 2002 (6 U.S.C. 121 et seq.), $335,030,000, of which not to exceed $5,000 shall
be for official reception and representation expenses; and of which $190,862,000 shall remain available until
September 30, 2011: Provided, That none of the funds provided in this or any other Act shall be available to
commence operations of the National Immigration Information Sharing Operation or any follow-on entity until
the Secretary certifies that such program *2144 complies with all existing laws, including all applicable privacy
and civil liberties standards, the Comptroller General of the United States notifies the Committees on Appropri-
ations of the Senate and the House of Representatives and the Secretary that the Comptroller has reviewed such
certification, and the Secretary notifies the Committees on Appropriations of the Senate and the House of Rep-
resentatives of all funds to be expended on operations of the National Immigration Information Sharing Opera-
tion or any follow-on entity pursuant to section 503 of this Act.




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 60 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                                Page 3




                          Office of the Federal Coordinator for Gulf Coast Rebuilding

For necessary expenses of the Office of the Federal Coordinator for Gulf Coast Rebuilding, $2,000,000.

                                           Office of Inspector General

For necessary expenses of the Office of Inspector General in carrying out the provisions of the Inspector General
Act of 1978 (5 U.S.C. App.), $113,874,000, of which not to exceed $150,000 may be used for certain confiden-
tial operational expenses, including the payment of informants, to be expended at the direction of the Inspector
General.

                                                    TITLE II

                           SECURITY, ENFORCEMENT, AND INVESTIGATIONS

                                      U.S. Customs and Border Protection

                                         SALARIES AND EXPENSES

For necessary expenses for enforcement of laws relating to border security, immigration, customs, agricultural
inspections and regulatory activities related to plant and animal imports, and transportation of unaccompanied
minor aliens; purchase and lease of up to 4,500 (4,000 for replacement only) police-type vehicles; and contract-
ing with individuals for personal services abroad; $8,064,713,000, of which $3,226,000 shall be derived from
the Harbor Maintenance Trust Fund for administrative expenses related to the collection of the Harbor Mainten-
ance Fee pursuant to section 9505(c)(3) of the Internal Revenue Code of 1986 (26 U.S.C. 9505(c)(3)) and not-
withstanding section 1511(e)(1) of the Homeland Security Act of 2002 (6 U.S.C. 551(e)(1)); of which not to ex-
ceed $45,000 shall be for official reception and representation expenses; of which not less than $309,629,000
shall be for Air and Marine Operations; of which such sums as become available in the Customs User Fee Ac-
count, except sums subject to section 13031(f)(3) of the Consolidated Omnibus Budget Reconciliation Act of
1985 (19 U.S.C. 58c(f)(3)), shall be derived from that account; of which not to exceed $150,000 shall be avail-
able for payment for rental space in connection with preclearance operations; of which not to exceed $1,000,000
shall be for awards of compensation to informants, to be accounted for solely under the certificate of the Secret-
ary of Homeland Security; and of which not more than $800,000 shall be for procurement of portable solar char-
ging rechargeable battery systems: Provided, That for fiscal year 2010, *2145 the overtime limitation prescribed
in section 5(c)(1) of the Act of February 13, 1911 (19 U.S.C. 267(c)(1)) shall be $35,000; and notwithstanding
any other provision of law, none of the funds appropriated by this Act may be available to compensate any em-
ployee of U.S. Customs and Border Protection for overtime, from whatever source, in an amount that exceeds
such limitation, except in individual cases determined by the Secretary of Homeland Security, or the designee of
the Secretary, to be necessary for national security purposes, to prevent excessive costs, or in cases of immigra-
tion emergencies: Provided further, That of the total amount provided, $1,700,000 shall remain available until
September 30, 2011, for the Global Advanced Passenger Information/Passenger Name Record Program.

                                     AUTOMATION MODERNIZATION

For expenses for U.S. Customs and Border Protection automated systems, $422,445,000, to remain available un-
til expended, of which not less than $227,960,000 shall be for the development of the Automated Commercial
Environment: Provided, That of the total amount made available under this heading, $50,000,000 may not be




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 61 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                                Page 4




obligated for the Automated Commercial Environment program until 30 days after the Committees on Appropri-
ations of the Senate and the House of Representatives receive a report on the results to date and plans for the
program from the Department of Homeland Security.

                BORDER SECURITY FENCING, INFRASTRUCTURE, AND TECHNOLOGY

For expenses for border security fencing, infrastructure, and technology, $800,000,000, to remain available until
expended: Provided, That of the total amount made available under this heading, $75,000,000 shall not be oblig-
ated until the Committees on Appropriations of the Senate and the House of Representatives receive and ap-
prove a plan for expenditure, prepared by the Secretary of Homeland Security, reviewed by the Government Ac-
countability Office, and submitted not later than 90 days after the date of the enactment of this Act, for a pro-
gram to establish and maintain a security barrier along the borders of the United States, of fencing and vehicle
barriers where practicable, and of other forms of tactical infrastructure and technology, that includes--

    (1) a detailed accounting of the program's implementation to date for all investments, including technology
and tactical infrastructure, for funding already expended relative to system capabilities or services, system per-
formance levels, mission benefits and outcomes, milestones, cost targets, program management capabilities,
identification of the maximum investment, including life-cycle costs, related to the Secure Border Initiative pro-
gram or any successor program, and description of the methodology used to obtain these cost figures;

    (2) a description of how specific projects will further the objectives of the Secure Border Initiative, as
defined in the Department of Homeland Security Secure Border Plan, and how the expenditure plan allocates
funding to the highest priority border security needs;

     (3) an explicit plan of action defining how all funds are to be obligated to meet future program commit-
ments, with the planned expenditure of funds linked to the milestone-based *2146 delivery of specific capabilit-
ies, services, performance levels, mission benefits and outcomes, and program management capabilities;

     (4) an identification of staffing, including full-time equivalents, contractors, and detailees, by program of-
fice;

    (5) a description of how the plan addresses security needs at the Northern border and ports of entry, includ-
ing infrastructure, technology, design and operations requirements, specific locations where funding would be
used, and priorities for Northern border activities;

    (6) a report on budget, obligations and expenditures, the activities completed, and the progress made by the
program in terms of obtaining operational control of the entire border of the United States;

    (7) a listing of all open Government Accountability Office and Office of Inspector General recommenda-
tions related to the program and the status of Department of Homeland Security actions to address the recom-
mendations, including milestones to fully address such recommendations;

     (8) a certification by the Chief Procurement Officer of the Department including all supporting documents
or memoranda, and documentation and a description of the investment review processes used to obtain such cer-
tifications, that--

         (A) the program has been reviewed and approved in accordance with the investment management pro-
cess of the Department, and that the process fulfills all capital planning and investment control requirements and




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 62 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                                Page 5




reviews established by the Office of Management and Budget, including as provided in Circular A–11, part 7;

         (B) the plans for the program comply with the Federal acquisition rules, requirements, guidelines, and
practices, and a description of the actions being taken to address areas of non-compliance, the risks associated
with such actions, together with any plans for addressing these risks, and the status of the implementation of
such actions; and

         (C) procedures to prevent conflicts of interest between the prime integrator and major subcontractors
are established and that the Secure Border Initiative Program Office has adequate staff and resources to effect-
ively manage the Secure Border Initiative program and all contracts under such program, including the exercise
of technical oversight;

     (9) a certification by the Chief Information Officer of the Department including all supporting documents or
memoranda, and documentation and a description of the investment review processes used to obtain such certi-
fications that--

          (A) the system architecture of the program has been determined to be sufficiently aligned with the in-
formation systems enterprise architecture of the Department to minimize future rework, including a description
of all aspects of the architectures that were or were not assessed in making the alignment determination, the date
of the alignment determination, and any known areas of misalignment together with the associated risks and cor-
rective actions to address any such areas;

          (B) the program has a risk management process that regularly and proactively identifies, evaluates, mit-
igates, *2147 and monitors risks throughout the system life-cycle and communicates high-risk conditions to U.S.
Customs and Border Protection and Department of Homeland Security investment decision-makers, as well as a
listing of all the program's high risks and the status of efforts to address such risks; and

         (C) an independent verification and validation agent is currently under contract for the projects funded
under this heading;

    (10) a certification by the Chief Human Capital Officer of the Department that the human capital needs of
the Secure Border Initiative program are being addressed so as to ensure adequate staff and resources to effect-
ively manage the Secure Border Initiative; and

     (11) an analysis by the Secretary for each segment, defined as not more than 15 miles, of fencing or tactical
infrastructure, of the selected approach compared to other, alternative means of achieving operational control,
including cost, level of operational control, possible unintended effects on communities, and other factors critic-
al to the decisionmaking process:

Provided further, That the Secretary shall report to the Committees on Appropriations of the Senate and the
House of Representatives on the progress of the program, and obligations and expenditures for all outstanding
task orders, as well as specific objectives to be achieved through the award of current and remaining task orders
planned for the balance of available appropriations, at least 15 days before the award of any task order requiring
an obligation of funds in an amount greater than $25,000,000 and before the award of a task order that would
cause cumulative obligations of funds to exceed 50 percent of the total amount appropriated: Provided further,
That none of the funds made available under this heading may be obligated unless the Department has complied
with section 102(b)(1)(C)(i) of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (8




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 63 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                                Page 6




U.S.C. 1103 note), and the Secretary certifies such to the Committees on Appropriations of the Senate and the
House of Representatives: Provided further, That none of the funds made available under this heading may be
obligated for any project or activity for which the Secretary has exercised waiver authority pursuant to section
102(c) of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (8 U.S.C. 1103 note) until
15 days have elapsed from the date of the publication of the decision in the Federal Register.

      AIR AND MARINE INTERDICTION, OPERATIONS, MAINTENANCE, AND PROCUREMENT

For necessary expenses for the operations, maintenance, and procurement of marine vessels, aircraft, unmanned
aircraft systems, and other related equipment of the air and marine program, including operational training and
mission-related travel, and rental payments for facilities occupied by the air or marine interdiction and demand
reduction programs, the operations of which include the following: the interdiction of narcotics and other goods;
the provision of support to Federal, State, and local agencies in the enforcement or administration of laws en-
forced by the Department of Homeland Security; and at the discretion of the Secretary of Homeland Security,
the provision of assistance to Federal, State, *2148 and local agencies in other law enforcement and emergency
humanitarian efforts, $519,826,000, to remain available until expended: Provided, That no aircraft or other re-
lated equipment, with the exception of aircraft that are one of a kind and have been identified as excess to U.S.
Customs and Border Protection requirements and aircraft that have been damaged beyond repair, shall be trans-
ferred to any other Federal agency, department, or office outside of the Department of Homeland Security dur-
ing fiscal year 2010 without the prior approval of the Committees on Appropriations of the Senate and the
House of Representatives.

                            CONSTRUCTION AND FACILITIES MANAGEMENT

                                          << 6 USCA § 214 NOTE >>

For necessary expenses to plan, construct, renovate, equip, and maintain buildings and facilities necessary for
the administration and enforcement of the laws relating to customs, immigration, and border security,
$319,570,000, to remain available until expended; of which $39,700,000 shall be for constructing and equipping
the Advanced Training Center; and of which not more than $3,500,000 shall be for acquisition, design, and con-
struction of U.S. Customs and Border Protection Air and Marine facilities at El Paso International Airport,
Texas: Provided, That for fiscal year 2011 and thereafter, the annual budget submission of U.S. Customs and
Border Protection for “Construction and Facilities Management” shall, in consultation with the General Services
Administration, include a detailed 5–year plan for all Federal land border port of entry projects with a yearly up-
date of total projected future funding needs delineated by land port of entry.

                                  U.S. Immigration and Customs Enforcement

                                         SALARIES AND EXPENSES

For necessary expenses for enforcement of immigration and customs laws, detention and removals, and investig-
ations; and purchase and lease of up to 3,790 (2,350 for replacement only) police-type vehicles; $5,342,134,000,
of which not to exceed $7,500,000 shall be available until expended for conducting special operations under sec-
tion 3131 of the Customs Enforcement Act of 1986 (19 U.S.C. 2081); of which not to exceed $15,000 shall be
for official reception and representation expenses; of which not to exceed $1,000,000 shall be for awards of
compensation to informants, to be accounted for solely under the certificate of the Secretary of Homeland Secur-
ity; of which not less than $305,000 shall be for promotion of public awareness of the child pornography tipline




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 64 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                                Page 7




and anti-child exploitation activities; of which not less than $5,400,000 shall be used to facilitate agreements
consistent with section 287(g) of the Immigration and Nationality Act (8 U.S.C. 1357(g)); and of which not to
exceed $11,216,000 shall be available to fund or reimburse other Federal agencies for the costs associated with
the care, maintenance, and repatriation of smuggled aliens unlawfully present in the United States: Provided,
That none of the funds made available under this heading shall be available to compensate any employee for
overtime in an annual amount in excess of $35,000, except that the Secretary, or the designee of the Secretary,
may waive that amount as necessary for national security purposes and in cases of immigration emergencies:
Provided further, That of the total amount provided, $15,770,000 shall *2149 be for activities in fiscal year 2010
to enforce laws against forced child labor, of which not to exceed $6,000,000 shall remain available until expen-
ded: Provided further, That of the total amount available, not less than $1,500,000,000 shall be available to
identify aliens convicted of a crime who may be deportable, and to remove them from the United States once
they are judged deportable, of which $200,000,000 shall remain available until September 30, 2011: Provided
further, That the Secretary, or the designee of the Secretary, shall report to the Committees on Appropriations of
the Senate and the House of Representatives, not later than 45 days after the end of each quarter of the fiscal
year, on progress in implementing the preceding proviso and the funds obligated during that quarter to make that
progress: Provided further, That the Secretary shall prioritize the identification and removal of aliens convicted
of a crime by the severity of that crime: Provided further, That funding made available under this heading shall
maintain a level of not less than 33,400 detention beds through September 30, 2010: Provided further, That of
the total amount provided, not less than $2,545,180,000 is for detention and removal operations, including trans-
portation of unaccompanied minor aliens: Provided further, That of the total amount provided, $7,300,000 shall
remain available until September 30, 2011, for the Visa Security Program: Provided further, That none of the
funds provided under this heading may be used to continue a delegation of law enforcement authority authorized
under section 287(g) of the Immigration and Nationality Act (8 U.S.C. 1357(g)) if the Department of Homeland
Security Inspector General determines that the terms of the agreement governing the delegation of authority
have been violated: Provided further, That none of the funds provided under this heading may be used to contin-
ue any contract for the provision of detention services if the two most recent overall performance evaluations re-
ceived by the contracted facility are less than “adequate” or the equivalent median score in any subsequent per-
formance evaluation system: Provided further, That nothing under this heading shall prevent U.S. Immigation
and Customs Enforcement from exercising those authorities provided under immigration laws (as defined in sec-
tion 101(a)(17) of the Immigration and Nationality Act (8 U.S.C. 1101(a)(17))) during priority operations per-
taining to aliens convicted of a crime: Provided further, That none of the funds provided under this heading may
be obligated to collocate field offices of U.S. Immigration and Customs Enforcement until the Secretary of
Homeland Security submits to the Committees on Appropriations of the Senate and the House of Representat-
ives a plan for the nationwide implementation of the Alternatives to Detention Program that identifies: (1) the
funds required for nationwide program implementation; (2) the timeframe for achieving nationwide program im-
plementation; and (3) an estimate of the number of individuals who could be enrolled in a nationwide program.

                                     AUTOMATION MODERNIZATION

                                    (INCLUDING TRANSFER OF FUNDS)

For expenses of immigration and customs enforcement automated systems, $90,000,000, to remain available un-
til expended: Provided, That of the funds made available under this heading, *2150 $10,000,000 shall not be ob-
ligated until the Committees on Appropriations of the Senate and the House of Representatives receive an ex-
penditure plan prepared by the Secretary of Homeland Security: Provided further, That of the total amount
provided under this heading, up to $10,000,000 may be transferred to U.S. Immigration and Customs Enforce-




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 65 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                                Page 8




ment “Salaries and Expenses” account for data center migration.

                                               CONSTRUCTION

For necessary expenses to plan, construct, renovate, equip, and maintain buildings and facilities necessary for
the administration and enforcement of the laws relating to customs and immigration, $4,818,000, to remain
available until expended: Provided, That none of the funds made available in this Act may be used to solicit or
consider any request to privatize facilities currently owned by the United States Government and used to detain
aliens unlawfully present in the United States until the Committees on Appropriations of the Senate and the
House of Representatives receive a plan for carrying out that privatization.

                                     Transportation Security Administration

                                             AVIATION SECURITY

For necessary expenses of the Transportation Security Administration related to providing civil aviation security
services pursuant to the Aviation and Transportation Security Act (Public Law 107–71; 115 Stat. 597; 49 U.S.C.
40101 note), $5,214,040,000, to remain available until September 30, 2011, of which not to exceed $10,000
shall be for official reception and representation expenses: Provided, That of the total amount made available
under this heading, not to exceed $4,358,076,000 shall be for screening operations, of which $1,116,406,000
shall be available for explosives detection systems; and not to exceed $855,964,000 shall be for aviation security
direction and enforcement: Provided further, That of the amount made available in the preceding proviso for ex-
plosives detection systems, $778,300,000 shall be available for the purchase and installation of these systems, of
which not less than 28 percent shall be available for the purchase and installation of certified explosives detec-
tion systems at medium--and small-sized airports: Provided further, That any award to deploy explosives detec-
tion systems shall be based on risk, the airport's current reliance on other screening solutions, lobby congestion
resulting in increased security concerns, high injury rates, airport readiness, and increased cost effectiveness:
Provided further, That of the total amount provided, $1,250,000 shall be made available for Safe Skies Alliance
to develop and enhance research and training capabilities for Transportation Security Officer improvised explos-
ive recognition training: Provided further, That security service fees authorized under section 44940 of title 49,
United States Code, shall be credited to this appropriation as offsetting collections and shall be available only
for aviation security: Provided further, That the sum appropriated under this heading from the general fund shall
be reduced on a dollar-for-dollar basis as such offsetting collections are received during fiscal year 2010, so as
to result in a final fiscal year appropriation from the general fund estimated at not more than $3,114,040,000:
Provided further, That any security service fees collected in excess *2151 of the amount made available under
this heading shall become available during fiscal year 2011: Provided further, That Members of the United
States House of Representatives and United States Senate, including the leadership; the heads of Federal agen-
cies and commissions, including the Secretary, Deputy Secretary, Under Secretaries, and Assistant Secretaries of
the Department of Homeland Security; the United States Attorney General and Assistant Attorneys General and
the United States attorneys; and senior members of the Executive Office of the President, including the Director
of the Office of Management and Budget; shall not be exempt from Federal passenger and baggage screening.

                                 SURFACE TRANSPORTATION SECURITY

For necessary expenses of the Transportation Security Administration related to providing surface transportation
security activities, $110,516,000, to remain available until September 30, 2011.




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 66 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                                Page 9




                   TRANSPORTATION THREAT ASSESSMENT AND CREDENTIALING

For necessary expenses for the development and implementation of screening programs of the Office of Trans-
portation Threat Assessment and Credentialing, $171,999,000, to remain available until September 30, 2011.

                                 TRANSPORTATION SECURITY SUPPORT

For necessary expenses of the Transportation Security Administration related to providing transportation secur-
ity support and intelligence pursuant to the Aviation and Transportation Security Act (Public Law 107–71; 115
Stat. 597; 49 U.S.C. 40101 note), $1,001,780,000, to remain available until September 30, 2011: Provided, That
of the funds appropriated under this heading, $20,000,000 may not be obligated for headquarters administration
until the Secretary of Homeland Security submits to the Committees on Appropriations of the Senate and the
House of Representatives detailed expenditure plans for air cargo security, and for checkpoint support and ex-
plosives detection systems refurbishment, procurement, and installations on an airport-by-airport basis for fiscal
year 2010: Provided further, That these plans shall be submitted no later than 60 days after the date of enact-
ment of this Act.

                                         FEDERAL AIR MARSHALS

For necessary expenses of the Federal Air Marshals, $860,111,000.

                                                  Coast Guard

                                             OPERATING EXPENSES

For necessary expenses for the operation and maintenance of the Coast Guard, not otherwise provided for; pur-
chase or lease of not to exceed 25 passenger motor vehicles, which shall be for replacement only; purchase or
lease of small boats for contingent and emergent requirements (at a unit cost of no more than $700,000) and re-
pairs and service-life replacements, not to exceed a total of $26,000,000; minor shore construction projects not
*2152 exceeding $1,000,000 in total cost at any location; payments pursuant to section 156 of Public Law
97–377 (42 U.S.C. 402 note; 96 Stat. 1920); and recreation and welfare; $6,805,391,000, of which $581,503,000
shall be for defense-related activities, of which $241,503,000 is designated as being for overseas deployments
and other activities pursuant to sections 401(c)(4) and 423(a)(1) of S. Con. Res. 13 (111th Congress), the con-
current resolution on the budget for fiscal year 2010; of which $24,500,000 shall be derived from the Oil Spill
Liability Trust Fund to carry out the purposes of section 1012(a)(5) of the Oil Pollution Act of 1990 (33 U.S.C.
2712(a)(5)); of which not to exceed $20,000 shall be for official reception and representation expenses; and of
which $3,600,000 shall be available until expended for the cost of repairing, rehabilitating, altering, modifying,
and making improvements, including customized tenant improvements, to any replacement or expanded Opera-
tions Systems Center facility: Provided, That none of the funds made available by this or any other Act shall be
available for administrative expenses in connection with shipping commissioners in the United States: Provided
further, That none of the funds made available by this Act shall be for expenses incurred for recreational vessels
under section 12114 of title 46, United States Code, except to the extent fees are collected from yacht owners
and credited to this appropriation: Provided further, That the Coast Guard shall comply with the requirements of
section 527 of Public Law 108–136 with respect to the Coast Guard Academy: Provided further, That of the
funds provided under this heading, $50,000,000 shall be withheld from obligation for Headquarters Directorates
until: (1) the fiscal year 2010 second quarter acquisition report required by Public Law 108–7 and the fiscal year
2008 joint explanatory statement accompanying Public Law 110–161; (2) the Revised Deepwater Implementa-




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 67 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 10




tion Plan; and (3) the future-years capital investment plan for fiscal years 2011–2015 are received by the Com-
mittees on Appropriations of the Senate and the House of Representatives: Provided further, That funds made
available under this heading for overseas deployments and other activities pursuant to sections 401(c)(4) and
423(a)(1) of S. Con. Res. 13 (111th Congress), the concurrent resolution on the budget for fiscal year 2010, may
be allocated by program, project, and activity, notwithstanding section 503 of this Act.

                          ENVIRONMENTAL COMPLIANCE AND RESTORATION

For necessary expenses to carry out the environmental compliance and restoration functions of the Coast Guard
under chapter 19 of title 14, United States Code, $13,198,000, to remain available until expended.

                                             RESERVE TRAINING

For necessary expenses of the Coast Guard Reserve, as authorized by law; operations and maintenance of the re-
serve program; personnel and training costs; and equipment and services; $133,632,000.

                         ACQUISITION, CONSTRUCTION, AND IMPROVEMENTS

                                          << 14 USCA § 663 NOTE >>

For necessary expenses of acquisition, construction, renovation, and improvement of aids to navigation, shore
facilities, vessels, *2153 and aircraft, including equipment related thereto; and maintenance, rehabilitation, lease
and operation of facilities and equipment, as authorized by law; $1,537,080,000, of which $20,000,000 shall be
derived from the Oil Spill Liability Trust Fund to carry out the purposes of section 1012(a)(5) of the Oil Pollu-
tion Act of 1990 (33 U.S.C. 2712(a)(5)); of which $121,000,000 shall be available until September 30, 2014, to
acquire, repair, renovate, or improve vessels, small boats, and related equipment; of which $129,500,000 shall
be available until September 30, 2012, for other equipment; of which $27,100,000 shall be available until
September 30, 2012, for shore facilities and aids to navigation facilities, including not less than $300,000 for the
Coast Guard Academy Pier and not less than $16,800,000 for Coast Guard Station Cleveland Harbor; of which
$105,200,000 shall be available for personnel compensation and benefits and related costs; and of which
$1,154,280,000 shall be available until September 30, 2014, for the Integrated Deepwater Systems program:
Provided, That of the funds made available for the Integrated Deepwater Systems program, $269,000,000 is for
aircraft and $730,680,000 is for surface ships: Provided further, That the Secretary of Homeland Security shall
submit to the Committees on Appropriations of the Senate and the House of Representatives, in conjunction with
the President's fiscal year 2011 budget, a review of the Revised Deepwater Implementation Plan that identifies
any changes to the plan for the fiscal year; an annual performance comparison of Integrated Deepwater Systems
program assets to pre-Deepwater legacy assets; a status report of such legacy assets; a detailed explanation of
how the costs of such legacy assets are being accounted for within the Integrated Deepwater Systems program;
and the earned value management system gold card data for each Integrated Deepwater Systems program asset:
Provided further, That the Secretary shall submit to the Committees on Appropriations of the Senate and the
House of Representatives, in conjunction with the fiscal year 2011 budget request, a comprehensive review of
the Revised Deepwater Implementation Plan, and every 5 years thereafter, that includes a complete projection of
the acquisition costs and schedule for the duration of the plan: Provided further, That the Secretary shall annu-
ally submit to the Committees on Appropriations of the Senate and the House of Representatives, at the time that
the President's budget is submitted under section 1105(a) of title 31, United States Code, a future-years capital
investment plan for the Coast Guard that identifies for each capital budget line item--




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 68 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 11




    (1) the proposed appropriation included in that budget;

    (2) the total estimated cost of completion;

    (3) projected funding levels for each fiscal year for the next 5 fiscal years or until project completion,
whichever is earlier;

    (4) an estimated completion date at the projected funding levels; and

     (5) changes, if any, in the total estimated cost of completion or estimated completion date from previous fu-
ture-years capital investment plans submitted to the Committees on Appropriations of the Senate and the House
of Representatives:

Provided further, That the Secretary shall ensure that amounts specified in the future-years capital investment
plan are consistent, to the maximum extent practicable, with proposed appropriations necessary to support the
programs, projects, and activities of the *2154 Coast Guard in the President's budget as submitted under section
1105(a) of title 31, United States Code, for that fiscal year: Provided further, That any inconsistencies between
the capital investment plan and proposed appropriations shall be identified and justified: Provided further, That
subsections (a) and (b) of section 6402 of the U.S. Troop Readiness, Veterans' Care, Katrina Recovery, and Iraq
Accountability Appropriations Act, 2007 (Public Law 110–28) shall apply to fiscal year 2010.

                                         ALTERATION OF BRIDGES

For necessary expenses for alteration or removal of obstructive bridges, as authorized by section 6 of the Tru-
man–Hobbs Act (33 U.S.C. 516), $4,000,000, to remain available until expended: Provided, That of the amounts
made available under this heading, $4,000,000 shall be for the Fort Madison Bridge in Fort Madison, Iowa.

                         RESEARCH, DEVELOPMENT, TEST, AND EVALUATION

For necessary expenses for applied scientific research, development, test, and evaluation; and for maintenance,
rehabilitation, lease, and operation of facilities and equipment; as authorized by law; $24,745,000, to remain
available until expended, of which $500,000 shall be derived from the Oil Spill Liability Trust Fund to carry out
the purposes of section 1012(a)(5) of the Oil Pollution Act of 1990 (33 U.S.C. 2712(a)(5)): Provided, That there
may be credited to and used for the purposes of this appropriation funds received from State and local govern-
ments, other public authorities, private sources, and foreign countries for expenses incurred for research, devel-
opment, testing, and evaluation.

                                                  RETIRED PAY

For retired pay, including the payment of obligations otherwise chargeable to lapsed appropriations for this pur-
pose, payments under the Retired Serviceman's Family Protection and Survivor Benefits Plans, payment for ca-
reer status bonuses, concurrent receipts and combat-related special compensation under the National Defense
Authorization Act, and payments for medical care of retired personnel and their dependents under chapter 55 of
title 10, United States Code, $1,361,245,000, to remain available until expended.

                                           United States Secret Service

                                         SALARIES AND EXPENSES




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 69 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 12




For necessary expenses of the United States Secret Service, including: purchase of not to exceed 652 vehicles
for police-type use for replacement only; hire of passenger motor vehicles; purchase of motorcycles made in the
United States; hire of aircraft; services of expert witnesses at such rates as may be determined by the Director of
the Secret Service; rental of buildings in the District of Columbia, and fencing, lighting, guard booths, and other
facilities on private or other property not in Government ownership or control, as may be necessary to perform
protective functions; payment *2155 of per diem or subsistence allowances to employees where a protective as-
signment during the actual day or days of the visit of a protectee requires an employee to work 16 hours per day
or to remain overnight at a post of duty; conduct of and participation in firearms matches; presentation of
awards; travel of United States Secret Service employees on protective missions without regard to the limita-
tions on such expenditures in this or any other Act if approval is obtained in advance from the Committees on
Appropriations of the Senate and the House of Representatives; research and development; grants to conduct be-
havioral research in support of protective research and operations; and payment in advance for commercial ac-
commodations as may be necessary to perform protective functions; $1,478,669,000, of which not to exceed
$25,000 shall be for official reception and representation expenses; of which not to exceed $100,000 shall be to
provide technical assistance and equipment to foreign law enforcement organizations in counterfeit investiga-
tions; of which $2,366,000 shall be for forensic and related support of investigations of missing and exploited
children; and of which $6,000,000 shall be for a grant for activities related to the investigations of missing and
exploited children and shall remain available until expended: Provided, That up to $18,000,000 for protective
travel shall remain available until September 30, 2011: Provided further, That up to $1,000,000 for National
Special Security Events shall remain available until expended: Provided further, That the United States Secret
Service is authorized to obligate funds in anticipation of reimbursements from Federal agencies and entities, as
defined in section 105 of title 5, United States Code, receiving training sponsored by the James J. Rowley Train-
ing Center, except that total obligations at the end of the fiscal year shall not exceed total budgetary resources
available under this heading at the end of the fiscal year: Provided further, That none of the funds made avail-
able under this heading shall be available to compensate any employee for overtime in an annual amount in ex-
cess of $35,000, except that the Secretary of Homeland Security, or the designee of the Secretary, may waive
that amount as necessary for national security purposes: Provided further, That none of the funds made available
to the United States Secret Service by this Act or by previous appropriations Acts may be made available for the
protection of the head of a Federal agency other than the Secretary of Homeland Security: Provided further,
That the Director of the United States Secret Service may enter into an agreement to perform such service on a
fully reimbursable basis: Provided further, That of the total amount made available under this heading,
$33,960,000, to remain available until expended, is for information technology modernization: Provided further,
That none of the funds made available in the preceding proviso shall be obligated to purchase or install informa-
tion technology equipment until the Chief Information Officer of the Department of Homeland Security submits
a report to the Committees on Appropriations of the Senate and the House of Representatives certifying that all
plans for such modernization are consistent with Department of Homeland Security data center migration and
enterprise architecture requirements: Provided further, That none of the funds made available to the United
States Secret Service by this Act or by previous appropriations Acts may be obligated for the purpose of opening
a new permanent domestic or overseas office or location unless the Committees on Appropriations of the *2156
Senate and the House of Representatives are notified 15 days in advance of such obligation.

            ACQUISITION, CONSTRUCTION, IMPROVEMENTS, AND RELATED EXPENSES

For necessary expenses for acquisition, construction, repair, alteration, and improvement of facilities,
$3,975,000, to remain available until expended.




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 70 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 13




                                                    TITLE III

                      PROTECTION, PREPAREDNESS, RESPONSE, AND RECOVERY

                                  National Protection and Programs Directorate

                                  MANAGEMENT AND ADMINISTRATION

For salaries and expenses of the Office of the Under Secretary for the National Protection and Programs Direct-
orate, support for operations, information technology, and the Office of Risk Management and Analysis,
$44,577,000: Provided, That not to exceed $5,000 shall be for official reception and representation expenses.

                   INFRASTRUCTURE PROTECTION AND INFORMATION SECURITY

For necessary expenses for infrastructure protection and information security programs and activities, as author-
ized by title II of the Homeland Security Act of 2002 (6 U.S.C. 121 et seq.), $899,416,000, of which
$760,155,000 shall remain available until September 30, 2011: Provided, That of the amount made available un-
der this heading, $161,815,000 may not be obligated for the National Cyber Security Division program and
$12,500,000 may not be obligated for the Next Generation Networks program until the Committees on Appro-
priations of the Senate and the House of Representatives receive and approve a plan for expenditure for each of
these programs that describes the strategic context of the program, the specific goals and milestones set for the
program, and the funds allocated to achieving each of those goals and milestones: Provided further, That of the
total amount provided, no less than: $20,000,000 is for the National Infrastructure Simulation and Analysis Cen-
ter; $1,000,000 is for Philadelphia infrastructure monitoring; $3,500,000 is for State and local cyber security
training; $3,000,000 is for the Power and Cyber Systems Protection, Analysis, and Testing Program at the Idaho
National Laboratory; $3,500,000 is for the Cyber Security Test Bed and Evaluation Center; $3,000,000 is for the
Multi–State Information Sharing and Analysis Center; $500,000 is for the Virginia Operational Integration Cy-
ber Center of Excellence; $100,000 is for the Upstate New York Cyber Initiative; and $1,000,000 is for interop-
erable communications, technical assistance, and outreach programs.

                                      FEDERAL PROTECTIVE SERVICE

The revenues and collections of security fees credited to this account shall be available until expended for neces-
sary expenses related to the protection of federally-owned and leased buildings and for the operations of the
Federal Protective Service: Provided, *2157 That the Secretary of Homeland Security and the Director of the
Office of Management and Budget shall certify in writing to the Committees on Appropriations of the Senate
and the House of Representatives no later than December 31, 2009, that the operations of the Federal Protective
Service will be fully funded in fiscal year 2010 through revenues and collection of security fees, and shall adjust
the fees to ensure fee collections are sufficient to ensure that the Federal Protective Service maintains not fewer
than 1,200 full-time equivalent staff and 900 full-time equivalent Police Officers, Inspectors, Area Commanders,
and Special Agents who, while working, are directly engaged on a daily basis protecting and enforcing laws at
Federal buildings (referred to as “in-service field staff”).

          UNITED STATES VISITOR AND IMMIGRANT STATUS INDICATOR TECHNOLOGY

For necessary expenses for the development of the United States Visitor and Immigrant Status Indicator Techno-
logy project, as authorized by section 110 of the Illegal Immigration Reform and Immigrant Responsibility Act




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 71 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 14




of 1996 (8 U.S.C. 1365a), $373,762,000, to remain available until expended: Provided, That of the total amount
made available under this heading, $75,000,000 may not be obligated for the United States Visitor and Immig-
rant Status Indicator Technology project until the Committees on Appropriations of the Senate and the House of
Representatives receive a plan for expenditure, prepared by the Secretary of Homeland Security, not later than
90 days after the date of enactment of this Act that meets the statutory conditions specified under this heading in
Public Law 110–329: Provided further, That not less than $28,000,000 of unobligated balances of prior year ap-
propriations shall remain available and be obligated solely for implementation of a biometric air exit capability.

                                             Office of Health Affairs

For necessary expenses of the Office of Health Affairs, $139,250,000, of which $30,411,000 is for salaries and
expenses: Provided, That $108,839,000 shall remain available until September 30, 2011, for biosurveillance,
BioWatch, medical readiness planning, chemical response, and other activities, including $5,000,000 for the
North Carolina Collaboratory for Bio–Preparedness, University of North Carolina, Chapel Hill: Provided further
, That not to exceed $3,000 shall be for official reception and representation expenses.

                                    Federal Emergency Management Agency

                                  MANAGEMENT AND ADMINISTRATION

For necessary expenses for management and administration of the Federal Emergency Management Agency,
$797,650,000, including activities authorized by the National Flood Insurance Act of 1968 (42 U.S.C. 4001 et
seq.), the Robert T. Stafford Disaster Relief and Emergency Assistance Act (42 U.S.C. 5121 et seq.), the Cerro
Grande Fire Assistance Act of 2000 (division C, title I, 114 Stat. 583), the Earthquake Hazards Reduction Act of
1977 (42 U.S.C. 7701 et seq.), the Defense Production Act of 1950 (50 U.S.C. App. 2061 et seq.), sections 107
and 303 of the National *2158 Security Act of 1947 (50 U.S.C. 404, 405), Reorganization Plan No. 3 of 1978 (5
U.S.C. App.), the Homeland Security Act of 2002 (6 U.S.C. 101 et seq.), and the Post–Katrina Emergency Man-
agement Reform Act of 2006 (Public Law 109–295; 120 Stat. 1394): Provided, That not to exceed $3,000 shall
be for official reception and representation expenses: Provided further, That the President's budget submitted
under section 1105(a) of title 31, United States Code, shall be detailed by office for the Federal Emergency
Management Agency: Provided further, That of the total amount made available under this heading, not to ex-
ceed $36,300,000 shall remain available until September 30, 2011, for capital improvements at the Mount
Weather Emergency Operations Center: Provided further, That of the total amount made available under this
heading, $32,500,000 shall be for the Urban Search and Rescue Response System, of which not to exceed
$1,600,000 may be made available for administrative costs; and $6,995,000 shall be for the Office of National
Capital Region Coordination: Provided further, That for purposes of planning, coordination, execution, and de-
cision-making related to mass evacuation during a disaster, the Governors of the State of West Virginia and the
Commonwealth of Pennsylvania, or their designees, shall be incorporated into efforts to integrate the activities
of Federal, State, and local governments in the National Capital Region, as defined in section 882 of Public Law
107–296, the Homeland Security Act of 2002.

                                      STATE AND LOCAL PROGRAMS

                                    (INCLUDING TRANSFER OF FUNDS)

For grants, contracts, cooperative agreements, and other activities, $3,015,200,000 shall be allocated as follows:




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 72 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 15




    (1) $950,000,000 shall be for the State Homeland Security Grant Program under section 2004 of the Home-
land Security Act of 2002 (6 U.S.C. 605): Provided, That of the amount provided by this paragraph,
$60,000,000 shall be for Operation Stonegarden: Provided further, That notwithstanding subsection (c)(4) of
such section 2004, for fiscal year 2010, the Commonwealth of Puerto Rico shall make available to local and tri-
bal governments amounts provided to the Commonwealth of Puerto Rico under this paragraph in accordance
with subsection (c)(1) of such section 2004.

     (2) $887,000,000 shall be for the Urban Area Security Initiative under section 2003 of the Homeland Secur-
ity Act of 2002 (6 U.S.C. 604), of which, notwithstanding subsection (c)(1) of such section, $19,000,000 shall
be for grants to organizations (as described under section 501(c)(3) of the Internal Revenue Code of 1986 and
exempt from tax section 501(a) of such code) determined by the Secretary of Homeland Security to be at high
risk of a terrorist attack.

    (3) $35,000,000 shall be for Regional Catastrophic Preparedness Grants.

    (4) $41,000,000 shall be for the Metropolitan Medical Response System under section 635 of the
Post–Katrina Emergency Management Reform Act of 2006 (6 U.S.C. 723).

    (5) $13,000,000 shall be for the Citizen Corps Program.

     (6) $300,000,000 shall be for Public Transportation Security Assistance and Railroad Security Assistance,
under sections *2159 1406 and 1513 of the Implementing Recommendations of the 9/11 Commission Act of
2007 (Public Law 110–53; 6 U.S.C. 1135 and 1163), of which not less than $20,000,000 shall be for Amtrak se-
curity: Provided, That such public transportation security assistance shall be provided directly to public trans-
portation agencies.

    (7) $300,000,000 shall be for Port Security Grants in accordance with 46 U.S.C. 70107, notwithstanding 46
U.S.C. 70107(c).

    (8) $12,000,000 shall be for Over-the-Road Bus Security Assistance under section 1532 of the Implement-
ing Recommendations of the 9/11 Commission Act of 2007 (Public Law 110–53; 6 U.S.C. 1182).

    (9) $50,000,000 shall be for Buffer Zone Protection Program Grants.

     (10) $50,000,000 shall be for the Driver's License Security Grants Program in accordance with section 204
of the REAL ID Act of 2005 (49 U.S.C. 30301 note).

    (11) $50,000,000 shall be for the Interoperable Emergency Communications Grant Program under section
1809 of the Homeland Security Act of 2002 (6 U.S.C. 579).

    (12) $60,000,000 shall be for grants for Emergency Operations Centers under section 614 of the Robert T.
Stafford Disaster Relief and Emergency Assistance Act (42 U.S.C. 5196c) to remain available until expended, of
which no less than the amount specified for each Emergency Operations Center shall be provided as follows:
$500,000, Benton County Emergency Management Commission, Iowa; $100,000, Brazoria County Emergency
Management, Texas; $800,000, Butte–Silver Bow, Montana; $338,000, Calvert County Department of Public
Safety, Maryland; $425,000, City of Alamosa Fire Department, Colorado; $600,000, City of Ames, Iowa;
$250,000, City of Boerne, Texas; $500,000, City of Brawley, California; $300,000, City of Brigantine, New Jer-
sey; $350,000, City of Brookings, Oregon; $1,000,000, City of Chicago, Illinois; $1,000,000, City of Com-




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 73 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 16




merce, California; $300,000, City of Cupertino, California; $1,000,000, City of Detroit, Michigan; $750,000,
City of Elk Grove, California; $400,000, City of Green Cove Springs, Florida; $600,000, City of Greenville,
North Carolina; $300,000, City of Hackensack, New Jersey; $800,000, City of Hartford, Connecticut; $250,000,
City of Hopewell, Virginia; $254,500, City of La Habra, California; $600,000, City of Las Vegas, Nevada;
$750,000, City of Lauderdale Lakes, Florida; $750,000, City of Minneapolis, Minnesota; $375,000, City of
Monterey Park, California; $400,000, City of Moreno Valley, California; $1,000,000, City of Mount Vernon,
New York; $1,000,000, City of Newark, New Jersey; $900,000, City of North Little Rock, Arkansas; $350,000,
City of Palm Coast, Florida; $750,000, City of Port Gibson, Mississippi; $500,000, City of Scottsdale, Arizona;
$750,000, City of Sunrise, Florida; $500,000, City of Tavares, Florida; $400,000, City of Torrington, Connectic-
ut; $900,000, City of Whitefish, Montana; $500,000, City of Whittier, California; $500,000, City of Wichita,
Kansas; $500,000, Columbia County, Oregon; $500,000, County of Union, New Jersey; $400,000, Dorchester
County, South Carolina; $200,000, Fulton County (Atlanta) Emergency Management Agency, Georgia;
$250,000, Howell County Emergency Preparedness, Missouri; $500,000, Jackson County Sheriff's Office, Mis-
souri; *2160 $750,000, Johnson County, Texas; $500,000, Kentucky Emergency Management, Kentucky;
$800,000, Lake County, Florida; $600,000, Lea County, New Mexico; $1,000,000, Lincoln County, Washing-
ton; $250,000, Lycoming County, Pennsylvania; $250,000, Macomb County Emergency Management and Com-
munications, Michigan; $300,000, Mercer County Emergency Management Agency, Kentucky; $1,000,000,
Middle Rio Grande Development Council, Texas; $250,000, Minooka Fire Protection District, Illinois;
$800,000, Mobile County Commission, Alabama; $200,000, Monroe County, Florida; $1,000,000, Morris
County, New Jersey Office of Emergency Management, New Jersey; $750,000, New Orleans Emergency Medic-
al Services, Louisiana; $1,000,000, North Carolina Office of Emergency Management, North Carolina;
$500,000, North Hudson Regional Fire and Rescue, New Jersey; $980,000, North Louisiana Regional, Lincoln
Parish, Louisiana; $1,500,000, Ohio Emergency Management Agency, Columbus, Ohio; $250,000, Passaic
County Prosecutor's Office, New Jersey; $980,000, City of Providence, Rhode Island; $800,000, San Francisco
Department of Emergency Management, California; $300,000, Sarasota County, Florida; $650,000, Scotland
County, North Carolina; $500,000, Somerset County, Maine; $1,500,000, State of Maryland, Maryland;
$158,000, City of Maitland, Florida; $500,000, Tohono O'odham Nation; $75,000, Towamencin Township,
Pennsylvania; $275,000, Town of Harrison, New York; $500,000, Town of Shorter, Alabama; $750,000, Town-
ship of Irvington, New Jersey; $500,000, Township of Old Bridge, New Jersey; $247,000, Township of South
Orange Village, South Orange, New Jersey; $500,000, Upper Darby Township Police Department,
Pennsylvania; $165,000, Village of Elmsford, New York; $350,000, Washington Parish Government, Louisiana;
$900,000, Westmoreland County Department of Public Safety, Pennsylvania; $1,000,000, Williamsburg County,
South Carolina; and $20,000, Winston County Commission, Alabama.

    (13) $267,200,000 shall be for training, exercises, technical assistance, and other programs, of which--

         (A) $164,500,000 shall be for the National Domestic Preparedness Consortium in accordance with sec-
tion 1204 of the Implementing Recommendations of the 9/11 Commission Act of 2007 (6 U.S.C. 1102), of
which $62,500,000 shall be for the Center for Domestic Preparedness; $23,000,000 shall be for the National En-
ergetic Materials Research and Testing Center, New Mexico Institute of Mining and Technology; $23,000,000
shall be for the National Center for Biomedical Research and Training, Louisiana State University; $23,000,000
shall be for the National Emergency Response and Rescue Training Center, Texas A&M University;
$23,000,000 shall be for the National Exercise, Test, and Training Center, Nevada Test Site; $5,000,000 shall be
for the Natural Disaster Preparedness Training Center, University of Hawaii, Honolulu, Hawaii; $5,000,000
shall be for surface transportation emergency preparedness and response training to be awarded under full and




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 74 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 17




open competition;

        (B) $1,700,000 shall be for the Center for Counterterrorism and Cyber Crime, Norwich University,
Northfield, Vermont; and

*2161

         (C) $3,000,000 shall be for the Rural Domestic Preparedness Consortium, Eastern Kentucky University:

Provided, That 4 percent of the amounts provided under this heading shall be transferred to the Federal Emer-
gency Management Agency “Management and Administration” account for program administration, and an ex-
penditure plan for program administration shall be provided to the Committees on Appropriations of the Senate
and the House of Representatives within 60 days after the date of enactment of this Act: Provided further, That
notwithstanding section 2008(a)(11) of the Homeland Security Act of 2002 (6 U.S.C. 609(a)(11)), or any other
provision of law, a grantee may use not more than 5 percent of the amount of a grant made available under this
heading for expenses directly related to administration of the grant: Provided further, That for grants under para-
graphs (1) through (5), the applications for grants shall be made available to eligible applicants not later than 25
days after the date of enactment of this Act, that eligible applicants shall submit applications not later than 90
days after the grant announcement, and that the Administrator of the Federal Emergency Management Agency
shall act within 90 days after receipt of an application: Provided further, That for grants under paragraphs (6)
through (11), the applications for grants shall be made available to eligible applicants not later than 30 days after
the date of enactment of this Act, that eligible applicants shall submit applications within 45 days after the grant
announcement, and that the Federal Emergency Management Agency shall act not later than 60 days after re-
ceipt of an application: Provided further, That for grants under paragraphs (1) and (2), the installation of com-
munications towers is not considered construction of a building or other physical facility: Provided further, That
grantees shall provide reports on their use of funds, as determined necessary by the Secretary: Provided further,
That (a) the Center for Domestic Preparedness may provide training to emergency response providers from the
Federal Government, foreign governments, or private entities, if the Center for Domestic Preparedness is reim-
bursed for the cost of such training, and any reimbursement under this subsection shall be credited to the account
from which the expenditure being reimbursed was made and shall be available, without fiscal year limitation, for
the purposes for which amounts in the account may be expended, and (b) the head of the Center for Domestic
Preparedness shall ensure that any training provided under (a) does not interfere with the primary mission of the
Center to train State and local emergency response providers.

                                    FIREFIGHTER ASSISTANCE GRANTS

For necessary expenses for programs authorized by the Federal Fire Prevention and Control Act of 1974 (15
U.S.C. 2201 et seq.), $810,000,000, of which $390,000,000 shall be available to carry out section 33 of that Act
(15 U.S.C. 2229) and $420,000,000 shall be available to carry out section 34 of that Act (15 U.S.C. 2229a), to
remain available until September 30, 2011: Provided, That not to exceed 5 percent of the amount available un-
der this heading shall be available for program administration, and an expenditure plan for program administra-
tion shall be provided to the Committees on Appropriations of the Senate and the House of Representatives
within 60 days of the date of enactment of this Act.

*2162

                         EMERGENCY MANAGEMENT PERFORMANCE GRANTS




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 75 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 18




For necessary expenses for emergency management performance grants, as authorized by the National Flood In-
surance Act of 1968 (42 U.S.C. 4001 et seq.), the Robert T. Stafford Disaster Relief and Emergency Assistance
Act (42 U.S.C. 5121 et seq.), the Earthquake Hazards Reduction Act of 1977 (42 U.S.C. 7701 et seq.), and Reor-
ganization Plan No. 3 of 1978 (5 U.S.C. App.), $340,000,000: Provided, That total administrative costs shall not
exceed 3 percent of the total amount appropriated under this heading, and an expenditure plan for program ad-
ministration shall be provided to the Committees on Appropriations of the Senate and the House of Representat-
ives within 60 days of the date of enactment of this Act.

                       RADIOLOGICAL EMERGENCY PREPAREDNESS PROGRAM

The aggregate charges assessed during fiscal year 2010, as authorized in title III of the Departments of Veterans
Affairs and Housing and Urban Development, and Independent Agencies Appropriations Act, 1999 (42 U.S.C.
5196e), shall not be less than 100 percent of the amounts anticipated by the Department of Homeland Security
necessary for its radiological emergency preparedness program for the next fiscal year: Provided, That the meth-
odology for assessment and collection of fees shall be fair and equitable and shall reflect costs of providing such
services, including administrative costs of collecting such fees: Provided further, That fees received under this
heading shall be deposited in this account as offsetting collections and will become available for authorized pur-
poses on October 1, 2010, and remain available until expended.

                                 UNITED STATES FIRE ADMINISTRATION

For necessary expenses of the United States Fire Administration and for other purposes, as authorized by the
Federal Fire Prevention and Control Act of 1974 (15 U.S.C. 2201 et seq.) and the Homeland Security Act of
2002 (6 U.S.C. 101 et seq.), $45,588,000.

                                              DISASTER RELIEF

                                   (INCLUDING TRANSFERS OF FUNDS)

For necessary expenses in carrying out the Robert T. Stafford Disaster Relief and Emergency Assistance Act (42
U.S.C. 5121 et seq.), $1,600,000,000, to remain available until expended: Provided, That the Federal Emergency
Management Agency shall submit an expenditure plan to the Committees on Appropriations of the Senate and
the House of Representatives detailing the use of the funds for disaster readiness and support within 60 days
after the date of enactment of this Act: Provided further, That the Federal Emergency Management Agency shall
submit to such Committees a quarterly report detailing obligations against the expenditure plan and a justifica-
tion for any changes in spending: Provided further, That of the total amount provided, $16,000,000 shall be
transferred to the Department of Homeland Security Office of Inspector General for audits and investigations re-
lated to disasters, subject to section 503 of this Act: Provided further, That *2163 $105,600,000 shall be trans-
ferred to Federal Emergency Management Agency “Management and Administration” for management and ad-
ministration functions: Provided further, That the amount provided in the previous proviso shall not be available
for transfer to “Management and Administration” until the Federal Emergency Management Agency submits an
expenditure plan to the Committees on Appropriations of the Senate and the House of Representatives: Provided
further, That the Federal Emergency Management Agency shall submit the monthly “Disaster Relief” report, as
specified in Public Law 110–161, to the Committees on Appropriations of the Senate and the House of Repres-
entatives, and include the amounts provided to each Federal agency for mission assignments: Provided further,
That for any request for reimbursement from a Federal agency to the Department of Homeland Security to cover
expenditures under the Robert T. Stafford Disaster Relief and Emergency Assistance Act (42 U.S.C. 5121 et




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 76 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 19




seq.), or any mission assignment orders issued by the Department for such purposes, the Secretary of Homeland
Security shall take appropriate steps to ensure that each agency is periodically reminded of Department policies
on--

    (1) the detailed information required in supporting documentation for reimbursements; and

    (2) the necessity for timeliness of agency billings.

                     DISASTER ASSISTANCE DIRECT LOAN PROGRAM ACCOUNT

For activities under section 319 of the Robert T. Stafford Disaster Relief and Emergency Assistance Act (42
U.S.C. 5162), $295,000 is for the cost of direct loans: Provided, That gross obligations for the principal amount
of direct loans shall not exceed $25,000,000: Provided further, That the cost of modifying such loans shall be as
defined in section 502 of the Congressional Budget Act of 1974 (2 U.S.C. 661a).

                                    FLOOD MAP MODERNIZATION FUND

For necessary expenses under section 1360 of the National Flood Insurance Act of 1968 (42 U.S.C. 4101),
$220,000,000, and such additional sums as may be provided by State and local governments or other political
subdivisions for cost-shared mapping activities under section 1360(f)(2) of such Act (42 U.S.C. 4101(f)(2)), to
remain available until expended: Provided, That total administrative costs shall not exceed 3 percent of the total
amount appropriated under this heading.

                                   NATIONAL FLOOD INSURANCE FUND

For activities under the National Flood Insurance Act of 1968 (42 U.S.C. 4001 et seq.) and the Flood Disaster
Protection Act of 1973 (42 U.S.C. 4001 et seq.), $146,000,000, which shall be derived from offsetting collec-
tions assessed and collected under section 1308(d) of the National Flood Insurance Act of 1968 (42 U.S.C.
4015(d)), which is available as follows: (1) not to exceed $38,680,000 for salaries and expenses associated with
flood mitigation and flood insurance operations; and (2) no less than $107,320,000 for flood plain management
and flood mapping, which shall remain available until September 30, 2011: Provided, That any additional fees
collected pursuant to section 1308(d) of the *2164 National Flood Insurance Act of 1968 (42 U.S.C. 4015(d))
shall be credited as an offsetting collection to this account, to be available for flood plain management and flood
mapping: Provided further, That in fiscal year 2010, no funds shall be available from the National Flood Insur-
ance Fund under section 1310 of that Act (42 U.S.C. 4017) in excess of: (1) $85,000,000 for operating expenses;
(2) $969,370,000 for commissions and taxes of agents; (3) such sums as are necessary for interest on Treasury
borrowings; and (4) $120,000,000, which shall remain available until expended for flood mitigation actions, of
which $70,000,000 is for severe repetitive loss properties under section 1361A of the National Flood Insurance
Act of 1968 (42 U.S.C. 4102a), of which $10,000,000 is for repetitive insurance claims properties under section
1323 of the National Flood Insurance Act of 1968 (42 U.S.C. 4030), and of which $40,000,000 is for flood mit-
igation assistance under section 1366 of the National Flood Insurance Act of 1968 (42 U.S.C. 4104c) notwith-
standing subparagraphs (B) and (C) of subsection (b)(3) and subsection (f) of section 1366 of the National Flood
Insurance Act of 1968 (42 U.S.C. 4104c) and notwithstanding subsection (a)(7) of section 1310 of the National
Flood Insurance Act of 1968 (42 U.S.C. 4017): Provided further, That amounts collected under section 102 of
the Flood Disaster Protection Act of 1973 and section 1366(i) of the National Flood Insurance Act of 1968 shall
be deposited in the National Flood Insurance Fund to supplement other amounts specified as available for sec-
tion 1366 of the National Flood Insurance Act of 1968, notwithstanding 42 U.S.C. 4012a(f)(8), 4104c(i), and




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 77 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 20




4104d(b)(2)–(3): Provided further, That total administrative costs shall not exceed 4 percent of the total appro-
priation.

                              NATIONAL PREDISASTER MITIGATION FUND

For the predisaster mitigation grant program under section 203 of the Robert T. Stafford Disaster Relief and
Emergency Assistance Act (42 U.S.C. 5133), $100,000,000, to remain available until expended and to be oblig-
ated as detailed in the joint explanatory statement accompanying this Act: Provided, That the total administrat-
ive costs associated with such grants shall not exceed 3 percent of the total amount made available under this
heading.

                                    EMERGENCY FOOD AND SHELTER

To carry out the emergency food and shelter program pursuant to title III of the McKinney–Vento Homeless As-
sistance Act (42 U.S.C. 11331 et seq.), $200,000,000, to remain available until expended: Provided, That total
administrative costs shall not exceed 3.5 percent of the total amount made available under this heading.

                                                   TITLE IV

                     RESEARCH AND DEVELOPMENT, TRAINING, AND SERVICES

                              United States Citizenship and Immigration Services

For necessary expenses for citizenship and immigration services, $224,000,000, of which $50,000,000 is for
processing applications for asylum or refugee status; of which $5,000,000 is for the processing of military natur-
alization applications; and of which $137,000,000 is for the basic pilot program (E–Verify Program), *2165 as
authorized by section 402 of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (8
U.S.C. 1324a note), to assist United States employers with maintaining a legal workforce: Provided, That of the
amounts made available for the basic pilot program (E–Verify Program), $30,000,000 shall remain available un-
til September 30, 2011: Provided further, That notwithstanding any other provision of law, funds available to
United States Citizenship and Immigration Services may be used to acquire, operate, equip, and dispose of up to
five vehicles, for replacement only, for areas where the Administrator of General Services does not provide
vehicles for lease: Provided further, That the Director of United States Citizenship and Immigration Services
may authorize employees who are assigned to those areas to use such vehicles to travel between the employees'
residences and places of employment: Provided further, That none of the funds made available under this head-
ing may be obligated for processing applications for asylum or refugee status unless the Secretary of Homeland
Security has published a final rule updating part 103 of title 8, Code of Federal Regulations, to discontinue the
asylum/refugee surcharge: Provided further, That none of the funds made available under this heading may be
obligated for development of the “REAL ID hub” until the Committees on Appropriations of the Senate and the
House of Representatives receive a plan for expenditure for that program that describes the strategic context of
the program, the specific goals and milestones set for the program, and the funds allocated for achieving each of
these goals and milestones: Provided further, That none of the funds made available in this Act for grants for
immigrant integration may be used to provide services to aliens who have not been lawfully admitted for per-
manent residence.

                                   Federal Law Enforcement Training Center




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 78 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 21




                                          SALARIES AND EXPENSES

                                         << 42 USCA § 3771 NOTE >>

For necessary expenses of the Federal Law Enforcement Training Center, including materials and support costs
of Federal law enforcement basic training; the purchase of not to exceed 117 vehicles for police-type use and
hire of passenger motor vehicles; expenses for student athletic and related activities; the conduct of and particip-
ation in firearms matches and presentation of awards; public awareness and enhancement of community support
of law enforcement training; room and board for student interns; a flat monthly reimbursement to employees au-
thorized to use personal mobile phones for official duties; and services as authorized by section 3109 of title 5,
United States Code; $239,356,000, of which up to $47,751,000 shall remain available until September 30, 2011,
for materials and support costs of Federal law enforcement basic training; of which $300,000 shall remain avail-
able until expended for Federal law enforcement agencies participating in training accreditation, to be distrib-
uted as determined by the Federal Law Enforcement Training Center for the needs of participating agencies; and
of which not to exceed $12,000 shall be for official reception and representation expenses: Provided, That the
Center is authorized to obligate funds in anticipation of reimbursements from agencies receiving training
sponsored by the Center, except that total obligations at the end of the fiscal year shall not exceed *2166 total
budgetary resources available at the end of the fiscal year: Provided further, That section 1202(a) of Public Law
107–206 (42 U.S.C. 3771 note), as amended by Public Law 110–329 (122 Stat. 3677), is further amended by
striking “December 31, 2011” and inserting “December 31, 2012”: Provided further, That the Federal Law En-
forcement Training Accreditation Board, including representatives from the Federal law enforcement com-
munity and non-Federal accreditation experts involved in law enforcement training, shall lead the Federal law
enforcement training accreditation process to continue the implementation of measuring and assessing the qual-
ity and effectiveness of Federal law enforcement training programs, facilities, and instructors: Provided further,
That the Director of the Federal Law Enforcement Training Center shall schedule basic or advanced law en-
forcement training, or both, at all four training facilities under the control of the Federal Law Enforcement
Training Center to ensure that such training facilities are operated at the highest capacity throughout the fiscal
year.

           ACQUISITIONS, CONSTRUCTION, IMPROVEMENTS, AND RELATED EXPENSES

For acquisition of necessary additional real property and facilities, construction, and ongoing maintenance, facil-
ity improvements, and related expenses of the Federal Law Enforcement Training Center, $43,456,000, to re-
main available until expended: Provided, That the Center is authorized to accept reimbursement to this appropri-
ation from government agencies requesting the construction of special use facilities.

                                             Science and Technology

                                  MANAGEMENT AND ADMINISTRATION

For salaries and expenses of the Office of the Under Secretary for Science and Technology and for management
and administration of programs and activities, as authorized by title III of the Homeland Security Act of 2002 (6
U.S.C. 181 et seq.), $143,200,000: Provided, That not to exceed $10,000 shall be for official reception and rep-
resentation expenses.

                    RESEARCH, DEVELOPMENT, ACQUISITION, AND OPERATIONS




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 79 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 22




For necessary expenses for science and technology research, including advanced research projects; development;
test and evaluation; acquisition; and operations; as authorized by title III of the Homeland Security Act of 2002
(6 U.S.C. 181 et seq.); $863,271,000, of which $713,083,000, to remain available until September 30, 2012; and
of which $150,188,000, to remain available until September 30, 2014, solely for Laboratory Facilities: Provided,
That not less than $20,865,000 shall be available for the Southeast Region Research Initiative at the Oak Ridge
National Laboratory: Provided further, That not less than $3,000,000 shall be available for Distributed Environ-
ment for Critical Infrastructure Decisionmaking Exercises: Provided further, That not less than $12,000,000
shall be for construction expenses of the Pacific Northwest National Laboratory: Provided further, That not less
than $2,000,000 shall be for the Cincinnati Urban Area partnership established through the Regional Technology
Integration Initiative: Provided further, *2167 That not less than $10,000,000 shall be available for the National
Institute for Hometown Security, Kentucky: Provided further, That not less than $2,000,000 shall be available
for the Naval Postgraduate School: Provided further, That not less than $1,000,000 shall be available to continue
a homeland security research, development, and manufacturing pilot project: Provided further, That not less
than $500,000 shall be available for a demonstration project to develop situational awareness and decision sup-
port capabilities through remote sensing technologies: Provided further, That not less than $4,000,000 shall be
available for a pilot program to develop a replicable port security system that would improve maritime domain
awareness: Provided further, That $32,000,000 shall be for the National Bio--and Agro-defense Facility, of
which up to $2,000,000 may be obligated for the National Academy of Sciences to complete the Letter Report
required in section 560(b) of this Act.

                                       Domestic Nuclear Detection Office

                                 MANAGEMENT AND ADMINISTRATION

For salaries and expenses of the Domestic Nuclear Detection Office as authorized by title XIX of the Homeland
Security Act of 2002 (6 U.S.C. 591 et seq.) as amended, for management and administration of programs and
activities, $38,500,000: Provided, That not to exceed $3,000 shall be for official reception and representation
expenses.

                             RESEARCH, DEVELOPMENT, AND OPERATIONS

For necessary expenses for radiological and nuclear research, development, testing, evaluation, and operations,
$324,537,000, to remain available until September 30, 2012.

                                           SYSTEMS ACQUISITION

For expenses for the Domestic Nuclear Detection Office acquisition and deployment of radiological detection
systems in accordance with the global nuclear detection architecture, $20,000,000, to remain available until
September 30, 2012: Provided, That none of the funds appropriated under this heading in this Act or any other
Act shall be obligated for full-scale procurement of Advanced Spectroscopic Portal monitors until the Secretary
of Homeland Security submits to the Committees on Appropriations of the Senate and the House of Representat-
ives a report certifying that a significant increase in operational effectiveness will be achieved by such obliga-
tion: Provided further, That the Secretary shall submit separate and distinct certifications prior to the procure-
ment of Advanced Spectroscopic Portal monitors for primary and secondary deployment that address the unique
requirements for operational effectiveness of each type of deployment: Provided further, That the Secretary
shall continue to consult with the National Academy of Sciences before making such certifications: Provided
further, That none of the funds appropriated under this heading shall be used for high-risk concurrent develop-




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 80 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 23




ment and production of mutually dependent software and hardware.

*2168

                                                     TITLE V

                                             GENERAL PROVISIONS

                                   (INCLUDING RESCISSIONS OF FUNDS)

SEC. 501. No part of any appropriation contained in this Act shall remain available for obligation beyond the
current fiscal year unless expressly so provided herein.

SEC. 502. Subject to the requirements of section 503 of this Act, the unexpended balances of prior appropri-
ations provided for activities in this Act may be transferred to appropriation accounts for such activities estab-
lished pursuant to this Act, may be merged with funds in the applicable established accounts, and thereafter may
be accounted for as one fund for the same time period as originally enacted.

SEC. 503. (a) None of the funds provided by this Act, provided by previous appropriations Acts to the agencies
in or transferred to the Department of Homeland Security that remain available for obligation or expenditure in
fiscal year 2010, or provided from any accounts in the Treasury of the United States derived by the collection of
fees available to the agencies funded by this Act, shall be available for obligation or expenditure through a re-
programming of funds that: (1) creates a new program, project, or activity; (2) eliminates a program, project, of-
fice, or activity; (3) increases funds for any program, project, or activity for which funds have been denied or re-
stricted by the Congress; (4) proposes to use funds directed for a specific activity by either of the Committees on
Appropriations of the Senate or the House of Representatives for a different purpose; or (5) contracts out any
function or activity for which funding levels were requested for Federal full-time equivalents in the object clas-
sification tables contained in the fiscal year 2010 Budget Appendix for the Department of Homeland Security, as
modified by the joint explanatory statement accompanying this Act, unless the Committees on Appropriations of
the Senate and the House of Representatives are notified 15 days in advance of such reprogramming of funds.

(b) None of the funds provided by this Act, provided by previous appropriations Acts to the agencies in or trans-
ferred to the Department of Homeland Security that remain available for obligation or expenditure in fiscal year
2010, or provided from any accounts in the Treasury of the United States derived by the collection of fees or
proceeds available to the agencies funded by this Act, shall be available for obligation or expenditure for pro-
grams, projects, or activities through a reprogramming of funds in excess of $5,000,000 or 10 percent,
whichever is less, that: (1) augments existing programs, projects, or activities; (2) reduces by 10 percent funding
for any existing program, project, or activity, or numbers of personnel by 10 percent as approved by the Con-
gress; or (3) results from any general savings from a reduction in personnel that would result in a change in ex-
isting programs, projects, or activities as approved by the Congress, unless the Committees on Appropriations of
the Senate and the House of Representatives are notified 15 days in advance of such reprogramming of funds.

(c) Not to exceed 5 percent of any appropriation made available for the current fiscal year for the Department of
Homeland Security by this Act or provided by previous appropriations Acts may be *2169 transferred between
such appropriations, but no such appropriation, except as otherwise specifically provided, shall be increased by
more than 10 percent by such transfers: Provided, That any transfer under this section shall be treated as a repro-
gramming of funds under subsection (b) and shall not be available for obligation unless the Committees on Ap-




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 81 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 24




propriations of the Senate and the House of Representatives are notified 15 days in advance of such transfer.

(d) Notwithstanding subsections (a), (b), and (c) of this section, no funds shall be reprogrammed within or trans-
ferred between appropriations after June 30, except in extraordinary circumstances that imminently threaten the
safety of human life or the protection of property.

                                          << 31 USCA § 501 NOTE >>

SEC. 504. The Department of Homeland Security Working Capital Fund, established pursuant to section 403 of
Public Law 103–356 (31 U.S.C. 501 note), shall continue operations as a permanent working capital fund for
fiscal year 2010: Provided, That none of the funds appropriated or otherwise made available to the Department
of Homeland Security may be used to make payments to the Working Capital Fund, except for the activities and
amounts allowed in the President's fiscal year 2010 budget: Provided further, That funds provided to the Work-
ing Capital Fund shall be available for obligation until expended to carry out the purposes of the Working Capit-
al Fund: Provided further, That all departmental components shall be charged only for direct usage of each
Working Capital Fund service: Provided further, That funds provided to the Working Capital Fund shall be used
only for purposes consistent with the contributing component: Provided further, That such fund shall be paid in
advance or reimbursed at rates which will return the full cost of each service: Provided further, That the Work-
ing Capital Fund shall be subject to the requirements of section 503 of this Act.

SEC. 505. Except as otherwise specifically provided by law, not to exceed 50 percent of unobligated balances
remaining available at the end of fiscal year 2010 from appropriations for salaries and expenses for fiscal year
2010 in this Act shall remain available through September 30, 2011, in the account and for the purposes for
which the appropriations were provided: Provided, That prior to the obligation of such funds, a request shall be
submitted to the Committees on Appropriations of the Senate and the House of Representatives for approval in
accordance with section 503 of this Act.

SEC. 506. Funds made available by this Act for intelligence activities are deemed to be specifically authorized
by the Congress for purposes of section 504 of the National Security Act of 1947 (50 U.S.C. 414) during fiscal
year 2010 until the enactment of an Act authorizing intelligence activities for fiscal year 2010.

SEC. 507. None of the funds made available by this Act may be used to make a grant allocation, grant award,
contract award, Other Transaction Agreement, a task or delivery order on a Department of Homeland Security
multiple award contract, or to issue a letter of intent totaling in excess of $1,000,000, or to announce publicly
the intention to make such an award, including a contract covered by the Federal Acquisition Regulation, unless
the Secretary of Homeland Security notifies the Committees on Appropriations of the Senate and the House of
Representatives at least 3 full business days in advance of making such an award or issuing such a letter:
Provided, That if the Secretary of Homeland Security *2170 determines that compliance with this section would
pose a substantial risk to human life, health, or safety, an award may be made without notification and the Com-
mittees on Appropriations of the Senate and the House of Representatives shall be notified not later than 5 full
business days after such an award is made or letter issued: Provided further, That no notification shall involve
funds that are not available for obligation: Provided further, That the notification shall include the amount of the
award, the fiscal year for which the funds for the award were appropriated, and the account from which the
funds are being drawn: Provided further, That the Federal Emergency Management Agency shall brief the Com-
mittees on Appropriations of the Senate and the House of Representatives 5 full business days in advance of an-
nouncing publicly the intention of making an award under “State and Local Programs”.




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 82 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 25




SEC. 508. Notwithstanding any other provision of law, no agency shall purchase, construct, or lease any addi-
tional facilities, except within or contiguous to existing locations, to be used for the purpose of conducting Fed-
eral law enforcement training without the advance approval of the Committees on Appropriations of the Senate
and the House of Representatives, except that the Federal Law Enforcement Training Center is authorized to ob-
tain the temporary use of additional facilities by lease, contract, or other agreement for training which cannot be
accommodated in existing Center facilities.

SEC. 509. None of the funds appropriated or otherwise made available by this Act may be used for expenses for
any construction, repair, alteration, or acquisition project for which a prospectus otherwise required under
chapter 33 of title 40, United States Code, has not been approved, except that necessary funds may be expended
for each project for required expenses for the development of a proposed prospectus.

SEC. 510. Sections 519, 520, 522, 528, 530, and 531 of the Department of Homeland Security Appropriations
Act, 2008 (division E of Public Law 110–161; 121 Stat. 2072, 2073, 2074, 2082) shall apply with respect to
funds made available in this Act in the same manner as such sections applied to funds made available in that
Act.

SEC. 511. None of the funds made available in this Act may be used in contravention of the applicable provi-
sions of the Buy American Act (41 U.S.C. 10a et seq.).

SEC. 512. None of the funds made available in this Act may be used to amend the oath of allegiance required by
section 337 of the Immigration and Nationality Act (8 U.S.C. 1448).

SEC. 513. None of the funds appropriated by this Act may be used to process or approve a competition under
Office of Management and Budget Circular A–76 for services provided as of June 1, 2004, by employees
(including employees serving on a temporary or term basis) of United States Citizenship and Immigration Ser-
vices of the Department of Homeland Security who are known as of that date as Immigration Information Of-
ficers, Contact Representatives, or Investigative Assistants.

SEC. 514. (a) The Assistant Secretary of Homeland Security (Transportation Security Administration) shall
work with air carriers and airports to ensure that the screening of cargo carried on passenger aircraft, as defined
in section 44901(g)(5) of title 49, United States Code, increases incrementally each quarter until the requirement
of section 44901(g)(2)(B) of title 49 is met.

*2171

(b) Not later than 45 days after the end of each quarter, the Assistant Secretary shall submit to the Committees
on Appropriations of the Senate and the House of Representatives a report on air cargo inspection statistics by
airport and air carrier detailing the incremental progress being made to meet the requirement of section
44901(g)(2)(B) of title 49, United States Code.

(c) Not later than 180 days after the date of the enactment of this Act, the Assistant Secretary shall submit to the
Committees on Appropriations of the Senate and the House of Representatives, a report on how the Transporta-
tion Security Administration plans to meet the requirement for screening all air cargo on passenger aircraft by
the deadline under section 44901(g) of title 49, United States Code. The report shall identify the elements of the
system to screen 100 percent of cargo transported between domestic airports at a level of security commensurate
with the level of security for the screening of passenger checked baggage.




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 83 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 26




SEC. 515. Within 45 days after the end of each month, the Chief Financial Officer of the Department of Home-
land Security shall submit to the Committees on Appropriations of the Senate and the House of Representatives
a monthly budget and staffing report for that month that includes total obligations, on-board versus funded full-
time equivalent staffing levels, and the number of contract employees for each office of the Department.

SEC. 516. Except as provided in section 44945 of title 49, United States Code, funds appropriated or transferred
to Transportation Security Administration “Aviation Security”, “Administration” and “Transportation Security
Support” for fiscal years 2004, 2005, 2006, 2007, and 2008 that are recovered or deobligated shall be available
only for the procurement or installation of explosives detection systems, air cargo, baggage, and checkpoint
screening systems, subject to notification: Provided, That quarterly reports shall be submitted to the Committees
on Appropriations of the Senate and the House of Representatives on any funds that are recovered or deoblig-
ated.

SEC. 517. Any funds appropriated to Coast Guard “Acquisition, Construction, and Improvements” for fiscal
years 2002, 2003, 2004, 2005, and 2006 for the 110–123 foot patrol boat conversion that are recovered, collec-
ted, or otherwise received as the result of negotiation, mediation, or litigation, shall be available until expended
for the Replacement Patrol Boat (FRC–B) program.

SEC. 518. (a) None of the funds provided by this or any other Act may be obligated for the development, test-
ing, deployment, or operation of any portion of a human resources management system authorized by section
9701(a) of title 5, United States Code, or by regulations prescribed pursuant to such section, for an employee, as
that term is defined in section 7103(a)(2) of such title.


(b) The Secretary of Homeland Security shall collaborate with employee representatives in the manner pre-
scribed in section 9701(e) of title 5, United States Code, in the planning, testing, and development of any portion
of a human resources management system that is developed, tested, or deployed for persons excluded from the
definition of employee as that term is defined in section 7103(a)(2) of such title.

SEC. 519. Section 532(a) of Public Law 109–295 (120 Stat. 1384) is amended by striking “2009” and inserting
“2010”.

*2172

SEC. 520. The functions of the Federal Law Enforcement Training Center instructor staff shall be classified as
inherently governmental for the purpose of the Federal Activities Inventory Reform Act of 1998 (31 U.S.C. 501
note).

SEC. 521. (a) Except as provided in subsection (b), none of the funds appropriated in this or any other Act to the
Office of the Secretary and Executive Management, the Office of the Under Secretary for Management, or the
Office of the Chief Financial Officer, may be obligated for a grant or contract funded under such headings by
any means other than full and open competition.

(b) Subsection (a) does not apply to obligation of funds for a contract awarded--

    (1) by a means that is required by a Federal statute, including obligation for a purchase made under a man-
dated preferential program, including the AbilityOne Program, that is authorized under the
Javits–Wagner–O'Day Act (41 U.S.C. 46 et seq.);




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 84 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 27




    (2) pursuant to the Small Business Act (15 U.S.C. 631 et seq.);

     (3) in an amount less than the simplified acquisition threshold described under section 302A(a) of the Feder-
al Property and Administrative Services Act of 1949 (41 U.S.C. 252a(a)); or

    (4) by another Federal agency using funds provided through an interagency agreement.

(c)(1) Subject to paragraph (2), the Secretary of Homeland Security may waive the application of this section for
the award of a contract in the interest of national security or if failure to do so would pose a substantial risk to
human health or welfare.

(2) Not later than 5 days after the date on which the Secretary of Homeland Security issues a waiver under this
subsection, the Secretary shall submit notification of that waiver to the Committees on Appropriations of the
Senate and the House of Representatives, including a description of the applicable contract and an explanation
of why the waiver authority was used. The Secretary may not delegate the authority to grant such a waiver.

(d) In addition to the requirements established by subsections (a), (b), and (c) of this section, the Inspector Gen-
eral of the Department of Homeland Security shall review departmental contracts awarded through means other
than a full and open competition to assess departmental compliance with applicable laws and regulations:
Provided, That the Inspector General shall review selected contracts awarded in the previous fiscal year through
means other than a full and open competition: Provided further, That in selecting which contracts to review, the
Inspector General shall consider the cost and complexity of the goods and services to be provided under the con-
tract, the criticality of the contract to fulfilling Department missions, past performance problems on similar con-
tracts or by the selected vendor, complaints received about the award process or contractor performance, and
such other factors as the Inspector General deems relevant: Provided further, That the Inspector General shall
report the results of the reviews to the Committees on Appropriations of the Senate and the House of Represent-
atives no later than February 5, 2010.

SEC. 522. Except as provided in paragraphs (1) and (2) of this section, none of the funds provided by this or
previous appropriations Acts shall be used to fund any position designated as *2173 a Principal Federal Official,
or any successor position, for any Robert T. Stafford Disaster Relief and Emergency Assistance Act (42 U.S.C.
5121 et seq.) declared disasters or emergencies--

    (1) The Secretary of Homeland Security may waive the application of this section provided that any field
position appointed pursuant to this waiver shall not hold the title of Principal Federal Official, shall functionally
report through the Federal Coordinating Officer appointed under section 302 of the Robert T. Stafford Disaster
Relief and Emergency Assistance Act (42 U.S.C. 5143), and shall be subject to the provisions of subsection (c)
of section 319 of title 6, United States Code. The Secretary may not delegate the authority to grant such a
waiver.

     (2) Not later than 10 business days after the date on which the Secretary of Homeland Security issues a
waiver under this section, the Secretary shall submit notification of that waiver to the Committees on Appropri-
ations of the Senate and the House of Representatives, the Transportation and Infrastructure Committee of the
House of Representatives, and the Homeland Security and Governmental Affairs Committee of the Senate ex-
plaining the circumstances necessitating the waiver, describing the specific role of any officials appointed pursu-
ant to the waiver, and outlining measures taken to ensure compliance with subsection (c) of section 319 and sub-
sections (c)(3) and (c)(4)(A) of section 313 of title 6, United States Code.




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 85 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 28




SEC. 523. None of the funds made available in this or any other Act may be used to enforce section 4025(1) of
Public Law 108–458 unless the Assistant Secretary of Homeland Security (Transportation Security Administra-
tion) reverses the determination of July 19, 2007, that butane lighters are not a significant threat to civil aviation
security.

SEC. 524. Funds made available in this Act may be used to alter operations within the Civil Engineering Pro-
gram of the Coast Guard nationwide, including civil engineering units, facilities design and construction centers,
maintenance and logistics commands, and the Coast Guard Academy, except that none of the funds provided in
this Act may be used to reduce operations within any Civil Engineering Unit unless specifically authorized by a
statute enacted after the date of the enactment of this Act.

SEC. 525. None of the funds provided in this Act shall be available to carry out section 872 of the Homeland Se-
curity Act of 2002 (6 U.S.C. 452).

SEC. 526. None of the funds made available in this Act may be used by United States Citizenship and Immigra-
tion Services to grant an immigration benefit unless the results of background checks required by law to be com-
pleted prior to the granting of the benefit have been received by United States Citizenship and Immigration Ser-
vices, and the results do not preclude the granting of the benefit.

SEC. 527. None of the funds made available in this Act may be used to destroy or put out to pasture any horse or
other equine belonging to the Federal Government that has become unfit for service, unless the trainer or hand-
ler is first given the option to take possession of the equine through an adoption program that has safeguards
against slaughter and inhumane treatment.

*2174

SEC. 528. None of the funds provided in this Act under the heading “Office of the Chief Information Officer”
shall be used for data center development other than for Data Center One (National Center for Critical Informa-
tion Processing and Storage) until the Chief Information Officer certifies that Data Center One is fully utilized
as the Department's primary data storage center at the highest capacity throughout the fiscal year.

SEC. 529. None of the funds in this Act shall be used to reduce the United States Coast Guard's Operations Sys-
tems Center mission or its government-employed or contract staff levels.

SEC. 530. None of the funds appropriated by this Act may be used to conduct, or to implement the results of, a
competition under Office of Management and Budget Circular A–76 for activities performed with respect to the
Coast Guard National Vessel Documentation Center.

SEC. 531. Section 831 of the Homeland Security Act of 2002 (6 U.S.C. 391) is amended--

                                               << 6 USCA § 391 >>

    (1) in subsection (a), by striking “Until September 30, 2009” and inserting “Until September 30, 2010,”; and

                                               << 6 USCA § 391 >>

    (2) in subsection (d)(1), by striking “September 30, 2009,” and inserting “September 30, 2010,”.




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 86 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 29




SEC. 532. The Secretary of Homeland Security shall require that all contracts of the Department of Homeland
Security that provide award fees link such fees to successful acquisition outcomes (which outcomes shall be spe-
cified in terms of cost, schedule, and performance).

SEC. 533. None of the funds made available to the Office of the Secretary and Executive Management under
this Act may be expended for any new hires by the Department of Homeland Security that are not verified
through the basic pilot program (E–Verify Program) under section 401 of the Illegal Immigration Reform and
Immigrant Responsibility Act of 1996 (8 U.S.C. 1324a note).

SEC. 534. None of the funds made available in this Act for U.S. Customs and Border Protection may be used to
prevent an individual not in the business of importing a prescription drug (within the meaning of section 801(g)
of the Federal Food, Drug, and Cosmetic Act) from importing a prescription drug from Canada that complies
with the Federal Food, Drug, and Cosmetic Act: Provided, That this section shall apply only to individuals
transporting on their person a personal-use quantity of the prescription drug, not to exceed a 90–day supply:
Provided further, That the prescription drug may not be--

    (1) a controlled substance, as defined in section 102 of the Controlled Substances Act (21 U.S.C. 802); or

    (2) a biological product, as defined in section 351 of the Public Health Service Act (42 U.S.C. 262).

SEC. 535. None of the funds made available in this Act may be used by the Secretary of Homeland Security or
any delegate of the Secretary to issue any rule or regulation which implements the Notice of Proposed Rulemak-
ing related to Petitions for Aliens To Perform Temporary Nonagricultural Services or Labor (H–2B) set out be-
ginning on 70 Fed. Reg. 3984 (January 27, 2005).

SEC. 536. The Secretary of Homeland Security, in consultation with the Secretary of the Treasury, shall notify
the Committees on Appropriations of the Senate and the House of Representatives of any proposed transfers of
funds available under subsection (g)(4)(B) of title 31, Unites States Code (as added by Public Law *2175
102–393) from the Department of the Treasury Forfeiture Fund to any agency within the Department of Home-
land Security: Provided, That none of the funds identified for such a transfer may be obligated until the Commit-
tees on Appropriations of the Senate and the House of Representatives approve the proposed transfers.

SEC. 537. None of the funds made available in this Act may be used for planning, testing, piloting, or develop-
ing a national identification card.

SEC. 538. If the Assistant Secretary of Homeland Security (Transportation Security Administration) determines
that an airport does not need to participate in the basic pilot program (E–Verify Program) under section 402 of
the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (8 U.S.C. 1324a note), the Assistant
Secretary shall certify to the Committees on Appropriations of the Senate and the House of Representatives that
no security risks will result from such non-participation.

SEC. 539. (a) Notwithstanding any other provision of this Act, except as provided in subsection (b), and 30 days
after the date that the President determines whether to declare a major disaster because of an event and any ap-
peal is completed, the Administrator shall submit to the Committee on Homeland Security and Governmental
Affairs of the Senate, the Committee on Homeland Security of the House of Representatives, the Committee on
Transportation and Infrastructure of the House of Representatives, the Committees on Appropriations of the
Senate and the House of Representatives, and publish on the website of the Federal Emergency Management




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 87 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 30




Agency, a report regarding that decision, which shall summarize damage assessment information used to de-
termine whether to declare a major disaster.

(b) The Administrator may redact from a report under subsection (a) any data that the Administrator determines
would compromise national security.

(c) In this section--

       (1) the term “Administrator” means the Administrator of the Federal Emergency Management Agency; and

     (2) the term “major disaster” has the meaning given that term in section 102 of the Robert T. Stafford Dis-
aster Relief and Emergency Assistance Act (42 U.S.C. 5122).

SEC. 540. Notwithstanding any other provision of law, should the Secretary of Homeland Security determine
that the National Bio- and Agro-defense Facility be located at a site other than Plum Island, New York, the Sec-
retary shall have the Administrator of General Services sell through public sale all real and related personal
property and transportation assets which support Plum Island operations, subject to such terms and conditions as
necessary to protect government interests and meet program requirements: Provided, That the gross proceeds of
such sale shall be deposited as offsetting collections into the Department of Homeland Security Science and
Technology “Research, Development, Acquisition, and Operations” account and, subject to appropriation, shall
be available until expended, for site acquisition, construction, and costs related to the construction of the Nation-
al Bio- and Agro-defense Facility, including the costs associated with the sale, including due diligence require-
ments, necessary environmental remediation at Plum Island, and reimbursement of expenses incurred by the
General Services Administration which shall not exceed 1 percent of the sale price or $5,000,000, whichever is
greater: Provided further, That after *2176 the completion of construction and environmental remediation, the
unexpended balances of funds appropriated for costs in the preceding proviso shall be available for transfer to
the appropriate account for design and construction of a consolidated Department of Homeland Security
Headquarters project, excluding daily operations and maintenance costs, notwithstanding section 503 of this Act,
and the Committees on Appropriations of the Senate and the House of Representatives shall be notified 15 days
prior to such transfer.

SEC. 541. The explanatory statement referenced in section 4 of Public Law 110–161 for “National Predisaster
Mitigation Fund” under Federal Emergency Management Agency is deemed to be amended--

       (1) by striking “Dalton Fire District” and all that follows through “750,000” and inserting the following:

“Franklin Regional Council of Governments, MA....................250,000

Town of Lanesborough, MA....................175,000

University of Massachusetts, MA....................175,000”;

       (2) by striking “Santee and”;

       (3) by striking “3,000,000” and inserting “1,500,000”;

       (4) by inserting after the item relating to Adjutant General's Office of Emergency Preparedness the follow-
ing:




                             © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 88 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 31




“Town of Branchville, SC 1,500,000”;

        and

   (5) by striking “Public Works Department of the City of Santa Cruz, CA” and inserting “Monterey County
Water Resources Agency, CA”.

SEC. 542. Any official that is required by this Act to report or certify to the Committees on Appropriations of
the Senate and the House of Representatives may not delegate such authority to perform that act unless specific-
ally authorized herein.

                                             << 42 USCA § 5133 >>

SEC. 543. Section 203(m) of the Robert T. Stafford Disaster Relief and Emergency Assistance Act (42 U.S.C.
5133(m)) is amended by striking “September 30, 2009” and inserting “September 30, 2010”.

SEC. 544. (a) Not later than 3 months after the date of enactment of this Act, the Secretary of Homeland Secur-
ity shall consult with the Secretaries of Defense and Transportation and develop a concept of operations for un-
manned aircraft systems in the United States national airspace system for the purposes of border and maritime
security operations.

(b) The Secretary of Homeland Security shall report to the Committees on Appropriations of the Senate and the
House of Representatives not later than 30 days after the date of enactment of this Act on any foreseeable chal-
lenges to complying with subsection (a).

SEC. 545. From unobligated amounts that are available to the Coast Guard for fiscal year 2008 or 2009 for
“Acquisition, Construction, and Improvements” for shoreside facilities and aids to navigation at Coast Guard
Sector Buffalo, the Secretary of Homeland Security shall use such sums as may be necessary to make improve-
ments to the land along the northern portion of Sector *2177 Buffalo to enhance public access to the Buffalo
Lighthouse and the waterfront.

                                         << 5 USCA § 9701 NOTE >>

SEC. 546. For fiscal year 2010 and thereafter, the Secretary may provide to personnel appointed or assigned to
serve abroad, allowances and benefits similar to those provided under chapter 9 of title I of the Foreign Service
Act of 1990 (22 U.S.C. 4081 et seq.).

                                        << 8 USCA § 1324a NOTE >>

SEC. 547. Section 401(b) of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (8
U.S.C. 1324a note) is amended by striking “at the end of the 11–year period beginning on the first day the pilot
program is in effect.” and inserting “on September 30, 2012.”.

                                         << 8 USCA § 1153 NOTE >>

SEC. 548. Section 610(b) of the Departments of Commerce, Justice, and State, the Judiciary, and Related Agen-
cies Appropriations Act, 1993 (8 U.S.C. 1153 note) is amended by striking “for 15 years” and inserting “until
September 30, 2012”.




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 89 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 32




                                             << 8 USCA § 1254b >>

SEC. 549. (a) In addition to collection of registration fees described in section 244(c)(1)(B) of the Immigration
and Nationality Act (8 U.S.C. 1254a(c)(1)(B)), fees for fingerprinting services, biometric services, and other ne-
cessary services may be collected when administering the program described in section 244 of such Act.

(b) Subsection (a) shall be construed to apply for fiscal year 1998 and each fiscal year thereafter.

                                           << 6 USCA § 121 NOTE >>

SEC. 550. Section 550(b) of the Department of Homeland Security Appropriations Act, 2007 (Public Law
109–295; 6 U.S.C. 121 note) is amended by striking “three years after the date of enactment of this Act” and in-
serting “on October 4, 2010”.

                                          << 8 USCA § 1324a NOTE >>

SEC. 551. (a)(1) Sections 401(c)(1), 403(a), 403(b)(1), 403(c)(1), and 405(b)(2) of the Illegal Immigration Re-
form and Immigrant Responsibility Act of 1996 (division C of Public Law 104–208; 8 U.S.C. 1324a note) are
amended by striking “basic pilot program” each place that term appears and inserting “E-Verify Program”.

                                          << 8 USCA § 1324a NOTE >>

(2) The heading of section 403(a) of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996
is amended by striking “Basic Pilot” and inserting “E-Verify”.

                                          << 8 USCA § 1324a NOTE >>

(b) Section 404(h)(1) of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (Public Law
104–208; 8 U.S.C. 1324a note) is amended by striking “under a pilot program” and inserting “under this sub-
title”.

SEC. 552. (a) None of the funds made available in this or any other Act may be used to release an individual
who is detained, as of June 24, 2009, at Naval Station, Guantanamo Bay, Cuba, into the continental United
States, Alaska, Hawaii, or the District of Columbia, into any of the United States territories of Guam, American
Samoa (AS), the United States Virgin Islands (USVI), the Commonwealth of Puerto Rico and the Common-
wealth of the Northern Mariana Islands (CNMI).

(b) None of the funds made available in this or any other Act may be used to transfer an individual who is de-
tained, as of June 24, 2009, at Naval Station, Guantanamo Bay, Cuba, into the continental United States, Alaska,
Hawaii, or the District of Columbia, into any of the United States territories of Guam, American Samoa (AS),
the United States Virgin Islands (USVI), the Commonwealth of Puerto Rico and the Commonwealth of the
Northern Mariana Islands (CNMI), for the purpose of detention, except as provided in subsection (c).

*2178

(c) None of the funds made available in this or any other Act may be used to transfer an individual who is de-
tained, as of June 24, 2009, at Naval Station, Guantanamo Bay, Cuba, into the continental United States, Alaska,
Hawaii, or the District of Columbia, into any of the United States territories of Guam, American Samoa (AS),




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 90 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 33




the United States Virgin Islands (USVI), the Commonwealth of Puerto Rico and the Commonwealth of the
Northern Mariana Islands (CNMI), for the purposes of prosecuting such individual, or detaining such individual
during legal proceedings, until 45 days after the plan described in subsection (d) is received.

(d) The President shall submit to Congress, in classified form, a plan regarding the proposed disposition of any
individual covered by subsection (c) who is detained as of June 24, 2009. Such plan shall include, at a minimum,
each of the following for each such individual:

    (1) A determination of the risk that the individual might instigate an act of terrorism within the continental
United States, Alaska, Hawaii, the District of Columbia, or the United States territories if the individual were so
transferred.

     (2) A determination of the risk that the individual might advocate, coerce, or incite violent extremism, ideo-
logically motivated criminal activity, or acts of terrorism, among inmate populations at incarceration facilities
within the continental United States, Alaska, Hawaii, the District of Columbia, or the United States territories if
the individual were transferred to such a facility.

    (3) The costs associated with transferring the individual in question.

    (4) The legal rationale and associated court demands for transfer.

    (5) A plan for mitigation of any risks described in paragraphs (1), (2), and (7).

     (6) A copy of a notification to the Governor of the State to which the individual will be transferred, to the
Mayor of the District of Columbia if the individual will be transferred to the District of Columbia, or to any
United States territories with a certification by the Attorney General of the United States in classified form at
least 14 days prior to such transfer (together with supporting documentation and justification) that the individual
poses little or no security risk to the United States.

     (7) An assessment of any risk to the national security of the United States or its citizens, including members
of the Armed Services of the United States, that is posed by such transfer and the actions taken to mitigate such
risk.

(e) None of the funds made available in this or any other Act may be used to transfer or release an individual de-
tained at Naval Station, Guantanamo Bay, Cuba, as of June 24, 2009, to the country of such individual's nation-
ality or last habitual residence or to any other country other than the United States or to a freely associated State,
unless the President submits to the Congress, in classified form, at least 15 days prior to such transfer or release,
the following information:

    (1) The name of any individual to be transferred or released and the country or the freely associated State to
which such individual is to be transferred or released.

*2179

     (2) An assessment of any risk to the national security of the United States or its citizens, including members
of the Armed Services of the United States, that is posed by such transfer or release and the actions taken to mit-
igate such risk.




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 91 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 34




    (3) The terms of any agreement with the country or the freely associated State for the acceptance of such in-
dividual, including the amount of any financial assistance related to such agreement.

(f) None of the funds made available in this Act may be used to provide any immigration benefit (including a
visa, admission into the United States or any of the United States territories, parole into the United States or any
of the United States territories (other than parole for the purposes of prosecution and related detention), or clas-
sification as a refugee or applicant for asylum) to any individual who is detained, as of June 24, 2009, at Naval
Station, Guantanamo Bay, Cuba.

(g) In this section, the term “freely associated States” means the Federated States of Micronesia (FSM), the Re-
public of the Marshall Islands (RMI), and the Republic of Palau.

(h) Prior to the termination of detention operations at Naval Station, Guantanamo Bay, Cuba, the President shall
submit to the Congress a report in classified form describing the disposition or legal status of each individual de-
tained at the facility as of the date of enactment of this Act.

                                             << 49 USCA § 44903 >>

SEC. 553. Section 44903(j)(2)(C) of title 49, United States Code, is amended by adding at the end the following
new clause:

             “(v) INCLUSION OF DETAINEES ON NO FLY LIST.--The Assistant Secretary, in coordination
with the Terrorist Screening Center, shall include on the No Fly List any individual who was a detainee held at
the Naval Station, Guantanamo Bay, Cuba, unless the President certifies in writing to Congress that the detainee
poses no threat to the United States, its citizens, or its allies. For purposes of this clause, the term ‘detainee’
means an individual in the custody or under the physical control of the United States as a result of armed con-
flict.”.

                                              << 6 USCA § 469a >>

SEC. 554. For fiscal year 2010 and thereafter, the Secretary of Homeland Security may collect fees from any
non-Federal participant in a conference, seminar, exhibition, symposium, or similar meeting conducted by the
Department of Homeland Security in advance of the conference, either directly or by contract, and those fees
shall be credited to the appropriation or account from which the costs of the conference, seminar, exhibition,
symposium, or similar meeting are paid and shall be available to pay the costs of the Department of Homeland
Security with respect to the conference or to reimburse the Department for costs incurred with respect to the
conference: Provided, That in the event the total amount of fees collected with respect to a conference exceeds
the actual costs of the Department of Homeland Security with respect to the conference, the amount of such ex-
cess shall be deposited into the Treasury as miscellaneous receipts: Provided further, That the Secretary shall
provide a report to the Committees on Appropriations of the Senate and the House of Representatives not later
than January 5, 2011, providing the level of collections and a *2180 summary by agency of the purposes and
levels of expenditures for the prior fiscal year, and shall report annually thereafter.

SEC. 555. For purposes of section 210C of the Homeland Security Act of 2002 (6 U.S.C. 124j) a rural area shall
also include any area that is located in a metropolitan statistical area and a county, borough, parish, or area un-
der the jurisdiction of an Indian tribe with a population of not more than 50,000.




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 92 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 35




SEC. 556. None of the funds made available in this Act may be used for first-class travel by the employees of
agencies funded by this Act in contravention of sections 301–10.122 through 301.10–124 of title 41, Code of
Federal Regulations.

SEC. 557. None of the funds made available in this Act may be used to propose or effect a disciplinary or ad-
verse action, with respect to any Department of Homeland Security employee who engages regularly with the
public in the performance of his or her official duties solely because that employee elects to utilize protective
equipment or measures, including but not limited to surgical masks, N95 respirators, gloves, or hand-sanitizers,
where use of such equipment or measures is in accord with Department of Homeland Security policy, and Cen-
ters for Disease Control and Prevention and Office of Personnel Management guidance.

SEC. 558. None of the funds made available in this Act may be used to employ workers described in section
274A(h)(3) of the Immigration and Nationality Act (8 U.S.C. 1324a(h)(3)).

SEC. 559. (a) Subject to subsection (b), none of the funds appropriated or otherwise made available by this Act
may be available to operate the Loran–C signal after January 4, 2010.

(b) The limitation in subsection (a) shall take effect only if:

    (1) the Commandant of the Coast Guard certifies that the termination of the operation of the Loran–C signal
as of the date specified in subsection (a) will not adversely impact the safety of maritime navigation; and

    (2) the Secretary of Homeland Security certifies that the Loran–C system infrastructure is not needed as a
backup to the Global Positioning System or to meet any other Federal navigation requirement.

(c) If the certifications described in subsection (b) are made, the Coast Guard shall, commencing January 4,
2010, terminate the operation of the Loran–C signal and commence a phased decommissioning of the Loran–C
system infrastructure.

(d) Not later than 30 days after such certifications pursuant to subsection (b), the Commandant shall submit to
the Committees on Appropriations of the Senate and House of Representatives a report setting forth a proposed
schedule for the phased decommissioning of the Loran–C system infrastructure in the event of the decommis-
sioning of such infrastructure in accordance with subsection (c).

(e) If the certifications described in subsection (b) are made, the Secretary of Homeland Security, acting through
the Commandant of the Coast Guard, may, notwithstanding any other provision of law, sell any real and person-
al property under the administrative control of the Coast Guard and used for the Loran–C system, by directing
the Administrator of General Services to sell such real and personal property, subject to such terms and condi-
tions that the Secretary believes to be necessary to protect government interests and program requirements of the
Coast Guard: Provided, That the proceeds, less the costs of sale incurred by the General *2181 Services Admin-
istration, shall be deposited as offsetting collections into the Coast Guard “Environmental Compliance and Res-
toration” account and, subject to appropriation, shall be available until expended for environmental compliance
and restoration purposes associated with the Loran–C system, for the costs of securing and maintaining equip-
ment that may be used as a backup to the Global Positioning System or to meet any other Federal navigation re-
quirement, for the demolition of improvements on such real property, and for the costs associated with the sale
of such real and personal property, including due diligence requirements, necessary environmental remediation,
and reimbursement of expenses incurred by the General Services Administration: Provided further, That after




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 93 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 36




the completion of such activities, the unexpended balances shall be available for any other environmental com-
pliance and restoration activities of the Coast Guard.

SEC. 560. (a) None of the funds made available by this Act may be obligated for construction of the National
Bio- and Agro-defense Facility on the United States mainland until 30 days after the later of:

     (1) the date on which the Secretary of Homeland Security submits to the Committee on Appropriations of
the Senate and the House of Representatives a site–specific bio–safety and bio–security mitigation risk assess-
ment, which includes an integrated set of analyses using plume modeling and epidemiologic impact modeling, to
determine the requirements necessary to ensure safe operation of the National Bio- and Agro-defense Facility at
the approved Manhattan, Kansas, site identified in the January 16, 2009, record of decision published in Federal
Register Vol. 74, Number 11, and the results of the National Academy of Sciences' review of the risk assessment
as described in paragraph (b): Provided, That the integrated set of analyses is to determine the extent of the dis-
persion of the foot-and-mouth virus following a potential laboratory spill, the potential spread of foot-and-mouth
disease in the surrounding susceptible animal population, and its economic impact: Provided further, That the
integrated set of analyses should also take into account specific local, State, and national risk mitigation
strategies; or

   (2) the date on which the Secretary of Homeland Security, in coordination with the Secretary of Agriculture,
submits to the Committees on Appropriations of the Senate and the House of Representatives a report that:

         (A) describes the procedure that will be used to issue the permit to conduct foot-and-mouth disease live
virus research under section 7524 of the Food, Conservation, and Energy Act of 2008 (21 U.S.C. 113a note;
Public Law 110–246); and

         (B) includes plans to establish an emergency response plan with city, regional, and State officials in the
event of an accidental release of foot-and-mouth disease or another hazardous pathogen.

(b) With regard to the integrated set of analyses included in the mitigation risk assessment required under para-
graph (a)(1), the Secretary of Homeland Security shall enter into a contract with the National Academy of Sci-
ences to evaluate the mitigation risk assessment required by subsection (a)(1) of this section and to submit a Let-
ter Report: Provided, That such contract shall be *2182 entered into within 90 days from the date of enactment
of this Act, and the National Academy of Sciences shall complete its assessment and submit its Letter Report
within four months after the date the Department of Homeland Security concludes the risk assessment.

                                          << 46 USCA § 101 NOTE >>

SEC. 561. (a) SHORT TITLE.--This section may be cited as the “American Communities' Right to Public In-
formation Act”.

                                             << 46 USCA § 70103 >>

(b) IN GENERAL.--Section 70103(d) of title 46, United States Code, is amended to read as follows:

“(d) NONDISCLOSURE OF INFORMATION.--

    “(1) IN GENERAL.--Information developed under this section or sections 70102, 70104, and 70108 is not
required to be disclosed to the public, including--




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 94 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 37




         “(A) facility security plans, vessel security plans, and port vulnerability assessments; and

        “(B) other information related to security plans, procedures, or programs for vessels or facilities author-
ized under this section or sections 70102, 70104, and 70108.

     “(2) LIMITATIONS.--Nothing in paragraph (1) shall be construed to authorize the designation of informa-
tion as sensitive security information (as defined in section 1520.5 of title 49, Code of Federal Regulations)--

         “(A) to conceal a violation of law, inefficiency, or administrative error;

         “(B) to prevent embarrassment to a person, organization, or agency;

         “(C) to restrain competition; or

         “(D) to prevent or delay the release of information that does not require protection in the interest of
transportation security, including basic scientific research information not clearly related to transportation secur-
ity.”.

(c) CONFORMING AMENDMENTS.--

                                              << 49 USCA § 114 >>

    (1) Section 114(r) of title 49, United States Code, is amended by adding at the end thereof the following:

    “(4) LIMITATIONS.--Nothing in this subsection, or any other provision of law, shall be construed to au-
thorize the designation of information as sensitive security information (as defined in section 1520.5 of title 49,
Code of Federal Regulations)--

         “(A) to conceal a violation of law, inefficiency, or administrative error;

         “(B) to prevent embarrassment to a person, organization, or agency;

         “(C) to restrain competition; or

         “(D) to prevent or delay the release of information that does not require protection in the interest of
transportation security, including basic scientific research information not clearly related to transportation secur-
ity.”.

                                             << 49 USCA § 40119 >>

    (2) Section 40119(b) of title 49, United States Code, is amended by adding at the end thereof the following:

     “(3) Nothing in paragraph (1) shall be construed to authorize the designation of information as sensitive se-
curity information (as defined in section 15.5 of title 49, Code of Federal Regulations)--

         “(A) to conceal a violation of law, inefficiency, or administrative error;

         “(B) to prevent embarrassment to a person, organization, or agency;

*2183




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 95 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 38




         “(C) to restrain competition; or

         “(D) to prevent or delay the release of information that does not require protection in the interest of
transportation security, including basic scientific research information not clearly related to transportation secur-
ity.”.

SEC. 562. Section 4 of the Act entitled “An Act to prohibit the introduction, or manufacture for introduction, in-
to interstate commerce of switchblade knives, and for other purposes” (commonly known as the Federal
Switchblade Act) (15 U.S.C. 1244) is amended--

                                               << 15 USCA § 1244 >>

    (1) by striking “or” at the end of paragraph (3);

                                               << 15 USCA § 1244 >>

    (2) by striking the period at the end of paragraph (4) and inserting “; or” and

                                               << 15 USCA § 1244 >>

    (3) by adding at the end the following:

     “(5) a knife that contains a spring, detent, or other mechanism designed to create a bias toward closure of
the blade and that requires exertion applied to the blade by hand, wrist, or arm to overcome the bias toward clos-
ure to assist in opening the knife.”.

SEC. 563. (a) APPLICABLE ANNUAL PERCENTAGE RATE OF INTEREST.--Section 44(f)(1) of the Federal
Deposit Insurance Act (12 U.S.C. 1831u(f)(1)) is amended--

                                               << 12 USCA § 1831u >>

     (1) in the matter preceding subparagraph (A), by inserting “(or in the case of a governmental entity located
in such State, paid)” after “received, or reserved”; and

    (2) in subparagraph (B)--

                                               << 12 USCA § 1831u >>

         (A) in the matter preceding clause (i), by striking “nondepository institution operating in such State”
and inserting “governmental entity located in such State or any person that is not a depository institution de-
scribed in subparagraph (A) doing business in such State”;

                                               << 12 USCA § 1831u >>

         (B) by redesignating clause (ii) as clause (iii);

         (C) in clause (i)--

             (i) in subclause (III)--




                               © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 96 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 39




                                              << 12 USCA § 1831u >>

                 (I) in item (aa), by adding “and” at the end;

                                              << 12 USCA § 1831u >>

                 (II) in item (bb), by striking “, to facilitate” and all that follows through “2009”; and

                                              << 12 USCA § 1831u >>

                 (III) by striking item (cc); and

                                              << 12 USCA § 1831u >>

             (ii) by adding after subclause (III) the following:

               “(IV) the uniform accessibility of bonds and obligations issued under the American Recovery
and Reinvestment Act of 2009;”; and

                                              << 12 USCA § 1831u >>

        (D) by inserting after clause (i) the following:

             “(ii) to facilitate interstate commerce through the issuance of bonds and obligations under any pro-
vision of State law, including bonds and obligations for the purpose of economic development, education, and
improvements to infrastructure; and”.

(b) RULE OF CONSTRUCTION.--Section 44(f)(2) of the Federal Deposit Insurance Act (12 U.S.C.
1831u(f)(2)) is amended--

                                              << 12 USCA § 1831u >>

                                              << 12 USCA § 1831u >>

    (1) by redesignating subparagraphs (A) and (B) as clauses (i) and (ii), respectively, and moving the margins
2 ems to the right;

                                              << 12 USCA § 1831u >>

    (2) by striking “No provision” and inserting the following:

        “(A) IN GENERAL.--No provision”; and

    (3) by adding at the end the following:

*2184

                                              << 12 USCA § 1831u >>

        “(B) APPLICABILITY.--This subsection shall be construed to apply to any loan or discount made, or




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 97 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 40




note, bill of exchange, financing transaction, or other evidence of debt, originated by an insured depository insti-
tution, a governmental entity located in such State, or a person that is not a depository institution described in
subparagraph (A) doing business in such State.”.

                                            << 12 USCA § 1831u NOTE >>

(c) EFFECTIVE PERIOD.--The amendments made by this section shall apply with respect to contracts consum-
mated during the period beginning on the date of enactment of this Act and ending on December 31, 2010.

                                             << 5 USCA § 101 NOTE >>

SEC. 564. (a) SHORT TITLE.--This section may be cited as the “OPEN FOIA Act of 2009”.

                                                 << 5 USCA § 552 >>

(b) SPECIFIC CITATIONS IN STATUTORY EXEMPTIONS.--Section 552(b) of title 5, United States Code, is
amended by striking paragraph (3) and inserting the following:

      “(3) specifically exempted from disclosure by statute (other than section 552b of this title), if that statute--

         “(A)(i) requires that the matters be withheld from the public in such a manner as to leave no discretion
on the issue; or

          “(ii) establishes particular criteria for withholding or refers to particular types of matters to be withheld;
and

        “(B) if enacted after the date of enactment of the OPEN FOIA Act of 2009, specifically cites to this
paragraph.”.

                                             << 5 USCA § 552 NOTE >>

SEC. 565. (a) SHORT TITLE.--This section may be cited as the “Protected National Security Documents Act of
2009”.

(b) Notwithstanding any other provision of the law to the contrary, no protected document, as defined in subsec-
tion (c), shall be subject to disclosure under section 552 of title 5, United States Code or any proceeding under
that section.

(c) DEFINITIONS.--In this section:

      (1) PROTECTED DOCUMENT.--The term “protected document” means any record--

         (A) for which the Secretary of Defense has issued a certification, as described in subsection (d), stating
that disclosure of that record would endanger citizens of the United States, members of the United States Armed
Forces, or employees of the United States Government deployed outside the United States; and

          (B) that is a photograph that--

               (i) was taken during the period beginning on September 11, 2001, through January 22, 2009; and




                             © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 98 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 41




           (ii) relates to the treatment of individuals engaged, captured, or detained after September 11, 2001,
by the Armed Forces of the United States in operations outside of the United States.

    (2) PHOTOGRAPH.--The term “photograph” encompasses all photographic images, whether originals or
copies, including still photographs, negatives, digital images, films, video tapes, and motion pictures.

(d) CERTIFICATION.--

    (1) IN GENERAL.--For any photograph described under subsection (c)(1), the Secretary of Defense shall
issue a certification if the Secretary of Defense determines that disclosure of that *2185 photograph would en-
danger citizens of the United States, members of the United States Armed Forces, or employees of the United
States Government deployed outside the United States.

    (2) CERTIFICATION EXPIRATION.--A certification and a renewal of a certification issued pursuant to
subsection (d)(3) shall expire 3 years after the date on which the certification or renewal, is issued by the Secret-
ary of Defense.

    (3) CERTIFICATION RENEWAL.--The Secretary of Defense may issue--

         (A) a renewal of a certification at any time; and

         (B) more than 1 renewal of a certification.

     (4) NOTICE TO CONGRESS.--The Secretary of Defense shall provide Congress a timely notice of the Sec-
retary's issuance of a certification and of a renewal of a certification.

(e) RULE OF CONSTRUCTION.--Nothing in this section shall be construed to preclude the voluntary disclos-
ure of a protected document.

(f) EFFECTIVE DATE.--This section shall take effect on the date of enactment of this Act and apply to any pro-
tected document.

SEC. 566. The administrative law judge annuitants participating in the Senior Administrative Law Judge Pro-
gram managed by the Director of the Office of Personnel Management under section 3323 of title 5, United
States Code, shall be available on a temporary reemployment basis to conduct arbitrations of disputes as part of
the arbitration panel established by the President under section 601 of division A of the American Recovery and
Reinvestment Act of 2009 (Public Law 111–5; 123 Stat. 164).

SEC. 567. (a) IN GENERAL.--Any company that collects or retains personal information directly from indi-
viduals who participated in the Registered Traveler program shall safeguard and dispose of such information in
accordance with the requirements in--

   (1) the National Institute for Standards and Technology Special Publication 800–30, entitled “Risk Manage-
ment Guide for Information Technology Systems”; and

   (2) the National Institute for Standards and Technology Special Publication 800–53, Revision 3, entitled
“Recommended Security Controls for Federal Information Systems and Organizations,”;

    (3) any supplemental standards established by the Assistant Secretary, Transportation Security Administra-




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 99 of 114
PL 111-83, October 28, 2009, 123 Stat 2142                               Page 42




tion (referred to in this section as the “Assistant Secretary”).

(b) CERTIFICATION.--The Assistant Secretary shall require any company through the sponsoring entity de-
scribed in subsection (a) to provide, not later than 30 days after the date of the enactment of this Act, written
certification to the sponsoring entity that such procedures are consistent with the minimum standards established
under paragraph (a)(1–3) with a description of the procedures used to comply with such standards.

(c) REPORT.--Not later than 90 days after the date of the enactment of this Act, the Assistant Secretary shall
submit a report to Congress that--

    (1) describes the procedures that have been used to safeguard and dispose of personal information collected
through the Registered Traveler program; and

     (2) provides the status of the certification by any company described in subsection (a) that such procedures
are consistent *2186 with the minimum standards established by paragraph (a)(1–3).

SEC. 568. (a) SPECIAL IMMIGRANT NONMINISTER RELIGIOUS WORKER PROGRAM AND OTHER
IMMIGRATION PROGRAMS.--

                                               << 8 USCA § 1101 >>

    (1) EXTENSION.--Subclauses (II) and (III) of section 101(a)(27)(C)(ii) of the Immigration and Nationality
Act (8 U.S.C. 1101(a)(27)(C)(ii)) are amended by striking “September 30, 2009,” each place such term appears
and inserting “September 30, 2012,”.

    (2) STUDY AND PLAN.--Not later than 180 days after the date of the enactment of this Act, the Director of
United States Citizenship and Immigration Services shall submit a report to the Committee on the Judiciary of
the Senate and the Committee on the Judiciary of the House of Representatives that includes--

         (A) the results of a study conducted under the supervision of the Director to evaluate the Special Im-
migrant Nonminister Religious Worker Program to identify the risks of fraud and noncompliance by program
participants; and

        (B) a detailed plan that describes the actions to be taken by United States Citizenship and Immigration
Services to improve the integrity of the program.

     (3) PROGRESS REPORT.--Not later than 240 days after the submission of the report under paragraph (2),
the Director of United States Citizenship and Immigration Services shall submit a report to the Committee on
the Judiciary of the Senate and the Committee on the Judiciary of the House of Representatives that describes
the progress made in implementing the plan described in clause (a)(2)(B) of this section.

                                            << 8 USCA § 1182 NOTE >>

(b) CONRAD STATE 30 J–1 VISA WAIVER PROGRAM.--Section 220(c) of the Immigration and Nationality
Technical Corrections Act of 1994 (8 U.S.C. 1182 note) is amended by striking “September 30, 2009” and in-
serting “September 30, 2012”.

(c) RELIEF FOR SURVIVING SPOUSES.--




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 100 of Page
PL 111-83, October 28, 2009, 123 Stat 2142
                                                                         11443




                                               << 8 USCA § 1151 >>

    (1) IN GENERAL.--The second sentence of section 201(b)(2)(A)(i) of the Immigration and Nationality Act
(8 U.S.C. 1151(b)(2)(A)(i)) is amended by striking “for at least 2 years at the time of the citizen's death”.

                                           << 8 USCA § 1151 NOTE >>

    (2) APPLICABILITY.--

         (A) IN GENERAL.--The amendment made by paragraph (1) shall apply to all applications and petitions
relating to immediate relative status under section 201(b)(2)(A)(i) of the Immigration and Nationality Act (8
U.S.C. 1151(b)(2)(A)(i)) pending on or after the date of the enactment of this Act.

         (B) TRANSITION CASES.--

              (i) IN GENERAL.--Notwithstanding any other provision of law, an alien described in clause (ii)
who seeks immediate relative status pursuant to the amendment made by paragraph (1) shall file a petition under
section 204(a)(1)(A)(ii) of the Immigration and Nationality Act (8 U.S.C. 1154(a)(1)(A)(ii)) not later than the
date that is 2 years after the date of the enactment of this Act.

             (ii) ALIENS DESCRIBED.--An alien is described in this clause if--

*2187

                  (I) the alien's United States citizen spouse died before the date of the enactment of this Act;

                  (II) the alien and the citizen spouse were married for less than 2 years at the time of the citizen
spouse's death; and

                  (III) the alien has not remarried.

(d) SURVIVING RELATIVE CONSIDERATION FOR CERTAIN PETITIONS AND APPLICATIONS.--

                                               << 8 USCA § 1154 >>

    (1) AMENDMENT.--Section 204 of the Immigration and Nationality Act (8 U.S.C. 1154) is amended by
adding at the end the following:

“(l) SURVIVING RELATIVE CONSIDERATION FOR CERTAIN PETITIONS AND APPLICATIONS.--

     “(1) IN GENERAL.--An alien described in paragraph (2) who resided in the United States at the time of the
death of the qualifying relative and who continues to reside in the United States shall have such petition de-
scribed in paragraph (2), or an application for adjustment of status to that of a person admitted for lawful per-
manent residence based upon the family relationship described in paragraph (2), and any related applications,
adjudicated notwithstanding the death of the qualifying relative, unless the Secretary of Homeland Security de-
termines, in the unreviewable discretion of the Secretary, that approval would not be in the public interest.

    “(2) ALIEN DESCRIBED.--An alien described in this paragraph is an alien who, immediately prior to the
death of his or her qualifying relative, was--




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 101 of Page
PL 111-83, October 28, 2009, 123 Stat 2142
                                                                         11444




         “(A) the beneficiary of a pending or approved petition for classification as an immediate relative (as de-
scribed in section 201(b)(2)(A)(i));

            “(B) the beneficiary of a pending or approved petition for classification under section 203 (a) or (d);

         “(C) a derivative beneficiary of a pending or approved petition for classification under section 203(b)
(as described in section 203(d));

            “(D) the beneficiary of a pending or approved refugee/asylee relative petition under section 207 or 208;

       “(E) an alien admitted in ‘T’ nonimmigrant status as described in section 101(a)(15)(T)(ii) or in ‘U’
nonimmigrant status as described in section 101(a)(15)(U)(ii); or

            “(F) an asylee (as described in section 208(b)(3)).”.

                                             << 8 USCA § 1154 NOTE >>

     (2) CONSTRUCTION.--Nothing in the amendment made by paragraph (1) may be construed to limit or
waive any ground of removal, basis for denial of petition or application, or other criteria for adjudicating peti-
tions or applications as otherwise provided under the immigration laws of the United States other than ineligibil-
ity based solely on the lack of a qualifying family relationship as specifically provided by such amendment.

                                                << 8 USCA § 1183a >>

(e) CONFORMING AMENDMENT TO AFFIDAVIT OF SUPPORT REQUIREMENT.--Section 213A(f)(5) of
the Immigration and Nationality Act (8 U.S.C. 1183a(5)) is amended by striking clauses (i) and (ii) and insert-
ing:

             “(i) the individual petitioning under section 204 of this Act for the classification of such alien died
after the approval of such petition, and the Secretary of Homeland Security has determined for humanitarian
*2188 reasons that revocation of such petition under section 205 would be inappropriate; or

                “(ii) the alien's petition is being adjudicated pursuant to section 204(l) (surviving relative consider-
ation).”.

SEC. 569. Notwithstanding any other provision of this Act, none of the funds appropriated or otherwise made
available by this Act may be used to pay award or incentive fees for contractor performance that has been
judged to be below satisfactory performance or performance that does not meet the basic requirements of a con-
tract.

SEC. 570. None of the funds appropriated or otherwise made available by this Act may be used by the Depart-
ment of Homeland Security to enter into any federal contract unless such contract is entered into in accordance
with the requirements of the Federal Property and Administrative Services Act of 1949 (41 U.S.C. 253) or
Chapter 137 of title 10, United States Code, and the Federal Acquisition Regulation, unless such contract is oth-
erwise authorized by statute to be entered into without regard to the above referenced statutes.

SEC. 571. (a) Funds made available by this Act solely for data center migration may be transferred by the Sec-
retary between appropriations for the same purpose, notwithstanding section 503 of this Act.




                              © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 102 of Page
PL 111-83, October 28, 2009, 123 Stat 2142
                                                                         11445




(b) No transfer described in (a) shall occur until 15 days after the Committees on Appropriations of the Senate
and the House and Representatives are notified of such transfer.

SEC. 572. Specific projects contained in the report of the Committee on Appropriations of the House of Repres-
entatives accompanying this Act (H. Rept. 111–157) that are considered congressional earmarks for purposes of
clause 9 of rule XXI of the Rules of the House of Representatives, when intended to be awarded to a for-profit
entity, shall be awarded under a full and open competition.

SEC. 573. From unobligated balances for fiscal year 2009 made available for Federal Emergency Management
Agency “Trucking Industry Security Grants”, $5,572,000 are rescinded.

SEC. 574. From the unobligated balances of prior year appropriations made available for “Analysis and Opera-
tions”, $2,358,000 are rescinded.

SEC. 575. From the unobligated balances of prior year appropriations made available for National Protection
and Programs Directorate “Infrastructure Protection and Information Security”, $8,000,000 are rescinded.

SEC. 576. From the unobligated balances of prior year appropriations made available for Science and Techno-
logy “Research, Development, Acquisition, and Operations”, $6,944,148 are rescinded.

SEC. 577. From the unobligated balances of prior year appropriations made available for Domestic Nuclear De-
tection Office “Research, Development, and Operations”, $8,000,000 are rescinded.

SEC. 578. From the unobligated balances of prior year appropriations made available for Transportation Secur-
ity Administration “Research and Development”, $4,000,000 are rescinded.

SEC. 579. From the unobligated balances of prior year appropriations made available for Coast Guard
“Acquisition, Construction, and Improvements”, $800,000 are rescinded: Provided, That these rescissions shall
be taken from completed projects.

*2189

SEC. 580. Of the amounts available under the heading “Counterterrorism Fund”, $5,600,000 are rescinded.

This Act may be cited as the “Department of Homeland Security Appropriations Act, 2010”.

Approved October 28, 2009.

PL 111-83, 2009 HR 2892

END OF DOCUMENT




                         © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 103 of 114




                                   7
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 104 of 114

8 C.F.R. § 274a.12                                                                                       Page 1




                                                               (2) An alien admitted to the United States as a
                                                               lawful temporary resident pursuant to sections
                                                               245A or 210 of the Act, as evidenced by an
          Effective: November 28, 2011
                                                               employment authorization document issued by
Code of Federal Regulations Currentness                        the Service;
 Title 8. Aliens and Nationality
   Chapter I. Department of Homeland Security                  (3) An alien admitted to the United States as a
   (Refs & Annos)                                              refugee pursuant to section 207 of the Act for
      Subchapter B. Immigration Regulations                    the period of time in that status, as evidenced
           Part 274A. Control of Employment of                 by an employment authorization document is-
        Aliens (Refs & Annos)                                  sued by the Service;
              Subpart B. Employment Authoriza-
          tion
                § 274a.12 Classes of aliens au-                (4) An alien paroled into the United States as a
             thorized to accept employment.                    refugee for the period of time in that status, as
                                                               evidenced by an employment authorization
(a) Aliens authorized employment incident to                   document issued by the Service;
status. Pursuant to the statutory or regulatory refer-
ence cited, the following classes of aliens are au-
                                                               (5) An alien granted asylum under section 208
thorized to be employed in the United States
                                                               of the Act for the period of time in that status,
without restrictions as to location or type of em-
                                                               as evidenced by an employment authorization
ployment as a condition of their admission or sub-
                                                               document, issued by USCIS to the alien. An
sequent change to one of the indicated classes. Any
                                                               expiration date on the employment authoriza-
alien who is within a class of aliens described in
                                                               tion document issued by USCIS reflects only
paragraphs      (a)(3),      (a)(4),    (a)(6)–(a)(8),
                                                               that the document must be renewed, and not
(a)(10)–(a)(15), or (a)(20) of this section, and who
                                                               that the bearer's work authorization has ex-
seeks to be employed in the United States, must ap-
                                                               pired. Evidence of employment authorization
ply to U.S. Citizenship and Immigration Services
                                                               shall be granted in increments not exceeding 5
(USCIS) for a document evidencing such employ-
                                                               years for the period of time the alien remains in
ment authorization. USCIS may, in its discretion,
                                                               that status.
determine the validity period assigned to any docu-
ment issued evidencing an alien's authorization to
work in the United States.                                     (6) An alien admitted to the United States as a
                                                               nonimmigrant fiancé or fiancée pursuant to
                                                               section 101(a)(15)(K)(i) of the Act, or an alien
    (1) An alien who is a lawful permanent resid-
                                                               admitted as a child of such alien, for the period
    ent (with or without conditions pursuant to sec-
                                                               of admission in that status, as evidenced by an
    tion 216 of the Act), as evidenced by Form
                                                               employment authorization document issued by
    I–551 issued by the Service. An expiration date
                                                               the Service;
    on the Form I–551 reflects only that the card
    must be renewed, not that the bearer's work au-
    thorization has expired;                                   (7) An alien admitted as a parent (N–8) or de-
                                                               pendent child (N–9) of an alien granted per-




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 105 of 114
8 C.F.R. § 274a.12                                                       Page 2




    manent residence under section 101(a)(27)(I)              ployment authorization document issued by
    of the Act, as evidenced by an employment au-             the Service;
    thorization document issued by the Service;

                                                              (14) An alien granted Family Unity benefits
    (8) An alien admitted to the United States as a           under section 1504 of the Legal Immigrant
    nonimmigrant pursuant to the Compact of Free              Family Equity (LIFE) Act Amendments, Public
    Association between the United States and of              Law 106–554, and the provisions of 8 CFR part
    the Federated States of Micronesia, the Repub-            245a, Subpart C of this chapter, as evidenced
    lic of the Marshall Islands, or the Republic of           by an employment authorization document is-
    Palau;                                                    sued by the Service;


    (9) Any alien admitted as a nonimmigrant                  (15) Any alien in V nonimmigrant status as
    spouse pursuant to section 101(a)(15)(K)(ii) of           defined in section 101(a)(15)(V) of the Act and
    the Act, or an alien admitted as a child of such          8 CFR 214.15;
    alien, for the period of admission in that status,
    as evidenced by an employment authorization
                                                              (16) An alien authorized to be admitted to or
    document, with an expiration date issued by the
                                                              remain in the United States as a nonimmigrant
    Service;
                                                              alien victim of a severe form of trafficking in
                                                              persons under section 101(a)(15)(T)(i) of the
    (10) An alien granted withholding of deporta-             Act. Employment authorization granted un-
    tion or removal for the period of time in that            der this paragraph shall expire upon the expira-
    status, as evidenced by an employment au-                 tion of the underlying T–1 nonimmigrant status
    thorization document issued by the Service;               granted by the Service;


    (11) An alien whose enforced departure from               (17) [Reserved by 72 FR 53041]
    the United States has been deferred in accord-
    ance with a directive from the President of the
                                                              (18) [Reserved by 72 FR 53041]
    United States to the Secretary. Employment is
    authorized for the period of time and under the
    conditions established by the Secretary pursu-            (19) Any alien in U–1 nonimmigrant status,
    ant to the Presidential directive;                        pursuant to 8 CFR 214.14, for the period of
                                                              time in that status, as evidenced by an employ-
                                                              ment authorization document issued by US-
    (12) An alien granted Temporary Protected
                                                              CIS to the alien.
    Status under section 244 of the Act for the peri-
    od of time in that status, as evidenced by an
    employment authorization document issued                  (20) Any alien in U–2, U–3, U–4, or U–5 non-
    by the Service;                                           immigrant status, pursuant to 8 CFR 214.14,
                                                              for the period of time in that status, as evid-
                                                              enced by an employment authorization docu-
    (13) An alien granted voluntary departure by
                                                              ment issued by USCIS to the alien.
    the Attorney General under the Family Unity
    Program established by section 301 of the Im-
    migration Act of 1990, as evidenced by an em-         (b) Aliens authorized for employment with a spe-




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 106 of 114
8 C.F.R. § 274a.12                                                       Page 3




cific employer incident to status. The following              (i) On-campus employment for not more than
classes of nonimmigrant aliens are authorized to              twenty hours per week when school is in ses-
be employed in the United States by the specific              sion or full-time employment when school is
employer and subject to the restrictions described            not in session if the student intends and is eli-
in the section(s) of this chapter indicated as a con-         gible to register for the next term or session.
dition of their admission in, or subsequent change            Part-time on-campus employment is authorized
to, such classification. An alien in one of these             by the school and no specific endorsement by a
classes is not issued an employment authorization             school official or Service officer is necessary;
document by the Service:

                                                              (ii) [Reserved]
    (1) A foreign government official (A–1 or
    A–2), pursuant to § 214.2(a) of this chapter. An
                                                              (iii) Curricular practical training (internships,
    alien in this status may be employed only by
                                                              cooperative training programs, or work-study
    the foreign government entity;
                                                              programs which are part of an established cur-
                                                              riculum) after having been enrolled full-time in
    (2) An employee of a foreign government     offi-         a Service approved institution for one full aca-
    cial (A–3), pursuant to § 214.2(a) of        this         demic year. Curricular practical training
    chapter. An alien in this status may be     em-           (part-time or full-time) is authorized by the
    ployed only by the foreign government       offi-         Designated School Official on the student's
    cial;                                                     Form I–20. No Service endorsement is neces-
                                                              sary.

    (3) A foreign government official in transit
    (C–2 or C–3), pursuant to § 214.2(c) of this              (iv) An employment authorization document
    chapter. An alien in this status may be em-               under paragraph (c)(3)(i)(C) of this section
    ployed only by the foreign government entity;             based on a 17–month STEM Optional Practical
                                                              Training extension, and whose timely filed em-
                                                              ployment authorization request is pending and
    (4) [Reserved]
                                                              employment authorization issued under para-
                                                              graph (c)(3)(i)(B) of this section has expired.
    (5) A nonimmigrant treaty trader (E–1) or                 Employment is authorized beginning on the ex-
    treaty investor (E–2), pursuant to § 214.2(e) of          piration date of the authorization issued under
    this chapter. An alien in this status may be em-          paragraph (c)(3)(i)(B) of this section and end-
    ployed only by the treaty-qualifying company              ing on the date of USCIS' written decision on
    through which the alien attained the status.              the current employment authorization request,
    Employment authorization does not extend to               but not to exceed 180 days; or
    the dependents of the principal treaty trader or
    treaty investor (also designated “E–1” or
                                                              (v) Pursuant to 8 CFR 214.2(h) is seeking
    “E–2”), other than those specified in paragraph
                                                              H–1B nonimmigrant status and whose duration
    (c)(2) of this section;
                                                              of status and employment authorization have
                                                              been extended pursuant to 8 CFR
    (6) A nonimmigrant (F–1) student who is in                214.2(f)(5)(vi).
    valid nonimmigrant student status and pursuant
    to 8 CFR 214.2(f) is seeking:




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 107 of 114
8 C.F.R. § 274a.12                                                       Page 4




    (7) A representative of an international organ-           alien in this status may be employed only by
    ization (G–1, G–2, G–3, or G–4), pursuant to §            the exchange visitor program sponsor or appro-
    214.2(g) of this chapter. An alien in this status         priate designee and within the guidelines of the
    may be employed only by the foreign govern-               program approved by the Department of State
    ment entity or the international organization;            as set forth in the Form DS–2019, Certificate
                                                              of Eligibility, issued by the program sponsor;

    (8) A personal employee of an official or rep-
    resentative of an international organization              (12) An intra-company transferee (L–1), pursu-
    (G–5), pursuant to § 214.2(g) of this chapter.            ant to § 214.2(1) of this chapter. An alien in
    An alien in this status may be employed only              this status may be employed only by the peti-
    by the official or representative of the interna-         tioner through whom the status was obtained;
    tional organization;
                                                              (13) An alien having extraordinary ability in
    (9) A temporary worker or trainee (H–1, H–2A,             the sciences, arts, education, business, or ath-
    H–2B, or H–3), pursuant to § 214.2(h) of this             letics (O–1), and an accompanying alien (O–2),
    chapter. An alien in this status may be em-               pursuant to § 214.2(o) of this chapter. An alien
    ployed only by the petitioner through whom the            in this status may be employed only by the pe-
    status was obtained. In the case of a profession-         titioner through whom the status was obtained.
    al H–2B athlete who is traded from one organ-             In the case of a professional O–1 athlete who is
    ization to another organization, employment               traded from one organization to another organ-
    authorization for the player will automatically           ization, employment authorization for the play-
    continue for a period of 30 days after acquisi-           er will automatically continue for a period of
    tion by the new organization, within which                30 days after the acquisition by the new organ-
    time the new organization is expected to file a           ization, within which time the new organization
    new Form I–129 to petition for H–2B classific-            is expected to file a new Form I–129 petition
    ation. If a new Form I–129 is not filed within            for O nonimmigrant classification. If a new
    30 days, employment authorization will cease.             Form I–129 is not filed within 30 days, em-
    If a new Form I–129 is filed within 30 days,              ployment authorization will cease. If a new
    the professional athlete's employment authoriz-           Form I–129 is filed within 30 days, the profes-
    ation will continue until the petition is adjudic-        sional athlete's employment authorization will
    ated. If the new petition is denied, employment           continue until the petition is adjudicated. If the
    authorization will cease;                                 new petition is denied, employment authoriza-
                                                              tion will cease.

    (10) An information media representative (I),
    pursuant to § 214.2(i) of this chapter. An alien          (14) An athlete, artist, or entertainer (P–1, P–2,
    in this status may be employed only for the               or P–3), pursuant to § 214.2(p) of this chapter.
    sponsoring foreign news agency or bureau.                 An alien in this status may be employed only
    Employment authorization does not extend to               by the petitioner through whom the status was
    the dependents of an information media repres-            obtained. In the case of a professional P–1 ath-
    entative (also designated “I”);                           lete who is traded from one organization to an-
                                                              other organization, employment authorization
                                                              for the player will automatically continue for a
    (11) An exchange visitor (J–1), pursuant to §
                                                              period of 30 days after the acquisition by the
    214.2(j) of this chapter and 22 CFR part 62. An




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 108 of 114
8 C.F.R. § 274a.12                                                       Page 5




    new organization, within which time the new               214(e) of the Act. An alien in this status must
    organization is expected to file a new Form               be engaged in business activities at a profes-
    I–129 for P–1 nonimmigrant classification. If a           sional level in accordance with the provisions
    new Form I–129 is not filed within 30 days,               of Chapter 16 of the North American Free
    employment authorization will cease. If a new             Trade Agreement (NAFTA);
    Form I–129 is filed within 30 days, the profes-
    sional athlete's employment authorization will
                                                              (20) A nonimmigrant alien within the class of
    continue until the petition is adjudicated. If the
                                                              aliens described in paragraphs (b)(2), (b)(5),
    new petition is denied, employment authoriza-
                                                              (b)(8), (b)(9), (b)(10), (b)(11), (b)(12), (b)(13),
    tion will cease;
                                                              (b)(14), (b)(16), and (b)(19) of this section
                                                              whose status has expired but who has filed a
    (15) An international cultural exchange visitor           timely application for an extension of such stay
    (Q–1), according to § 214.2(q)(1) of this                 pursuant to §§ 214.2 or 214.6 of this chapter.
    chapter. An alien may only be employed by the             These aliens are authorized to continue em-
    petitioner through whom the status was ob-                ployment with the same employer for a period
    tained;                                                   not to exceed 240 days beginning on the date of
                                                              the expiration of the authorized period of stay.
                                                              Such authorization shall be subject to any
    (16) An alien having a religious occupation,
                                                              conditions and limitations noted on the initial
    pursuant to § 214.2(r) of this chapter. An alien
                                                              authorization. However, if the district director
    in this status may be employed only by the reli-
                                                              or service center director adjudicates the ap-
    gious organization through whom the status
                                                              plication prior to the expiration of this 240 day
    was obtained;
                                                              period and denies the application for extension
                                                              of stay, the employment authorization under
    (17) Officers and personnel of the armed ser-             this paragraph shall automatically terminate
    vices of nations of the North Atlantic Treaty             upon notification of the denial decision;
    Organization, and representatives, officials,
    and staff employees of NATO (NATO–1,
                                                              (21) A nonimmigrant alien within the class of
    NATO–2, NATO–3, NATO–4, NATO–5 and
                                                              aliens described in 8 CFR 214.2(h)(1)(ii)(C)
    NATO–6), pursuant to § 214.2(o) of this
                                                              who filed an application for an extension of
    chapter. An alien in this status may be em-
                                                              stay pursuant to 8 CFR 214.2 during his or her
    ployed only by NATO;
                                                              period of admission. Such alien is authorized
                                                              to be employed by a new employer that has
    (18) An attendant, servant or personal employ-            filed an H–2A petition naming the alien as a
    ee (NATO–7) of an alien admitted as a                     beneficiary and requesting an extension of stay
    NATO–1, NATO–2, NATO–3, NATO–4,                           for the alien for a period not to exceed 120
    NATO–5, or NATO–6, pursuant to § 214.2(o)                 days beginning from the “Received Date” on
    of this chapter. An alien admitted under this             Form I–797 (Notice of Action) acknowledging
    classification may be employed only by the                receipt of the petition requesting an extension
    NATO alien through whom the status was ob-                of stay, provided that the employer has enrolled
    tained;                                                   in and is a participant in good standing in the
                                                              E–Verify program, as determined by USCIS in
                                                              its discretion. Such authorization will be sub-
    (19) A nonimmigrant pursuant to section
                                                              ject to any conditions and limitations noted on




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 109 of 114
8 C.F.R. § 274a.12                                                       Page 6




    the initial authorization, except as to the em-           before such date for a grant of CW–1 status to
    ployer and place of employment. However, if               its employee in the CNMI for the purpose of
    the District Director or Service Center director          the alien continuing the employment, is author-
    adjudicates the application prior to the expira-          ized to continue such employment on or after
    tion of this 120–day period and denies the ap-            November 27, 2011, until a decision is made
    plication for extension of stay, the employment           on the application; or
    authorization under this paragraph (b)(21) shall
    automatically terminate upon 15 days after the
                                                              (24) An alien who is authorized to be employed
    date of the denial decision. The employment
                                                              in the Commonwealth of the Northern Mariana
    authorization shall also terminate automatically
                                                              Islands for a period of up to 2 years following
    if the employer fails to remain a participant in
                                                              the transition program effective date, under
    good standing in the E–Verify program, as de-
                                                              section 6(e)(2) of Public Law 94–241, as added
    termined by USCIS in its discretion;
                                                              by section 702(a) of Public Law 110–229. Such
                                                              alien is only authorized to continue in the same
    (22) An alien in E–2 CNMI Investor nonim-                 employment that he or she had on the transition
    migrant status pursuant to 8 CFR 214.2(e)(23).            program effective date as defined in 8 CFR 1.1
    An alien in this status may be employed only              until the earlier of the date that is 2 years after
    by the qualifying company through which the               the transition program effective date or the date
    alien attained the status. An alien in E–2 CNMI           of expiration of the alien's employment au-
    Investor nonimmigrant status may be employed              thorization, unless the alien had unrestricted
    only in the Commonwealth of the Northern                  employment authorization or was otherwise
    Mariana Islands for a qualifying entity. An ali-          authorized as of the transition program effect-
    en who attained E–2 CNMI Investor nonim-                  ive date to change employers, in which case the
    migrant status based upon a Foreign Retiree In-           alien may have such employment privileges as
    vestment Certificate or Certification is not em-          were authorized as of the transition program
    ployment-authorized. Employment authoriza-                effective date for up to 2 years.
    tion does not extend to the dependents of the
    principal investor (also designated E–2 CNMI
                                                          (c) Aliens who must apply for employment au-
    Investor nonimmigrants) other than those spe-
                                                          thorization. An alien within a class of aliens de-
    cified in paragraph (c)(12) of this section;
                                                          scribed in this section must apply for work author-
                                                          ization. If authorized, such an alien may accept
    (23) A Commonwealth of the Northern Mari-             employment subject to any restrictions stated in the
    ana Islands transitional worker (CW–1) pursu-         regulations or cited on the employment authoriza-
    ant to 8 CFR 214.2(w). An alien in this status        tion document. USCIS, in its discretion, may estab-
    may be employed only in the CNMI during the           lish a specific validity period for an employment
    transition period, and only by the petitioner         authorization document, which may include any
    through whom the status was obtained, or as           period when an administrative appeal or judicial re-
    otherwise authorized by 8 CFR 214.2(w). An            view of an application or petition is pending.
    alien who is lawfully present in the CNMI (as
    defined by 8 CFR 214.2(w)(1)(v)) on or before
                                                              (1) An alien spouse or unmarried dependent
    November 27, 2011, is authorized to be em-
                                                              child; son or daughter of a foreign government
    ployed in the CNMI, and is so employed in the
                                                              official (A–1 or A–2) pursuant to 8 CFR
    CNMI by an employer properly filing an ap-
                                                              214.2(a)(2) and who presents an endorsement
    plication under 8 CFR 214.2(w)(14)(ii) on or




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 110 of 114
8 C.F.R. § 274a.12                                                       Page 7




    from an authorized representative of the De-              completed by the DSO certifying eligibility,
    partment of State;                                        and any other supporting materials such as affi-
                                                              davits which further detail the unforeseen eco-
                                                              nomic circumstances that require the student to
    (2) An alien spouse or unmarried dependent
                                                              seek employment authorization.
    son or daughter of an alien employee of the
    Coordination Council for North American Af-
    fairs (E–1) pursuant to § 214.2(e) of this                (4) An alien spouse or unmarried dependent
    chapter;                                                  child; son or daughter of a foreign government
                                                              official (G–1, G–3 or G–4) pursuant to 8 CFR
                                                              214.2(g) and who presents an endorsement
    (3) A nonimmigrant (F–1) student who:
                                                              from an authorized representative of the De-
                                                              partment of State;
    (i)(A) Is seeking pre-completion practical train-
    ing        pursuant       to       8        CFR
                                                              (5) An alien spouse or minor child of an ex-
    214.2(f)(10)(ii)(A)(1)–(2);
                                                              change visitor (J–2) pursuant to § 214.2(j) of
                                                              this chapter;
        (B) Is seeking authorization to engage in
        post-completion Optional Practical Train-
                                                              (6) A nonimmigrant (M–1) student seeking em-
        ing (OPT) pursuant to 8 CFR
                                                              ployment for practical training pursuant to 8
        214.2(f)(10)(ii)(A)(3); or
                                                              CFR 214.2(m) following completion of studies.
                                                              The alien may be employed only in an occupa-
        (C) Is seeking a 17–month STEM OPT ex-                tion or vocation directly related to his or her
        tension     pursuant    to   8    CFR                 course of study as recommended by the en-
        214.2(f)(10)(ii)(C);                                  dorsement of the designated school official on
                                                              the I–20 ID;

    (ii) Has been offered employment under the
    sponsorship of an international organization              (7) A dependent of an alien classified as
    within the meaning of the International Organ-            NATO–1 through NATO–7 pursuant to §
    ization Immunities Act (59 Stat. 669) and who             214.2(n) of this chapter;
    presents a written certification from the inter-
    national organization that the proposed em-
                                                              (8) An alien who has filed a complete applica-
    ployment is within the scope of the organiza-
                                                              tion for asylum or withholding of deportation
    tion's sponsorship. The F–1 student must also
                                                              or removal pursuant to 8 CFR part 208, whose
    present a Form I–20 ID or SEVIS Form I–20
                                                              application:
    with employment page completed by DSO cer-
    tifying eligibility for employment; or
                                                              (i) Has not been decided, and who is eligible to
                                                              apply for employment authorization under §
    (iii) Is seeking employment because of severe
                                                              208.7 of this chapter because the 150-day peri-
    economic hardship pursuant to 8 CFR
                                                              od set forth in that section has expired. Em-
    214.2(f)(9)(ii)(C) and has filed the Form I–20
                                                              ployment authorization may be granted accord-
    ID and Form I–538 (for non–SEVIS schools),
                                                              ing to the provisions of § 208.7 of this chapter
    or SEVIS Form I–20 with employment page
                                                              in increments to be determined by the Commis-




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 111 of 114
8 C.F.R. § 274a.12                                                       Page 8




    sioner and shall expire on a specified date; or           temporarily for emergency reasons or reasons
                                                              deemed strictly in the public interest pursuant
                                                              to § 212.5 of this chapter;
    (ii) Has been recommended for approval, but
    who has not yet received a grant of asylum or
    withholding or deportation or removal;                    (12) An alien spouse of a long-term investor in
                                                              the Commonwealth of the Northern Mariana Is-
                                                              lands (E–2 CNMI Investor) other than an E–2
    (9) An alien who has filed an application for
                                                              CNMI investor who obtained such status based
    adjustment of status to lawful permanent resid-
                                                              upon a Foreign Retiree Investment Certificate,
    ent pursuant to part 245 of this chapter. For
                                                              pursuant to 8 CFR 214.2(e)(23). An alien
    purposes of section 245(c)(8) of the Act, an ali-
                                                              spouse of an E–2 CNMI Investor is eligible for
    en will not be deemed to be an “unauthorized
                                                              employment in the CNMI only;
    alien” as defined in section 274A(h)(3) of the
    Act while his or her properly filed Form I–485
    application is pending final adjudication, if the         (13) [Reserved]
    alien has otherwise obtained permission from
    the Service pursuant to 8 CFR 274a.12 to en-
                                                              (14) An alien who has been granted deferred
    gage in employment, or if the alien had been
                                                              action, an act of administrative convenience to
    granted employment authorization prior to the
                                                              the government which gives some cases lower
    filing of the adjustment application and such
                                                              priority, if the alien establishes an economic
    authorization does not expire during the pen-
                                                              necessity for employment;
    dency of the adjustment application. Upon
    meeting these conditions, the adjustment ap-
    plicant need not file an application for employ-          (15) [Reserved]
    ment authorization to continue employment
    during the period described in the preceding
                                                              (16) Any alien who has filed an application for
    sentence;
                                                              creation of record of lawful admission for per-
                                                              manent residence pursuant to part 249 of this
    (10) An alien who has filed an application for            chapter;
    suspension of deportation under section 244 of
    the Act (as it existed prior to April 1, 1997),
                                                              (17) A nonimmigrant visitor for business (B–1)
    cancellation of removal pursuant to section
                                                              who:
    240A of the Act, or special rule cancellation of
    removal under section 309(f)(1) of the Illegal
    Immigration Reform and Immigrant Respons-                 (i) Is a personal or domestic servant who is ac-
    ibility Act of 1996, enacted as Pub.L. 104–208            companying or following to join an employer
    (110 Stat. 3009–625) (as amended by the                   who seeks admission into, or is already in, the
    Nicaraguan Adjustment and Central American                United States as a nonimmigrant defined under
    Relief Act (NACARA)), title II of Pub.L.                  sections 101(a)(15)(B), (E), (F), (H), (I), (J),
    105–100 (111 Stat. 2160, 2193) and whose                  (L) or section 214(e) of the Act. The personal
    properly filed application has been accepted by           or domestic servant shall have a residence
    the Service or EOIR;                                      abroad which he or she has no intention of
                                                              abandoning and shall demonstrate at least one
                                                              year's experience as a personal or domestic ser-
    (11) An alien paroled into the United States




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 112 of 114
8 C.F.R. § 274a.12                                                       Page 9




    vant. The nonimmigrant's employer shall                    cause the removal of the alien is otherwise im-
    demonstrate that the employer/employee rela-               practicable or contrary to the public interest.
    tionship has existed for at least one year prior           Additional factors which may be considered by
    to the employer's admission to the United                  the district director in adjudicating the applica-
    States; or, if the employer/employee relation-             tion for employment authorization include, but
    ship existed for less than one year, that the em-          are not limited to, the following:
    ployer has regularly employed (either year-
    round or seasonally) personal or domestic ser-
                                                               (i) The existence of economic necessity to be
    vants over a period of several years preceding
                                                               employed;
    the employer's admission to the United States;

                                                               (ii) The existence of a dependent spouse and/or
    (ii) Is a domestic servant of a United States cit-
                                                               children in the United States who rely on the
    izen accompanying or following to join his or
                                                               alien for support; and
    her United States citizen employer who has a
    permanent home or is stationed in a foreign
    country, and who is visiting temporarily in the            (iii) The anticipated length of time before the
    United States. The employer/employee rela-                 alien can be removed from the United States.
    tionship shall have existed prior to the com-
    mencement of the employer's visit to the
                                                               (19) An alien applying for Temporary Protec-
    United States; or
                                                               ted Status pursuant to section 244 of the Act
                                                               shall apply for employment authorization only
    (iii) Is an employee of a foreign airline engaged          in accordance with the procedures set forth in
    in international transportation of passengers              part 244 of this chapter.
    freight, whose position with the foreign airline
    would otherwise entitle the employee to classi-
                                                               (20) Any alien who has filed a completed legal-
    fication under section 101(a)(15)(E)(i) of the
                                                               ization application pursuant to section 210 of
    Immigration and Nationality Act, and who is
                                                               the Act (and part 210 of this chapter).
    precluded from such classification solely be-
    cause the employee is not a national of the
    country of the airline's nationality or because            (21) A principal nonimmigrant witness or in-
    there is no treaty of commerce and navigation              formant in S classification, and qualified de-
    in effect between the United States and the                pendent family members.
    country of the airline's nationality.

                                                               (22) Any alien who has filed a completed legal-
    (18) An alien against whom a final order of de-            ization application pursuant to section 245A of
    portation or removal exists and who is released            the Act (and part 245a of this chapter). Em-
    on an order of supervision under the authority             ployment authorization shall be granted in in-
    contained in section 241(a)(3) of the Act may              crements not exceeding 1 year during the peri-
    be granted employment authorization in the                 od the application is pending (including any
    discretion of the district director only if the ali-       period when an administrative appeal is
    en cannot be removed due to the refusal of all             pending) and shall expire on a specified date.
    countries designated by the alien or under sec-
    tion 241 of the Act to receive the alien, or be-
                                                               (23) [Reserved by 76 FR 53796]




                           © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 113 of Page
8 C.F.R. § 274a.12
                                                                         11410




    (24) An alien who has filed an application for        1991; 56 FR 23496, 23499, May 22, 1991; 56 FR
    adjustment pursuant to section 1104 of the            41782, 41786, 41787, Aug. 23, 1991; 56 FR 55616,
    LIFE Act, Public Law 106–553, and the provi-          Oct. 29, 1991; 57 FR 6462, Feb. 25, 1992; 57 FR
    sions of 8 CFR part 245a, Subpart B of this           31956, July 20, 1992; 57 FR 42884, Sept. 17, 1992;
    chapter.                                              58 FR 48780, Sept. 20, 1993; 58 FR 69217, Dec.
                                                          30, 1993; 59 FR 42487, Aug. 15, 1994; 59 FR
                                                          47063, Sept. 14, 1994; 59 FR 52894, Oct. 20, 1994;
    (25) An immediate family member of a T–1
                                                          59 FR 62302, Dec. 5, 1994; 60 FR 14353, March
    victim of a severe form of trafficking in per-
                                                          17, 1995; 60 FR 21976, May 4, 1995; 60 FR 44271,
    sons designated as a T–2, T–3 or T–4 nonim-
                                                          Aug. 25, 1995; 60 FR 66067, 66069, Dec. 21, 1995;
    migrant pursuant to § 214.11 of this chapter.
                                                          61 FR 46537, Sept. 4, 1996; 62 FR 10389, March 6,
    Aliens in this status shall only be authorized to
                                                          1997; 62 FR 18514, April 16, 1997; 62 FR 39425,
    work for the duration of their T nonimmigrant
                                                          July 23, 1997; 62 FR 46553, Sept. 3, 1997; 63 FR
    status.
                                                          1334, Jan. 9, 1998; 63 FR 27833, May 21, 1998; 63
                                                          FR 63597, Nov. 16, 1998; 64 FR 25773, May 12,
(d) An alien lawfully enlisted in one of the Armed        1999; 64 FR 27881, May 21, 1999; 65 FR 14780,
Forces, or whose enlistment the Secretary with jur-       March 17, 2000; 65 FR 15844, 15846, 15854,
isdiction over such Armed Force has determined            March 24, 2000; 65 FR 43680, July 14, 2000; 66
would be vital to the national interest under 10          FR 29681, June 1, 2001; 66 FR 42595, Aug. 14,
U.S.C. 504(b)(2), is authorized to be employed by         2001; 66 FR 46704, Sept. 7, 2001; 67 FR 4803, Jan.
that Armed Force in military service, if such em-         31, 2002; 67 FR 38350, June 4, 2002; 67 FR 76280,
ployment is not otherwise authorized under this           Dec. 11, 2002; 69 FR 45557, July 30, 2004; 69 FR
section and the immigration laws. An alien de-            47763, Aug. 6, 2004; 72 FR 53041, Sept. 17, 2007;
scribed in this section is not issued an employment       73 FR 18956, April 8, 2008; 73 FR 76914, Dec. 18,
authorization document.                                   2008; 74 FR 7995, Feb. 23, 2009; 74 FR 26515,
                                                          June 3, 2009; 74 FR 55111, Oct. 27, 2009; 74 FR
                                                          55740, Oct. 28, 2009; 75 FR 47701, Aug. 9, 2010;
(e) Basic criteria to establish economic necessity.
                                                          75 FR 58990, Sept. 24, 2010; 75 FR 79277, Dec.
Title 45--Public Welfare, Poverty Guidelines, 45
                                                          20, 2010; 76 FR 53796, Aug. 29, 2011; 76 FR
CFR 1060.2 should be used as the basic criteria to
                                                          55538, Sept. 7, 2011]
establish eligibility for employment authorization
when the alien's economic necessity is identified as
a factor. The alien shall submit an application for       SOURCE: 52 FR 16221, May 1, 1987; 52 FR
employment authorization listing his or her assets,       43052, Nov. 9, 1987; 53 FR 8612, March 16, 1988;
income, and expenses as evidence of his or her eco-       55 FR 5576, Feb. 16, 1990; 57 FR 6462, Feb. 25,
nomic need to work. Permission to work granted on         1992; 57 FR 42884, Sept. 17, 1992; 64 FR 47101,
the basis of the alien's application for employment       Aug. 30, 1999; 66 FR 42595, Aug. 14, 2001; 66 FR
authorization may be revoked under § 274a.14 of           46704, Sept. 7, 2001; 68 FR 10923, March 6, 2003;
this chapter upon a showing that the information          68 FR 35275, June 13, 2003; 73 FR 10136, Feb. 26,
contained in the statement was not true and correct.      2008; 74 FR 55739, Oct. 28, 2009; 75 FR 79277,
                                                          Dec. 20, 2010, unless otherwise noted.

[53 FR 8614, March 16, 1988; 53 FR 46855, Nov.
21, 1988; 54 FR 16, Jan. 3, 1989; 54 FR 48577,            AUTHORITY: 8 U.S.C. 1101, 1103, 1324a; 48
Nov. 24, 1989; 55 FR 5576, Feb. 16, 1990; 55 FR           U.S.C. 1806; 8 CFR part 2.
25935, 25936, June 25, 1990; 56 FR 624, Jan. 7,




                          © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 1:14-cv-00254 Document 91-3 Filed on 01/14/15 in TXSD Page 114 of Page
8 C.F.R. § 274a.12
                                                                         11411




8 C. F. R. § 274a.12, 8 CFR § 274a.12

Current through Jan. 8, 2015; 80 FR 1328.

© 2015 Thomson Reuters.
END OF DOCUMENT




                         © 2015 Thomson Reuters. No Claim to Orig. US Gov. Works.
